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                                                    Implementation	  Plan	  
                                        M.D.	  v.	  Abbott,	  Civil	  Action	  No.	  2:11-­‐CV-­‐84	  
                        Submitted	  by	  Special	  Master	  Kevin	  M.	  Ryan,	  December	  4,	  2017	  
	  
The	  Court’s	  goal	  for	  this	  Implementation	  Plan	  is	  to	  provide	  children	  in	  the	  Permanent	  Managing	  
Conservatorship	  (PMC)	  of	  Texas	  with	  the	  constitutional	  minimum	  standards	  of	  personal	  security	  
and	  safe	  living	  conditions	  so	  that	  they	  are	  free	  from	  unreasonable	  risk	  of	  harm,	  both	  physical	  
and	  emotional.	  In	  December	  2015,	  the	  United	  States	  District	  Court	  for	  the	  Southern	  District	  of	  
Texas	  concluded	  in	  the	  matter	  M.D.	  v.	  Abbott,	  Civil	  Action	  No.	  2:11-­‐CV-­‐84,	  that	  Plaintiff	  foster	  
children	  “have	  proven,	  by	  a	  preponderance	  of	  the	  evidence,	  that	  DFPS’s	  policies	  and	  practices	  
amount	   to	   structural	   deficiencies	   that	   cause	   an	   unreasonable	   risk	   of	   harm	   to	   all	   class	   and	  
subclass	   members.”	   Although	   Texas	   on	   numerous	   occasions	   declined	   to	   recognize	   a	  
constitutional	  right	  of	  these	  children	  to	  be	  free	  from	  an	  unreasonable	  risk	  of	  harm,	  the	  Court	  
appointed	   the	   Special	   Masters	   to	   work	   with	   the	   parties	   to	   “present	   the	   Court	   with	   an	  
Implementation	   Plan	   to	   reform	   Texas’s	   foster	   care	   system.”	   The	   Special	   Masters	   assembled	   a	  
team	   and	   subsequently	   reviewed	   hundreds	   of	   thousands	   of	   pages	   of	   documents	   in	   this	   matter,	  
including	  the	  entire	  trial	  record	  and	  exhibits	  (including	  more	  than	  300,000	  pages	  of	  children’s	  
records).	  	  	  
	  
The	  Special	  Masters	  met	  with	  the	  parties	  on	  numerous	  occasions	  to	  discuss	  the	  Court’s	  goals	  
and	   the	   parties’	   perspectives	   for	   improving	   the	   Texas	   child	   welfare	   system,	   and	   in	   November	  
2016	  the	  Special	  Masters	  submitted	  a	  set	  of	  recommendations	  to	  the	  Court.	  	  In	  January	  2017,	  
the	  Court	  issued	  an	  Interim	  Order,	  directing	  the	  Special	  Masters	  “to	  continue	  to	  work	  with	  DFPS	  
to	   help	   DFPS	   create	   and	   implement	   plans”	   to	   address	   the	   deficiencies	   described	   in	   the	  
December	   2015	   Memorandum	   Opinion	   and	   Verdict	   of	   the	   Court	   as	   well	   as	   the	  
recommendations	  filed	  by	  the	  Special	  Masters	  in	  November	  2016.	  In	  numerous	  instances	  noted	  
in	   this	   Implementation	   Plan,	   Texas	   declined	   to	   implement	   policy	   changes	   or	   develop	  
implementation	  plans.	  	  	  
	  




	                                                                                                                                                 1	  
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The	  Special	  Masters	  retained	  experts	  at	  the	  University	  of	  Texas-­‐Austin	  to	  conduct	  two	  workload	  
studies	  (Appendices	  B	  and	  C).	  In	  addition,	  the	  Special	  Masters	  and	  team	  members	  conducted	  
two	  case	  record	  reviews,	  as	  described	  in	  this	  Implementation	  Plan:	  one	  focused	  on	  the	  accuracy	  
of	  PMC	  children’s	  placement	  move	  data,	  and	  a	  second	  focused	  on	  children’s	  photographs;	  the	  
consistency	  of	  healthcare,	  dental	  and	  mental	  healthcare	  information	  in	  children’s	  records;	  and	  
the	  characterization	  of	  sexual	  victimization	  and	  aggression	  in	  children’s	  electronic	  case	  records.	  
As	  described	  later	  in	  this	  Implementation	  Plan,	  the	  Special	  Masters	  visited	  Foster	  Group	  Home	  
caregivers	   in	   Texas	   counties	   to	   discuss	   the	   families’	   awake-­‐night	   supervision	   plans,	   and	   also	  
visited	  congregate	  care	  facilities	  to	  understand	  the	  agency’s	  placement,	  visitation	  and	  medical	  
consent	   protocols.	   	   The	   Special	   Masters	   requested	   numerous	   documents	   and	   information	   from	  
DFPS,	  which	  informed	  this	  Implementation	  Plan.	  Those	  documents	  and	  information	  are	  listed	  in	  
Appendix	   A.	   	   This	   Implementation	   Plan	   results	   from	   this	   work	   and	   represents	   the	   Special	  
Masters’	  final	  report	  to	  the	  Court.	  
	  
The	   numbered	   policies	   that	   follow	   are	   offered	   to	   ensure	   that	   PMC	   children	   are	   free	   from	  
unreasonable	  risk	  of	  harm	  as	  stated	  in	  the	  Court’s	  goals	  of	  December	  2015	  and	  January	  2017.	  
These	  policies	  apply	  to	  all	  previously	  determined	  classes	  of	  PMC	  children	  in	  this	  matter.	  
                                                                            	  
                                                    PMC	  Child-­‐Caseworker	  Visitation	  
       1. Effective	   immediately,	   DFPS	   shall	   ensure	   that	   monthly	   face-­‐to-­‐face	   visits	   between	  
            caseworkers	   and	   children	   in	   the	   PMC	   class	   occur	   as	   required.	   The	   caseworkers’	   visits	  
            with	   children	   in	   the	   PMC	   class	   must	   include	   time	   with	   the	   child	   separate	   from	   the	  
            caregiver(s)	  and	  other	  children,	  if	  the	  child	  is	  verbal.	  	  Effective	  immediately,	  DFPS	  shall	  
            ensure	   that	   caseworkers	   document	   monthly,	   private	   meetings	   with	   each	   verbal,	   PMC	  
            child	  in	  their	  care	  unless	  the	  reason	  for	  noncompliance	  is	  fully	  documented	  in	  the	  child’s	  
            electronic	  case	  record.	  	  
       2. Effective	  immediately,	  DFPS	  shall	  ensure	  adequate	  training	  on	  its	  child	  visitation	  policies	  
            to	  all	  caseworkers	  responsible	  for	  visiting	  children	  in	  the	  PMC	  class.	  
       3. Effective	   immediately,	   DFPS	   shall	   track	   caseworker-­‐child	   visits	   and	   report	   quarterly	   to	  
            the	  monitor(s)	  on	  the	  number	  of	  caseworker-­‐child	  visits	  required	  and	  the	  percent	  and	  



	                                                                                                                                                    2	  
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                                                           number	  that	  occurred.	  DFPS	  shall	  report	  for	  all	  referenced	  visits	  whether	  they	  involved	  
                                                           face-­‐to-­‐face	  time	  with	  the	  child	  separate	  from	  the	  caregiver(s)	  and	  other	  children,	  if	  the	  
                                                           child	  is	  verbal.	  	  	  
                             4. Effective	   immediately,	   DFPS	   shall	   ensure	   caseworkers	   who	   conduct	   visits	   with	   PMC	  
                                                           children	  follow	  the	  agency’s	  contact	  guidelines,	  which	  they	  must	  document	  in	  the	  child’s	  
                                                           electronic	  case	  record	  based	  on	  monthly	  visits	  with	  a	  child.	  	  The	  guidelines	  must	  require	  
                                                           caseworkers,	   at	   least,	   to	   complete	   an	   assessment	   of	   the	   child’s	   safety,	   including	   an	  
                                                           assessment	  of	  the	  placement;	  a	  confirmation	  that	  the	  child	  was	  interviewed	  individually,	  
                                                           separately	  and	  privately	  from	  the	  caregiver	  and	  other	  children,	  if	  the	  child	  is	  verbal;	  a	  
                                                           discussion	  of	  the	  form(s)	  of	  discipline	  being	  used	  in	  the	  placement;	  and	  a	  documented	  
                                                           review	  of	  the	  child's	  medical,	  mental	  health,	  dental	  and	  educational	  progress	  and	  needs.	  

Former	   PMC	   youth	   testified	   at	   trial	   that	   their	   visits	   with	   caseworkers	   often	   were	   not	   private.	  
The	  Court	   wrote	  extensively	   in	   its	   December	   2015	   Opinion	   about	   children	   who	   infrequently,	   or	  
never,	  saw	  some	  of	  their	  CVS	  caseworkers.	  The	  Special	  Masters	  reviewed	  the	  case	  files	  included	  
in	   the	   record	   of	   this	   matter.	   Those	   records	   frequently	   did	   not	   indicate	   whether	   CVS	  
caseworkers	  met	  with	  children	  monthly	  and	  privately.	  The	  Special	  Masters	  asked	  DFPS	  where	  
and	  how	  the	  agency	  tracks	  whether	  visits	  with	  children	  are	  privately	  conducted.	  DFPS	  advised	  
the	  Special	  Masters	  “there	  is	  no	  specific	  location	  in	  the	  IMPACT	  record	  where	  caseworkers	  must	  
confirm	   that	   a	   child	   was	   interviewed	   in	   private	   or	   separately.”	   	   (See	   Appendix	   D,	   Updated	  
response	   document	   to	   Special	   Masters’	   Request	   for	   Information,	   emailed	   from	   Audrey	  
Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  24,	  2017.)	  	  

The	   study	   of	   I	   See	   You	   Workersa	   undertaken	   by	   the	   University	   of	   Texas-­‐Austin	   to	   inform	   the	  
Special	   Masters’	   recommendations	   to	   the	   Court	   (Appendix	   B),	   concluded	   that	   22	   percent	   of	  
assigned	   secondary	   I	   See	   You	   workers	   missed	   the	   monthly	   visit	   with	   the	   child.	   	   DFPS’	   aggregate	  
visitation	   data	   does	   not	   indicate	   how	   many,	   if	   any,	   of	   these	   visits	   were	   privately	   conducted.	  	  
Despite	   the	   Court’s	   December	   2015	   Opinion,	   DFPS	   still	   does	   not	   have	   a	   way	   to	   track	   how	   many	  
caseworkers’	  visits	  with	  children	  are	  private	  each	  month.	  


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
a
 	  DFPS	  recently	  renamed	  the	  position	  Local	  Permanency	  Specialist.	  This	  Implementation	  Plan	  retains	  the	  title	  used	  
at	  trial.	  


	                                                                                                                                                                                                                                                  3	  
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                                                         PMC	  Children’s	  Records	  
In	  the	  December	  2015	  Opinion,	  the	  Court	  included	  among	  its	  findings	  the	  following:	  
	  
                     The	   problems	   of	   inadequate	   and	   incomplete	   caseworker	  
                     documentation	   are	   considerably	   magnified	   by	   the	   way	   in	   which	  
                     DFPS	  maintains	  foster	  children’s	  case	  files.	  Children’s	  records	  are	  
                     not	  kept	  in	  a	  single	  location	  nor	  are	  they	  consistently	  maintained	  
                     in	   chronological	   order.	   (See	   D.E.	   343	   at	   1;	   see	   generally	   DX	   120	  
                     (filed	   under	   seal)).	   Some	   of	   the	   children’s	   files	   are	   kept	  
                     electronically	   on	   DFPS’s	   IMPACT	   casework	   system.	   Other	  
                     children’s	  files	  are	  maintained	  entirely	  in	  External	  paper	  files.	  (D.E.	  
                     343	   at	   1-­‐2;	   supra	   p.	   80-­‐81	   nn.25	   &	   26).	   Additionally,	   records	  
                     relating	   to	   abuse	   and	   neglect	   investigations	   of	   children	   in	   foster	  
                     care	   are	   kept	   separately	   by	   RCCL	   in	   the	   CLASS	   database.	   (See	  
                     supra	  p.	  141	  n.43).	  Although	  CVS	  caseworkers	  have	  access	  to	  the	  
                     CLASS	  database,	  CLASS	  files	  are	  not	  merged	  with	  IMPACT	  files	  and	  
                     it	  is	  unclear	  whether	  CVS	  caseworkers	  are	  trained,	  let	  alone	  have	  
                     the	   time,	   to	   check	   whether	   children	   newly	   transferred	   to	   their	  
                     caseloads	  have	  CLASS	  files.	  (See	  D.E.	  343	  at	  2).	  Thus,	  not	  only	  are	  
                     foster	  children’s	  case	  files	  shockingly	  long	  (358,102	  pages	  of	  case	  
                     files	  for	  the	  20	  children	  for	  whom	  the	  Court	  has	  records),	  they	  are	  
                     incredibly	  disorganized.	  
                     	  
                     Further,	  inherent	  problems	  with	  DFPS’s	  outdated	  IMPACT	  system	  
                     further	   impede	   caseworkers’	   ability	   to	   review	   important	  
                     electronic	  case	  file	  information.	  According	  to	  The	  Stephen	  Group,	  
                     IMPACT	   “is	   not	   in	   sync	   with	   current	   versions	   of	   forms	   that	   are	  
                     used	   [by	   caseworkers]	   and	   forces	   arbitrary	   workarounds	   and	  
                     repetitive	   entry	   of	   data.”	   (PX	   1993	   at	   15).	   This	   results	   in	   “delays	  
                     and	   considerable	   frustration	   among	   caseworkers	   and	   can	   mean	  
                     that	   those	   accessing	   the	   system	   might	   not	   have	   immediate	  
                     availability	   to	   the	   most	   recent	   updates	   in	   a	   particular	   case.”	   Id.	  
                     This	   creates	   opportunities	   for	   important	   safety-­‐related	   tasks	   to	  
                     “fall	   through	   the	   cracks,”	   especially	   when	   cases	   are	   transferred	  
                     between	  workers.	  See	  id.	  It	  is	  unclear	  how	  easily	  CPS	  caseworkers	  
                     can	   access	   their	   foster	   children’s	   RCCL	   files,	   and	   how	   often	   they	  
                     do	  so	  when	  receiving	  new	  files.	  What	  is	  clear	  is	  that	  caseworkers’	  
                     continuously	   fail	   to	   maintain	   complete,	   timely,	   and	   accurate	  
                     documentation.	   The	   resulting	   widespread	   neglect	   of	   important	  
                     tasks	   relating	   to	   the	   safety	   and	   well-­‐being	   of	   PMC	   children	   is	  
                     indicative	   of	   a	   system	   where	   caseworkers’	   workloads	   are	  
                     unmanageable.	  


	                                                                                                                                         4	  
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And	  the	  Court	  further	  determined:	  	  
	  
                     DFPS	   paperwork	   and	   electronic	   filing	   system,	   including	   IMPACT,	  
                     CLASS,	   and	   the	   External	   files,	   must	   become	   more	   efficient.	   Each	  
                     child	   should	   have	   a	   readily	   accessible	   and	   organized	   case	   file,	  
                     comprised	   of	   all	   records	   pertaining	   to	   that	   child.	   The	   Court	   was	  
                     routinely	   frustrated	   at	   the	   disorganization,	   duplication,	   and	  
                     inconsistency	   in	   the	   foster	   children’s	   case	   files.	   Caseworkers	  
                     should	  be	  able	  to	  spend	  more	  than	  26%	  of	  their	  time	  with	  foster	  
                     children.	  
	  
As	   the	   Court	   found	   in	   the	   December	   2015	   Opinion,	   DFPS	   maintains	   PMC	   children’s	   records	  
among	   numerous	   electronic	   and	   paper	   files,	   stored	   in	   different	   locations	   and	   maintained	   by	  
distinct	   custodians.	   As	   the	   Court	   determined,	   the	   trial	   record,	   including	   exhibits,	   revealed	  
evidence	   of	   children’s	   records	   missing	   information,	   containing	   incomplete	   information	   and	  
reflecting	   information	   that	   was	   inconsistent	   with	   information	   in	   other	   files.	   The	   Special	  
Masters’	   examination	   of	   these	   case	   records	   among	   the	   trial	   exhibits,	   and	   other	   children’s	  
records	   as	   described	   below,	   confirmed	   that	   PMC	   children’s	   records	   are	   currently	   stored	   in	  
different	  locations	  with	  different	  custodians.	  These	  records	  are:	  
          A. The	   STAR	   Health	   Passport	   is	   an	   electronic	   record	   maintained	   by	   DFPS’s	   healthcare	  
                vendor,	   Superior	   HealthPlan.	   	   The	   passport	   allows	   users	   to	   view	   service	   utilization	  
                for	   medical,	   dental,	   behavioral	   and	   mental	   health	   care.	   	   The	   passport	   includes	  
                information	   tabs,	   including	   a	   medical	   history	   tab.	   The	   passport	   can	   log	   health	  
                history,	  service	  dates,	  medical	  events,	  allergies,	  immunizations	  and	  diagnoses.	  	  The	  
                passport	  is	  not	  compatible	  with,	  or	  linked	  to,	  the	  IMPACT	  system,	  described	  below.	  
                The	   passport	   does	   not	   currently	   have	   the	   functionality	   for	   uploading	   most	  
                documents,	   such	   as	   birth	   certificates,	   medical,	   dental,	   developmental	   and	  
                psychological	   evaluations,	   or	   the	   capacity	   to	   store	   these	   documents.	   Superior	  
                HealthPlan	  staff	  and	  clinical	  providers	  can	  enter	  information	  into	  the	  passport,	  but	  
                not	  DFPS	  staff	  or	  caregivers.	  	  The	  passport	  is	  viewable	  by	  Superior	  HealthPlan	  staff,	  
                DFPS	   caseworkers,	   foster	   care	   agency	   providers,	   medical	   consenters	   (foster	  
                parents),	  health	  providers	  and	  Court	  Appointed	  Special	  Advocates	  (CASAs).	  	  


	                                                                                                                                              5	  
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         B. IMPACT	   is	   the	   main	   electronic	   data	   system	   administered	   by	   DFPS.	   IMPACT	   is	   not	  
               compatible	   with,	   or	   linked	   to,	   the	   passport	   described	   above.	   IMPACT	   has	   the	  
               capacity	  to	  include,	  among	  other	  things,	  caseworkers’	  notes,	  child	  abuse	  and	  neglect	  
               history,	  placement	  history,	  a	  child’s	  photograph,	  investigative	  history,	  service	  dates,	  
               court	  orders,	  medical	  event	  dates,	  dental	  event	  dates	  and	  assessments.	  As	  described	  
               below,	   the	   Special	   Masters	   observed	   in	   a	   random	   sample	   audit	   of	   PMC	   children’s	  
               files	   that	   IMPACT	   frequently	   contained	   less	   health-­‐related	   information	   than	   the	  
               passport.	   	   IMPACT	   does	   not	   currently	   have	   the	   functionality	   for	   uploading	   most	  
               documents,	   such	   as	   birth	   certificates,	   school	   records,	   legal	   documents,	   medical,	  
               dental,	  developmental	  and	  psychological	  evaluations	  or	  the	  capacity	  to	  store	  these	  
               documents.	   DFPS	   staff	   have	   access	   to	   relevant	   information	   in	   IMPACT;	   Attorneys	   ad	  
               litem	   do	   not.	   DFPS	   implemented	   Case	   Connection	   in	   September	   2014,	   which	   is	   a	  
               web-­‐based	  program	  that	  gives	  CASA	  staff	  and	  volunteers	  access	  to	  a	  child’s	  IMPACT-­‐
               based	   case	   information.	   	   Through	   Case	   Connection,	   CASAs	   can	   view	   certain	  
               placement,	  healthcare,	  education,	  permanency	  and	  demographic	  information.	  	  	  
         C. CLASS	  (the	  Child	  Care	  Licensing	  Automation	  Support	  System)	  which	  tracks	  inspection	  
               and	   investigative	   work	   in	   PMC’s	   children’s	   licensed	   residential	   placements,	   among	  
               other	  settings.	  	  An	  allegation	  of	  child	  abuse	  or	  neglect	  involving	  a	  PMC	  child	  while	  in	  
               a	  licensed	  residential	  setting	  can	  be	  linked	  to	  the	  child’s	  history	  page	  in	  IMPACT.	  
         D. Because	  IMPACT	  and	  the	  STAR	  Health	  Passport	  cannot	  store	  most	  documents,	  PMC	  
               children’s	   medical,	   dental,	   developmental	   and	   psychological	   assessments,	   and	  
               children’s	   birth	   certificates,	  must	   be	   separately	   maintained	   in	   paper	   files	   when	  DFPS	  
               acquires	  them.	  These	  files	  are	  in	  different	  locations.	  	  Paper	  records	  may	  be	  housed	  
               by	  the	  caregiver	  (i.e.	  the	  foster	  parent)	  at	  the	  child’s	  placement	  or	  at	  the	  offices	  of	  
               the	   agency	   supervising	   the	   placement.	   	   The	   primary	   CVS	   worker	   also	   typically	   stores	  
               a	   paper	   record,	   including	   the	   child’s	   birth	   certificate,	   in	   her	   DFPS	   office.	  
               Medical/service	   providers	   may	   also	   keep	   children’s	   records	   at	   their	   places	   of	  
               business.	  
         E. Education	   records	   are	   located	   in	   at	   least	   two	   places.	   The	   name	   of	   the	   child’s	   school,	  
               the	   school	   year	   and	   the	   enrollment/discharge	   date(s),	   can	   be	   located	   in	   the	   IMPACT	  



	                                                                                                                                                        6	  
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                                                                                        personal	   detail	   tab.	   	   Information	   about	   the	   child’s	   educational	   needs	   can	   be	   tracked	  
                                                                                        in	   the	   educational	   portfolio	   section	   of	   IMPACT.	   A	   separate	   paper-­‐based	   system,	  
                                                                                        often	   called	   the	   Green	   Binder,	   is	   intended	   to	   contain	   the	   PMC	   child’s	   complete	  
                                                                                        educational	   information,	   including	   report	   cards,	   progress	   notes,	   classification	   for	  
                                                                                        specialized	  services	  and	  school	  enrollment	  history,	  and	  is	  supposed	  to	  follow	  a	  child	  
                                                                                        from	  placement	  to	  placement.	  	  When	  a	  Green	  Binder	  exists,	  it	  is	  maintained	  by	  the	  
                                                                                        child’s	  placement	  provider.	  
                                                           F. Foster	   and	   adoptive	   home	   screenings	   and	   evaluations	   for	   PMC	   children	   are	  
                                                                                        frequently	  kept	  in	  paper	  files	  maintained	  by	  the	  community	  agency	  that	  supervises	  
                                                                                        the	  child’s	  placement.	  
	  
On	  May	  4,	  2017,	  Special	  Master	  Kevin	  Ryan	  and	  John	  Ducoff,	  a	  member	  of	  the	  Special	  Master	  
team,	  met	  with	  DFPS	  leadership	  to	  discuss	  DFPS’s	  child	  welfare	  record	  keeping	  systems	  and	  to	  
test	  those	  record	  keeping	  systems	  by	  examining	  the	  electronic	  files	  of	  21	  children	  in	  the	  PMC	  
class,	   selected	   randomly,	   by	   Mr.	   Ryan	   from	   among	   the	   10,551	   children	   identified	   by	   DFPS	   as	  
being	   in	   the	   PMC	   class	   on	   March	   31,	   2017.	   The	   STAR	   Health	   Passport	   contained	   more	  
information	  about	  children’s	  medical	  and	  mental	  health	  care,	  including	  procedure	  dates,	  types	  
of	   procedures	   and	   diagnoses,	   but	   the	   information	   in	   the	   STAR	   Health	   Passport	   and	   IMPACT	   did	  
not	  align	  nearly	  half	  the	  time.	  	  Of	  the	  21	  randomly	  selected	  PMC	  children	  whose	  electronic	  case	  
records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	   Ducoff,	   the	   dates	   of	   the	   child’s	   last	   medical	  
examination	   listed	   in	   IMPACT	   mirrored,	   or	   closely	   approximated,	   the	   dates	   of	   the	   child’s	   last	  
medical	  examination	  in	  the	  Health	  Passport	  in	  11	  cases,	  and	  differed	  in	  10	  cases.b	  

Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	   14	   children	   had	   a	   current	   (within	   one	   year)	   photo	   in	   their	   IMPACT	   case	   record;	   two	  
children	  had	  a	  photo	  that	  was	  slightly	  overdue	  for	  updating	  in	  their	  IMPACT	  case	  record	  (by	  two	  
and	   three	   weeks	   at	   the	   time	   of	   the	   review);	   and	   five	   children	   did	   not	   have	   a	   recent	   photo	   in	  
their	  IMPACT	  case	  record.	  

All	  of	  the	  children	  had	  a	  verified	  Social	  Security	  Number	  in	  their	  IMPACT	  case	  file.	  
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
b
 	  Mr.	  Ryan	  shared	  the	  results	  of	  the	  audit	  with	  DFPS	  through	  counsel	  and	  solicited	  feedback	  before	  finalizing	  and	  
sharing	  the	  findings	  with	  the	  Court.	  


	                                                                                                                                                                                                                                                  7	  
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Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	   the	   IMPACT	   system	   contained	   no	   uploaded	   medical	   records,	   dental	   records,	  
educational	  records	  or	  mental	  health	  records.	  DFPS	  said	  those	  records	  may	  be	  in	  the	  possession	  
of	   the	   primary	   CVS	   worker,	   or	   may	   not	   be	   in	   DFPS’s	   possession,	   but	   instead	   held	   by	   the	  
caregiver,	  or	  the	  providers.	  

Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	   the	   IMPACT	   system	   recorded	   that	   16	   children	   had	   a	   recent	   (within	   6	   months)	   dental	  
examination,	  two	  children	  appeared	  slightly	  overdue	  for	  a	  dental	  examination	  (by	  two	  weeks)	  
and	  three	  children	  did	  not	  have	  a	  timely	  dental	  examination	  listed.	  The	  examinations	  were	  not	  
included	  in	  the	  IMPACT	  system.	  

Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	   the	   IMPACT	   system	   recorded	   that	   17	   children	   had	   a	   timely	   medical	   examination	   and	  
four	   children	   did	   not	   have	   a	   timely	   medical	   examination	   listed.	   The	   examinations	   were	   not	  
included	  in	  the	  IMPACT	  system.	  

In	   addition	   to	   the	   IMPACT	   system,	   Mr.	   Ryan	   and	   Mr.	   Ducoff	   also	   reviewed	   children’s	   records	   in	  
the	  Star	  Health	  Passport	  system.	  In	  general,	  Mr.	  Ryan	  and	  Mr.	  Ducoff	  observed	  that	  the	  STAR	  
Health	  Passport	  often	  contained	  more	  information	  about	  children’s	  medical	  and	  mental	  health	  
care,	  including	  procedure	  dates,	  procedure	  types	  and	  diagnoses.	  However,	  the	  21	  passports	  did	  
not	   include	   copies	   of	   medical	   examinations,	   ER	   visit	   reports,	   hospitalization	   documents	   or	  
dental	  examinations,	  even	  when	  those	  events	  were	  indicated.	  	  	  

Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	  the	  STAR	  Health	  Passport	  recorded	  that	  15	  children	  had	  a	  current	  dental	  examination,	  
five	   children	   did	   not	   and	   one	   child	   appeared	   to	   be	   slightly	   overdue	   for	   a	   dental	   examination	  
(within	  ten	  days).	  	  

Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	   the	   Health	   Passport	   recorded	   that	   20	   children	   had	   a	   timely	   medical	   examination	   and	  
one	  child	  was	  overdue	  for	  a	  medical	  examination.	  	  




	                                                                                                                                                        8	  
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Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	   the	   Health	   Passport	   and/or	   the	   IMPACT	   system	   reflected	   that	   11	   children	   had	   a	  
psychological	  assessment	  of	  some	  type	  within	  the	  past	  three	  years.	  The	  records	  were	  unclear	  or	  
information	   was	   absent	   for	   seven	   children,	   and	   two	   children	   were	   infants.	   The	   psychological	  
assessment	  documents	  were	  not	  included	  in	  IMPACT	  or	  the	  Health	  Passport.	  

Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	  the	  dates	  of	  the	  child’s	  last	  medical	  examination	  listed	  in	  IMPACT	  mirrored,	  or	  closely	  
approximated,	   the	   dates	   of	   the	   child’s	   last	   medical	   examination	   in	   the	   Health	   Passport	   in	   11	  
cases,	  and	  differed	  in	  10	  cases.	  

Of	   the	   21	   PMC	   children	   whose	   electronic	   case	   records	   were	   reviewed	   by	   Mr.	   Ryan	   and	   Mr.	  
Ducoff,	   the	   dates	   of	   the	   child’s	   last	   dental	   examination	   listed	   in	   IMPACT	   mirrored,	   or	   closely	  
approximated,	   the	   dates	   of	   the	   child’s	   last	   dental	   examination	   in	   the	   Health	   Passport	   in	   11	  
cases,	  and	  differed	  in	  10	  cases.	  

In	  February	  and	  March	  2017,	  Mr.	  Ryan	  and	  Deborah	  Fowler,	  a	  member	  of	  the	  Special	  Master	  
team,	  visited	  the	  residences	  of	  eight	  randomly	  selected	  Foster	  Group	  Home	  caregivers	  in	  Texas.	  	  
The	   Foster	   Group	   Home	   caregivers	   each	   knew	   that	   the	   children’s	   education	   records	   were	  
contained	   in	   a	   Green	   Binder,	   which	   followed	   the	   child	   from	   placement	   to	   placement.	   	   In	   two	  
instances,	   caregivers	   said	   the	   Green	   Binder	   was	   housed	   in	   the	   offices	   of	   the	   community	   agency	  
assigned	   to	   monitor	   the	   Foster	   Group	   Home	   and	   was	   not	   available	   for	   inspection	   during	   the	  
visit.	  In	  six	  instances,	  the	  Green	  Binder	  was	  in	  the	  home	  of	  the	  Foster	  Group	  Home	  caregiver	  
and	   contained	   the	   child’s	   educational	   records,	   including	   enrollment	   information,	   report	   cards	  
and	   information	   on	   learning	   disabilities	   and	   accommodations.	   Mr.	   Ryan	   visited	   a	   randomly	  
selected	   Residential	   Treatment	   Center	   in	   Harris	   County	   in	   March	   2017,	   and	   was	   advised	   that	  
some	  of	  the	  children	  did	  have	  Green	  Binders	  on	  site,	  including	  their	  education	  information,	  and	  
others	  did	  not.	  	  

The	  Court’s	  Order	  of	  January	  2017,	  included	  in	  Section	  V.B.:	  	  

                          The	  Special	  Masters	  are	  ordered	  to	  work	  with	  DFPS	  to	  create	  and	  
                          submit	  to	  the	  Court	  a	  plan	  for	  a	  comprehensive	  central	  databank	  
                          for	  PMC	  children.	  The	  databank	  shall	  include:	  1.	  Medical	  records;	  


	                                                                                                                                                     9	  
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                         2.	  Dental	  records;	  3.	  Mental	  health	  records;	  4.	  School	  records;	  5.	  
                         Court	   records;	   6.	   Caseworker	   notes;	   and	   7.	   Placement	  
                         evaluations.	  	  	  

In	  an	  effort	  to	  comply	  with	  the	  Court’s	  Order,	  the	  Special	  Masters	  asked	  DFPS	  to	  provide	  a	  draft	  
plan	  to	  achieve	  the	  Court’s	  goals.	  	  DFPS	  declined	  to	  share	  a	  draft	  plan,	  replying	  “Not	  applicable.	  
Texas	  is	  not	  developing	  such	  a	  plan.”	  (See	  Appendix	  D,	  Updated	  response	  document	  to	  Special	  
Masters’	   Request	   for	   Information,	   emailed	   from	   Audrey	   Carmical,	   Esq.	   on	   behalf	   of	   DFPS	   on	  
March	  24,	  2017.)	  

In	  an	  effort	  to	  comply	  with	  the	  Court’s	  Order,	  the	  Special	  Masters	  requested	  that	  DFPS	  assess	  
and	   report	   the	   time	   needed	   to	   improve	   its	   IMPACT	   system	   so	   that	   all	   of	   a	   child’s	   medical	  
records	  are	  included	  and	  available	  in	  an	  identified	  health	  section	  of	  a	  child’s	  case	  file	  in	  IMPACT.	  	  
DFPS	  replied	  the	  request	  was	  “[n]ot	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  
system.”	   (See	   Appendix	   D,	   Updated	   response	   document	   to	   Special	   Masters’	   Request	   for	  
Information,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  24,	  2017.)	  

In	  an	  effort	  to	  comply	  with	  the	  Court’s	  Order,	  the	  Special	  Masters	  requested	  that	  DFPS	  assess	  
and	  report	  the	  time	  needed	  to	  improve	  its	  IMPACT	  system	  so	  that	  all	  of	  a	  child’s	  dental	  records	  
are	  included	  and	  available	  in	  an	  identified	  health	  section	  of	  a	  child’s	  case	  file	  in	  IMPACT.	  	  DFPS	  
replied	   the	   request	   was	   “[n]ot	   applicable.	   DFPS	   is	   not	   making	   such	   changes	   to	   the	   IMPACT	  
system.”	   (See	   Appendix	   D,	   Updated	   response	   document	   to	   Special	   Masters’	   Request	   for	  
Information,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  24,	  2017.)	  

In	  an	  effort	  to	  comply	  with	  the	  Court’s	  Order,	  the	  Special	  Masters	  requested	  that	  DFPS	  assess	  
and	   report	   the	   time	   needed	   to	   improve	   its	   IMPACT	   system	   so	   that	   all	   of	   a	   child’s	   mental	   health	  
records	  are	  included	  and	  available	  in	  an	  identified	  health	  section	  of	  a	  child’s	  case	  file	  in	  IMPACT.	  
DFPS	  replied	  the	  request	  was	  “[n]ot	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  
system.”	   (See	   Appendix	   D,	   Updated	   response	   document	   to	   Special	   Masters’	   Request	   for	  
Information,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  24,	  2017.)	  

In	  an	  effort	  to	  comply	  with	  the	  Court’s	  Order,	  the	  Special	  Masters	  requested	  that	  DFPS	  assess	  
and	  report	  the	  time	  needed	  to	  improve	  its	  IMPACT	  system	  so	  that	  all	  of	  a	  child’s	  educational	  
records	   are	   included	   and	   available	   in	   an	   identified	   education	   section	   of	   a	   child’s	   case	   file	   in	  



	                                                                                                                                                               10	  
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IMPACT.	   DFPS	   replied	   the	   request	   was	   “[n]ot	   applicable.	   DFPS	   is	   not	   making	   such	   changes	   to	  
the	   IMPACT	   system.”	   (See	   Appendix	   D,	   Updated	   response	   document	   to	   Special	   Masters’	  
Request	  for	  Information,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  24,	  
2017.)	  

In	  an	  effort	  to	  comply	  with	  the	  Court’s	  Order,	  the	  Special	  Masters	  requested	  that	  DFPS	  assess	  
and	   report	   the	   time	   needed	   to	   improve	   its	   IMPACT	   system	   so	   that	   all	   of	   the	   court	   records	  
pertaining	  to	  a	  child’s	  case	  are	  included	  and	  available	  in	  an	  identified	  legal	  section	  of	  a	  child’s	  
case	   file	   in	   IMPACT.	   DFPS	   replied	   the	   request	   was	   “[n]ot	   applicable.	   DFPS	   is	   not	   making	   such	  
changes	  to	  the	  IMPACT	  system.”	  DFPS	  continues	  to	  maintain	  it	  is	  not	  developing	  such	  a	  plan.	  
(See	   Appendix	   D,	   Updated	   response	   document	   to	   Special	   Masters’	   Request	   for	   Information,	  
emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  24,	  2017.)	  	  

       1. Within	   four	   months	   of	   the	   Court’s	   Final	   Order,	   DFPS	   shall	   submit	   to	   the	   Court	   a	   plan	   for	  
             an	   integrated	   computer	   system,	   with	   specific	   timeframes,	   that	   contains	   each	   PMC	  
             child’s	   complete	   records,	   including	   but	   not	   limited	   to	   a	   complete	   migration	   of	   all	  
             medical,	   dental,	   educational,	   placement	   recommendations,	   court	   records,	   mental	  
             health	   and	   caseworker	   records.	   	   The	   mental	   health,	   dental	   and	   medical	   information	  
             shall	  include	  all	  visits	  to	  the	  provider	  with	  detailed	  examinations,	  diagnoses,	  test	  results,	  
             immunizations,	   medications	   (including	   the	   reasons	   for	   each),	   history	   of	   abuse,	  
             treatment	   plans,	   and	   any	   other	   information	   necessary	   for	   the	   safety	   of	   the	   children.	  
             DFPS	  shall	  have	  this	  system	  fully	  functional	  within	  one	  year	  of	  the	  Final	  Order	  date.	  	  
       2. The	   DFPS	   plan	   shall	   ensure	   that	   DFPS	   caseworkers	   and	   supervisors	   serving	   PMC	  
             children,	  as	  well	  as	  CASA	  staff	  and	  volunteers,	  and	  any	  public	  or	  private	  staff	  assigned	  to	  
             oversee	   PMC	   children’s	   care,	   have	   access	   to	   an	   integrated,	   current,	   complete	   and	  
             accurate	   case	   record	   for	   PMC	   children	   on	   their	   caseloads,	   consistent	   with	   prevailing	  
             state	   and	   federal	   law,	   including,	   for	   example,	   the	   child's	   current	   legal	   status	   and	  
             permanency	   goal;	   the	   child's	   Transition	   Plan	   (where	   applicable);	   the	   child's	   placement	  
             information	   and	   all	   safety-­‐related	   and	   licensure/verification	   information	   about	   the	  
             child's	   placement,	   including	   investigation	   and	   inspection	   reports,	   enforcement	   actions	  
             and	  internal	  reviews	  conducted	  by	  CPAs;	  the	  child's	  historic	  and	  current	  caseworker(s)	  



	                                                                                                                                                               11	  
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            and	   supervisor(s),	   with	   corresponding	   contact	   information;	   the	   child's	   complete	  
            medical,	  dental,	  educational	  and	  mental	  health	  information	  and	  records.	  	  
                                                                                 	  
                                                         Current	  PMC	  Child	  Photograph	  

Consistent	   with	   the	   Court’s	   goals	   in	   the	   December	   2015	   Order,	   DFPS	   improved	   its	   electronic	  
case	   management	   system,	   IMPACT,	   to	   include	   a	   location	   for	   a	   child’s	   photograph	   to	   be	  
uploaded.	  	  As	  of	  the	  Special	  Masters’	  case	  record	  review	  in	  May	  2017,	  DFPS	  had	  not	  ensured	  
that	  the	  electronic	  case	  record	  of	  each	  child	  in	  the	  PMC	  class	  included	  a	  child’s	  photograph	  that	  
is	  not	  more	  than	  one	  year	  old.	  
	  
       1. Effective	   immediately,	   the	   electronic	   case	   record	   of	   each	   child	   in	   the	   PMC	   class	   must	  
            include	  the	  child’s	  photograph	  that	  is	  not	  more	  than	  one	  year	  old,	  except	  as	  provided	  in	  
            paragraph	  three,	  below.	  
       2. Effective	   immediately,	   when	   a	   child	   enters	   the	   PMC	   class,	   DFPS	   shall	   ensure	   that	   a	  
            photograph	  is	  taken	  of	  the	  child	  within	  48	  hours	  and	  uploaded	  into	  the	  child’s	  electronic	  
            case	  record	  promptly.	  DFPS	  shall	  ensure	  the	  date	  of	  the	  photograph	  is	  recorded	  in	  the	  
            child’s	  case	  record.	  
       3. Effective	   immediately,	   with	   respect	   to	   all	   PMC	   children	   under	   the	   age	   of	   three	   years,	  
            DFPS	  shall	  ensure	  that	  photographs	  are	  taken	  and	  uploaded	  to	  the	  child’s	  IMPACT	  case	  
            record	  at	  least	  semi-­‐annually,	  and	  the	  date	  of	  the	  photograph	  must	  be	  recorded	  in	  the	  
            child’s	  case	  record.	  	  
       4. Effective	  immediately,	  DFPS	  shall	  ensure	  adequate	  training	  to	  all	  caseworkers	  on	  how	  to	  
            use	  the	  appropriate	  technology	  to	  photograph	  a	  child	  and	  upload	  the	  photograph	  to	  the	  
            child’s	  electronic	  case	  record.	  
                                                                                 	  
             Screening	  and	  Investigating	  Reports	  of	  Abuse/Neglect	  Regarding	  PMC	  Children	  	  

       1. Effective	  immediately,	  DFPS	  shall	  ensure	  that	  it	  maintains	  a	  statewide,	  24-­‐hour	  hotline	  
            accessible	   by	   PMC	   children	   in	   DFPS	   custody	   system	   to	   report	   abuse	   and	   neglect.	   The	  




	                                                                                                                                                12	  
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            hotline	   shall	   receive,	   screen	   and	   assign	   for	   investigation	   reports	   of	   maltreatment	   of	  
            children	  in	  the	  PMC	  class.	  	  
       2. DFPS	   shall	   ensure	   that	   child	   abuse	   and	   neglect	   investigations	   involving	   children	   in	   the	  
            PMC	   class	   are	   commenced	   and	   completed	   on	   time	   consistent	   with	   the	   Court’s	   Final	  
            Order,	   and	   conducted	   thoroughly	   and	   appropriately	   pursuant	   to	   current	   policy	   and	  
            regulation.	   The	   monitor(s)	   shall	   periodically	   review	   the	   statewide	   system	   for	  
            appropriately	   receiving,	   screening	   and	   investigating	   reports	   of	   abuse	   and	   neglect	  
            involving	   children	   in	   the	   PMC	   class	   to	   ensure	   those	   investigations	   of	   all	   reports	   are	  
            commenced	   and	   completed	   on	   time	   consistent	   with	   the	   Court’s	   Final	   Order	   and	  
            conducted	  thoroughly	  and	  appropriately	  pursuant	  to	  current	  policy	  and	  regulation.	  	  
       3.   In	  order	  to	  ensure	  that	  PMC	  children	  have	  access	  to	  the	  24-­‐hour	  hotline	  to	  report	  abuse	  
            and	  neglect,	  within	  30	  days	  of	  the	  Court’s	  Final	  Order,	  DFPS	  shall	  either	  require	  all	  foster	  
            homes	   and	   therapeutic	   foster	   homes	   housing	   PMC	   children	   to	   maintain	   a	   landline	  
            phone	  accessible	  to	  the	  child	  in	  the	  home,	  with	  the	  toll-­‐free	  hotline	  number	  appended	  
            to	   the	   landline	   or,	   in	   the	   alternative,	   DFPS	   shall	   present	   an	   alternative	   plan	   to	   the	   Court	  
            within	   30	   days	   of	   the	   Court’s	   Final	   Order	   to	   ensure	   PMC	   children	   have	   access	   to	   the	  
            hotline	  to	  report	  abuse	  and	  neglect.	  
       4. Effective	  May	  2018,	  DFPS	  shall	  ensure	  that	  all	  caseworkers	  and	  caregivers	  are	  trained	  to	  
            recognize	  and	  report	  sexual	  abuse,	  including	  child	  on	  child	  sexual	  abuse.	  	  
       5. Effective	   immediately,	   DFPS	   shall	   ensure	   that	   investigations	   of	   abuse	   and	   neglect	   of	  
            PMC	   children	   while	   they	   are	   in	   licensed	   placements	   are	   conducted	   by	   staff	   whose	  
            caseload	  is	  exclusively	  focused	  on	  child	  maltreatment	  investigations.	  	  
       6.   Effective	  March	  2018,	  and	  ongoing	  thereafter,	  DFPS	  shall	  ensure	  the	  central	  case	  record	  
            of	   every	   child	   in	   the	   PMC	   class	   includes	   documentation	   confirming	   the	   method(s)	  
            discussed	   with	   the	   child	   for	   notifying	   DFPS	   if	   the	   child	   needs	   to	   report	   abuse	   or	   neglect.	  
            For	   children	   who	   are	   verbal,	   the	   documentation	   must	   include	   the	   date	   the	   reporting	  
            methods	  were	  discussed	  with	  the	  child	  and	  confirmation	  of	  their	  level	  of	  understanding.	  	  	  
            The	   discussion	   with	   the	   child	   must	   occur	   within	   48	   hours	   of	   entering	   any	   new	  
            placement.	  	  




	                                                                                                                                                                13	  
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       7.    Within	  60	  days	  of	  the	  Court’s	  Final	  Order,	  all	  calls	  to	  the	  DFPS	  24-­‐hour	  hotline	  shall	  be	  
             recorded.	  All	  recorded	  calls	  shall	  be	  stored	  for	  at	  least	  two	  years	  using	  a	  call	  recording	  
             system.	   Recordings	   shall	   be	   made	   available	   to	   the	   monitor(s)	   for	   monitoring	   and	  
             verification	  purposes.	  	  
       8.    Effective	   March	   2018,	   and	   ongoing	   thereafter,	   DFPS	   shall	   ensure	   that	   a	   well-­‐trained,	  
             experienced	  and	  qualified	  supervisor	  reviews	  and	  approves	  all	  screening	  decisions	  at	  the	  
             24-­‐hour	  hotline	  involving	  children	  in	  the	  PMC	  class.	  	  The	  monitors	  will	  conduct	  routine	  
             audits	  of	  screened-­‐out	  reports	  involving	  children	  in	  the	  PMC	  class	  to	  confirm	  that	  DFPS	  
             conducted	   a	   complete	   review	   of	   the	   available	   record	   (including	   past	   intake	   reports	  
             involving	  the	  child	  and	  the	  placement)	  and	  due	  consideration	  was	  given	  to	  the	  risks	  to	  
             children	  when	  determining	  whether	  to	  assign	  a	  matter	  for	  investigation.	  	  
        9. Effective	  March	  2018,	  DFPS	  shall	  ensure	  that	  all	  abuse	  and	  neglect	  referrals	  to	  the	  24-­‐
             hour	   hotline	   regarding	   a	   foster	   home	   where	   any	   PMC	   child	   is	   placed,	   which	   are	   not	  
             referred	   for	   a	   child	   abuse	   and	   neglect	   investigation,	   are	   shared	   with	   the	   PMC	   child’s	  
             caseworker	   and	   the	   caseworker’s	   supervisor	   within	   48	   hours	   of	   DFPS	   receiving	   the	  
             referral.	   	   Upon	   receipt	   of	   the	   information,	   the	   PMC	   child’s	   caseworker	   will	   review	   the	  
             referral	  history	  of	  the	  home	  and	  assess	  if	  there	  are	  any	  concerns	  for	  the	  child’s	  safety	  or	  
             well-­‐being,	  and	  document	  the	  same	  in	  the	  child’s	  electronic	  case	  record.	  
       10. Effective	   March	   2018	   and	   ongoing	   thereafter,	   DFPS	   shall,	   in	   accordance	   with	   existing	  
             DFPS	   policies	   and	   administrative	   rules,	   initiate	   Priority	   One	   child	   abuse	   and	   neglect	  
             investigations	  involving	  children	  in	  the	  PMC	  class	  within	  24	  hours	  of	  intake.	  (A	  Priority	  
             One	   is	   by	   current	   policy	   assigned	   to	   an	   intake	   in	   which	   the	   children	   appear	   to	   face	   a	  
             safety	  threat	  of	  abuse	  or	  neglect	  that	  could	  result	  in	  death	  or	  serious	  harm.)	  
       11. Effective	   March	   2018	   and	   ongoing	   thereafter,	   DFPS	   shall,	   in	   accordance	   with	   existing	  
             DFPS	   policies	   and	   administrative	   rules,	   initiate	   Priority	   Two	   child	   abuse	   and	   neglect	  
             investigations	  involving	  children	  in	  the	  PMC	  class	  within	  72	  hours	  of	  intake.	  (A	  Priority	  
             Two	   is	   assigned	   by	   current	   policy	   to	   any	   CPS	   intake	   in	   which	   the	   children	   appear	   to	   face	  
             a	  safety	  threat	  that	  could	  result	  in	  substantial	  harm.)	  
       12. Effective	   March	   2018	   and	   ongoing	   thereafter,	   DFPS	   shall,	   in	   accordance	   with	   DFPS	  
             policies	   and	   administrative	   rules,	   complete	   required	   initial	   face-­‐to-­‐face	   contact	   with	   the	  



	                                                                                                                                                                 14	  
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             alleged	   child	   victim(s)	   in	   Priority	   One	   child	   abuse	   and	   neglect	   investigations	   involving	  
             PMC	  children	  as	  soon	  as	  possible	  but	  no	  later	  than	  24	  hours	  after	  intake.	  	  
       13. Effective	   March	   2018	   and	   ongoing	   thereafter,	   DFPS	   shall,	   in	   accordance	   with	   DFPS	  
             policies	   and	   administrative	   rules,	   complete	   required	   initial	   face-­‐to-­‐face	   contact	   with	   the	  
             alleged	   child	   victim(s)	   in	   Priority	   Two	   child	   abuse	   and	   neglect	   investigations	   involving	  
             PMC	  children	  as	  soon	  as	  possible	  but	  no	  later	  than	  72	  hours	  after	  intake.	  	  	  
       14. 	  Effective	   March	   2018	   and	   ongoing	   thereafter,	   DFPS	   must	   track	   and	   report	   all	   child	  
             abuse	   and	   neglect	   investigations	   that	   are	   not	   initiated	   on	   time	   with	   face-­‐to-­‐face	  
             contacts	   with	   children	   in	   the	   PMC	   class,	   factoring	   in	   and	   reporting	   to	   the	   monitors	  
             quarterly	  on	  all	  authorized	  and	  approved	  extensions	  to	  the	  deadline	  required	  for	  initial	  
             face-­‐to-­‐face	  contacts	  for	  child	  abuse	  and	  neglect	  investigations.	  	  	  
        15. Effective	   March	   2018,	   DFPS	   shall,	   in	   accordance	   with	   DFPS	   policies	   and	   administrative	  
             rules,	  complete	  Priority	  One	  and	  Priority	  Two	  child	  abuse	  and	  neglect	  investigations	  that	  
             involve	   children	   in	   the	   PMC	   class	   within	   30	   days	   of	   intake,	   unless	   an	   extension	   has	   been	  
             approved	   for	   good	   cause	   and	   documented	   in	   the	   investigative	   record.	   	   If	   an	  
             investigation	  has	  been	  extended	  more	  than	  once,	  all	  extensions	  for	  good	  cause	  must	  be	  
             documented	  in	  the	  investigative	  record.	  
        16. Effective	   March	   2018	   and	   ongoing	   thereafter,	   DFPS	   must	   track	   and	   report	   monthly	   all	  
             child	   abuse	   and	   neglect	   investigations	   involving	   children	   in	   the	   PMC	   class	   that	   are	   not	  
             completed	  on	  time	  according	  to	  this	  Final	  Order.	  	  Approved	  extensions	  to	  the	  standard	  
             closure	  timeframe,	  and	  the	  reason	  for	  the	  extension,	  must	  be	  documented	  and	  tracked.	  
             If	   an	   investigation	   has	   been	   extended	   more	   than	   once,	   all	   extensions	   for	   good	   cause	  
             must	  be	  documented	  in	  the	  investigative	  record.	  

The	  trial	  record	  includes	  multiple	  pieces	  of	  testimonial	  evidence	  describing	  children’s	  inability	  
to	   reach	   out	   for	   help.	   	   The	   former	   foster	   children	   testified	   that	   they	   were	   unable	   to	   tell	   a	  
caseworker	  about	  abuse	  because	  the	  abuser	  (often	  the	  caregiver)	  was	  present.	  	  (D.E.	  324,	  Page	  
64	  Lines	  3-­‐16,	  Page	  64	  Line	  22-­‐Page	  65	  Line	  15;	  D.E.	  325,	  Page	  169	  Lines	  14-­‐25).	  	  PV	  testified	  
she	   did	   not	   know	   who	   to	   trust,	   so	   she	   stayed	   quiet.	   	   (D.E.	   324,	   Page	   200	   Lines	   3-­‐17).	   	   When	   PV	  
did	  try	  to	  report	  abuse	  to	  a	  caseworker,	  nothing	  ever	  came	  of	  it.	  	  (D.E.	  324,	  Page	  200	  Lines	  3-­‐
17).	  	  KS	  (“KS”)	  testified	  that	  at	  one	  of	  his	  placements	  he	  could	  not	  make	  a	  phone	  call	  without	  


	                                                                                                                                                                            15	  
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getting	  permission.	  	  (D.E.	  325,	  Page	  169	  Lines	  14-­‐24).	  	  KS	  testified	  he	  never	  had	  the	  opportunity	  
to	   report	   his	   sexual	   abuse	   because	   someone	   was	   constantly	   monitoring	   his	   access	   to	   the	  
outside	  world.	  	  (D.E.	  325,	  Page	  169	  Lines	  14-­‐25).	  	  KS	  also	  testified	  that	  he	  did	  not	  know	  there	  
was	  a	  number	  he	  could	  call	  and	  that	  if	  there	  was	  such	  a	  number,	  he	  would	  not	  have	  had	  access	  
to	   it.	   	   (D.E.	   325,	   Page	   176	   Lines	   8-­‐17).	   	   Additionally,	   the	   next	   friends	   of	   named	   plaintiffs	  
described	   those	   children’s	   frustrations	   with	   not	   having	   a	   way	   to	   reach	   out.	   	   See	   (D.E.	   324,	   Page	  
224	  Line	  22-­‐Page	  226	  Line	  21	  and	  D.E.	  327,	  Page	  188	  Line	  22-­‐Page	  189	  Line	  11).	  	  

The	  Court’s	  December	  2015	  Opinion	  required	  that	  “[f]oster	  children	  must	  be	  allowed	  telephone	  
access	   to	   reach	   out	   to”	   the	   24-­‐hour,	   toll-­‐free	   child	   abuse	   and	   neglect	   hotline.	   	   The	   Court’s	  
January	   2017	   Order	   concluded	   that	   “[a]ll	   foster	   homes,	   foster	   group	   homes,	   and	   therapeutic	  
foster	   homes	   housing	   PMC	   children	   should	   be	   required	   to	   maintain	   a	   landline	   phone	   accessible	  
to	   the	   child	   in	   the	   home,	   with	   the	   toll-­‐free	   hotline	   number	   appended	   to	   the	   landline.”	   	   The	  
Court’s	   goals	   grew	   from	   findings,	   detailed	   in	   the	   December	   2015	   Opinion	   that	   children	   were	  
subject	   to	   serious	   physical	   and	   sexual	   abuse	   that	   was	   not	   reported	   to	   the	   DFPS	   toll-­‐free,	   24-­‐
hour	  child	  abuse	  and	  neglect	  hotline,	  known	  as	  Statewide	  Intake.	  	  

Consistent	   with	   the	   Court’s	   orders	   in	   this	   matter,	   the	   Special	   Masters	   requested	   that	   DFPS	  
provide	   a	   draft	   policy	   and/or	   regulation	   to	   require	   that	   Child	   Placement	   Agency	   (CPA)	  
residential	   providers	   maintain	   a	   landline	   phone	   that	   connects	   directly	   to	   the	   DFPS	   toll-­‐free,	   24-­‐
hour	  screening	  hotline.	  DFPS	  originally	  responded	  on	  March	  8,	  2017	  that	  the	  request	  from	  the	  
Special	  Masters	  was	  “Not	  applicable.	  DFPS	  neither	  has	  nor	  will	  be	  developing	  such	  a	  policy	  or	  
regulation.”	   (See	   Appendix	   E,	   DFPS	   Responses	   to	   Special	   Masters’	   Questions,	   emailed	   from	  
Audrey	  Carmical,	  Esq.,	  on	  behalf	  of	  DFPS	  on	  March	  8,	  2017.)	  

During	  a	  status	  hearing	  before	  the	  Court	  in	  March	  2017,	  DFPS	  stated	  and	  the	  Court	  recorded	  in	  
its	  March	  17,	  2017	  Order,	  “DFPS	  agreed	  to	  examine	  the	  possibility	  of	  requiring	  a	  landline	  phone	  
accessible	  to	  the	  children	  in	  each	  foster	  home.”	  	  DFPS	  subsequently	  advised	  the	  Special	  Masters	  
in	   April	   2017	   that	   DFPS	   was	   still	   “considering	   the	   feasibility	   and	   utility	   of	   requiring	   a	   landline	  
phone	  in	  each	  foster	  home.”	  (See	  Appendix	  H,	  DFPS	  Responses	  to	  Special	  Masters’	  Questions,	  
emailed	  from	  Audrey	  Carmical,	  Esq.,	  on	  behalf	  of	  DFPS	  on	  May	  12,	  2017.)	  	  Despite	  the	  Court’s	  
orders	   in	   this	   matter,	   DFPS	   also	   reports	   “it	   does	   not	   have	   a	   means	   of	   tracking	   which	   PMC	  


	                                                                                                                                                             16	  
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children	   are	   placed	   in	   care	   with	   access	   to	   a	   phone	   to	   report	   abuse	   and	   neglect.”	   (See	   Appendix	  
F,	  DFPS	  Responses	  to	  Special	  Master	  Questions,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  
of	  DFPS	  on	  September	  21,	  2017.)	  

	  

                                                  PMC	  Youths’	  Preparation	  for	  Independence	  
       1. Effective	  immediately,	  DFPS	  shall	  ensure	  and	  document	  that	  all	  youth	  in	  the	  PMC	  class,	  
             aged	   16	   or	   older,	   receive	   copies	   of	   their	   birth	   certificate,	   social	   security	   card,	   and	   all	  
             other	  documents	  that	  law	  or	  policy	  entitles	  them	  to	  receive	  upon	  turning	  16.	  	  	  
       2. Effective	  immediately,	  DFPS	  shall	  ensure	  and	  document	  that	  all	  youth	  in	  the	  PMC	  class,	  
             prior	   to	   aging	   out	   of	   care,	   receive	   copies	   of	   their	   birth	   certificate,	   social	   security	   card,	  
             and	   all	   other	   documents	   that	   law	   or	   policy	   entitles	   them	   to	   receive.	   DFPS	   must	  
             document	  an	  acknowledgment	  of	  receipt,	  along	  with	  a	  short	  description	  of	  the	  youth’s	  
             plan	   for	   safekeeping	   the	   documents,	   signed	   by	   the	   youth	   and	   their	   caseworker	   in	   the	  
             electronic	  case	  record	  prior	  to	  the	  youth	  aging	  out	  of	  care.	  
       3. Effective	   within	   three	   months	   of	   the	   Court’s	   Final	   Order	   and	   ongoing	   thereafter,	   DFPS	  
             shall	  identify	  all	  PMC	  youth	  aged	  14	  and	  older	  who	  have	  not	  yet	  received	  the	  following	  
             DFPS	   independent	   living	   preparation	   services:	   the	   life	   skills	   assessment,	   a	   Circles	   of	  
             Support	   (COS)	   or	   Transition	   Plan	   Meeting	   (TPM),	   and	   a	   recently	   updated	   (within	   six	  
             months	   for	   youth	   16	   and	   older	   and	   one	   year	   for	   youth	   14	   and	   older)	   transition	   plan.	  
             DFPS	   shall	   ensure	   that	   all	   PMC	   youth	   who	   have	   been	   identified	   immediately	   above,	  
             receive	  these	  services	  and	  that	  the	  PMC	  youth’s	  transition	  plan	  is	  developed.	  
       4. Effective	   June	   2018,	   DFPS	   shall	   ensure	   all	   14	   and	   15	   year-­‐old	   youth	   in	   the	   PMC	   class	  
             receive	  DFPS’	  Preparation	  for	  Adult	  Living	  (PAL)	  services.	  	  
       5. Effective	   June	   2018,	   DFPS	   shall	   ensure	   that	   if	   a	   PMC	   youth’s	   disability	   is	   a	   barrier	   to	  
             participation	   in	   PAL	   services	   or	   supports,	   appropriate	   accommodations	   shall	   be	  
             identified	   that	   allow	   the	   youth	   to	   meaningfully	   participate,	   and	   DFPS	   shall	   document	  
             any	  accommodations	  in	  the	  child’s	  electronic	  case	  record.	  




	                                                                                                                                                              17	  
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       6. Effective	   June	   2018,	   DFPS	   shall	   ensure	   PMC	   youth	   receive	   a	   life-­‐skills	   assessment	   within	  
            45	   days	   of	   turning	   14,	   and	   are	   reassessed	   annually,	   and	   that	   the	   results	   of	   these	  
            assessments	  are	  documented	  and	  available	  in	  the	  child’s	  electronic	  case	  record.	  
       7. Effective	  June	  2018,	  DFPS	  shall	  ensure	  that	  PMC	  youth	  receive	  DFPS’s	  Circles	  of	  Support	  
            (COS)	  or	  Transition	  Planning	  Meeting	  (TPM)	  within	  45	  days	  of	  turning	  14	  years	  old,	  and	  
            then	   receive	   either	   COS	   or	   TPM	   in	   conjunction	   with	   the	   child’s	   permanency	   planning	  
            meeting	   every	   four	   months,	   until	   the	   youth	   ages	   out	   or	   attains	   permanency.	   The	  
            purpose	   of	   such	   meetings	   is	   to	   develop	   a	   youth’s	   transition	   plan	   with	   an	   eye	   toward	  
            building	  skills	  to	  support	  a	  youth’s	  specific	  strengths	  and	  address	  needs	  in	  preparation	  
            for	  independence.	  	  
       8. Effective	   March	   2018,	   DFPS	   shall	   ensure	   that	   primary	   caseworkers	   assigned	   to	   PMC	  
            children	  develop	  a	  plan,	  in	  consultation	  with	  the	  child’s	  Attorney	  ad	  litem,	  to	  facilitate	  
            the	  sealing	  or	  expungement	  of	  any	  eligible	  criminal	  or	  juvenile	  records	  for	  offenses	  for	  
            which	  the	  youth	  was	  adjudicated	  or	  convicted	  prior	  to	  the	  youth	  aging	  out	  of	  care.	  DFPS	  
            shall	  ensure	  the	  efforts	  to	  do	  so	  are	  documented	  in	  the	  child’s	  electronic	  case	  record.	  	  	  
       9. Effective	  March	  2018,	  DFPS	  shall	  ensure	  that	  the	  caseworker	  puts	  a	  plan	  in	  place	  prior	  
            to	  a	  PMC	  youth	  turning	  18	  years	  of	  age,	  documented	  in	  the	  case	  record,	  detailing	  how	  
            the	   youth	   will	   access	   benefits	   the	   youth	   is	   eligible	   to	   receive	   once	   they	   leave	   DFPS	   care,	  
            including	   the	   DFPS	   transitional	   living	   allowance,	   Social	   Security	   Disability	   Insurance	  
            benefits,	   the	   DFPS	   aftercare	   room	   and	   board	   assistance,	   and	   DFPS’s	   Education	   and	  
            Training	  Vouchers.	  	  	  
       10. Effective	  June	  2018,	  DFPS	  shall	  ensure	  driver’s	  education	  classes	  are	  provided	  to	  all	  PMC	  
            youth	   who	   are	   old	   enough	   to	   receive	   a	   learner’s	   permit	   and	   choose	   to	   take	   driver’s	  
            education.	  	  
       11. Effective	  immediately,	  DFPS	  shall	  ensure	  that	  a	  plan	  is	  in	  place,	  and	  documented	  in	  the	  
            case	  record,	  to	  provide	  all	  PMC	  youth	  age	  16	  and	  older	  with	  safe,	  stable	  housing	  upon	  
            exit	  from	  care.	  	  
       12. Effective	  immediately,	  DFPS	  shall	  ensure	  that	  prior	  to	  exiting	  care,	  each	  PMC	  youth	  age	  
            14	  and	  older	  is	  assisted	  in	  creating	  e-­‐mail	  accounts	  so	  that	  they	  may	  receive	  encrypted	  
            copies	  of	  personal	  documents	  and	  records,	  in	  addition	  to	  receiving	  copies	  of	  originals.	  	  



	                                                                                                                                                               18	  
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In	  the	  December	  2015	  Opinion,	  the	  Court	  found:	  

                     Specia	   also	   acknowledged	   that	   the	   “longer	   children	   stay	   in	   the	  
                     custody	   of	   the	   state	   the	   harder	   it	   is	   for	   them	   to	   achieve	   a	  
                     permanent	   home.”	   (D.E.	   299	   at	   63,	   83;	   see	   also	   PX	   1988	   at	   9).	  
                     Thus,	   another	   consequence	   of	   rotating	   overburdened	  
                     caseworkers,	   which	   disrupts	   permanency	   planning,	   is	   that	   1300-­‐
                     1400	  foster	  children	  age	  out	  of	  the	  system	  each	  year.	  It	  is	  widely	  
                     recognized	   that	   foster	   youths	   who	   age	   out	   generally	   experience	  
                     poorer	   life	   outcomes.	   These	   youths	   leave	   the	   system	   with	   few	   life	  
                     skills	   and	   little,	   if	   any,	   support.	   As	   Burstain	   wrote	   before	   joining	  
                     DFPS,	  aging	  out	  of	  care	  is	  an	  outcome	  DFPS	  tries	  to	  avoid	  as	  aged-­‐
                     out	  youths	  “have	  no	  permanent	  place	  to	  call	  home	  and	  often	  have	  
                     a	   difficult	   time.”	   (PX	   1877	   at	   36).	   Burstain	   reaffirmed	   this	  
                     sentiment	  at	  trial,	  saying	  that	  children	  for	  whom	  DFPS	  has	  failed	  
                     to	  find	  a	  permanent	  home	  and	  who	  age	  out	  are	  “likely	  .	  .	  .	  to	  be	  
                     harmed.”	  (D.E.	  310	  at	  55).	  This	  is	  especially	  true	  for	  children	  who	  
                     age	  out	  while	  living	  far	  from	  their	  home	  communities	  and	  support	  
                     networks,	   often	   lacking	   the	   resources	   or	   ability	   to	   return.	   As	   of	  
                     August	  2014,	  approximately	  60%	  of	  all	  foster	  children	  were	  placed	  
                     outside	   their	   home	   county.	   (DX	   183	   at	   4).	   Thus,	   aging	   out	   in	   a	  
                     foreign	   community	   is	   commonplace.	   As	   a	   result,	   these	   children	  
                     frequently	   end	   up	   homeless,	   participating	   in	   “criminal	   activities	   in	  
                     order	   to	   survive,	   trespassing	   in	   vacant	   homes	   or	   stealing	   or	  
                     human	   trafficking,	   prostitution,	   those	   kind	   of	   things	   in	   order	   to	  
                     have	  a	  place	  to	  stay.”	  (D.E.	  307	  at	  15;	  see	  also	  PX	  1872	  at	  4).	  	  

                     Aged	   out	   foster	   youths	   often	   experience	   “serious,	   and	   in	   some	  
                     cases	   disabling,	   physical	   and	   mental	   health	   care	   issues”	   and	   are	  
                     likely	   to	   suffer	   from	   post-­‐traumatic	   stress	   disorder	   (“PTSD”)	   due	  
                     to	  “the	  traumas	  and	  frequent	  moves	  and	  transitions	  experienced	  
                     in	   foster	   care.”	   (PX	   1988	   at	   10).	   According	   to	   Casey	   Family	  
                     Programs,	   former	   foster	   youths	   suffer	   from	   PTSD	   at	   nearly	   five	  
                     times	  the	  rate	  of	  the	  general	  population	  and	  nearly	  twice	  the	  rate	  
                     of	  United	  States	  combat	  veterans.	  Id.	  at	  57,	  71.	  In	  addition,	  aged	  
                     out	   foster	   youths	   often	   have	   significantly	   lower	   educational	  
                     attainment	   than	   their	   peers.	   Id.	   at	   53-­‐55,	   58-­‐59.	   Foster	   youth	   in	  
                     general	  are	  “much	  more	  likely	  to	  be	  held	  back	  than	  their	  peers.”	  
                     Id.	  at	  54.	  This	  is	  due	  in	  part	  to	  the	  frequent	  school	  changes,	  which	  
                     means	   they	   are	   “often	   absent	   for	   large	   parts	   of	   the	   school	   year,	  
                     lose	  academic	  credits	  due	  to	  mid-­‐semester	  moves,	  and	  often	  have	  
                     incomplete	   school	   records	   due	   to	   missing	   transcripts.”	   Id.	   at	   53-­‐
                     54.	   Foster	   children	   are	   also	   significantly	   overrepresented	   in	  
                     special	  education	  classes—at	  a	  rate	  of	  over	  four	  times	  that	  of	  the	  
                     general	   population—which	   may	   be	   an	   underestimate.	   See	   id.	   at	  


	                                                                                                                                        19	  
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                       55.	   Many	   do	   not	   finish	   high	   school.	   Id.	   at	   58.	   Fewer	   than	   2%	   of	  
                       former	  foster	  children	  complete	  college.	  Id.	  at	  56.	  	  

                       Talley,	  who	  previously	  worked	  at	  DFPS	  as	  a	  Preparation	  for	  Adult	  
                       Living	  coordinator,	  testified	  that	  the	  800	  former	  foster	  youths	  for	  
                       whom	  she	  provided	  services,	  the	  majority	  of	  which	  were	  in	  PMC,	  
                       were	   simply	   being	   “maintain[ed]	   in	   foster	   care	   until	   they	   aged	  
                       out.”	   (D.E.	   323	   at	   84-­‐85).	   Carpenter	   testified	   that	   aged-­‐out	  
                       children	   lack	   independent	   living	   skills.	   (See	   D.E.	   307	   at	   8,	   13,	   29-­‐
                       30).	   They	   do	   not	   know	   how	   to	   answer	   a	   phone,	   take	   or	   leave	   a	  
                       message,	   cook	   a	   meal	   for	   themselves,	   or	   load	   a	   dishwasher.	   Id.	  
                       They	   do	   not	   know	   how	   to	   fill	   out	   a	   job	   application,	   let	   alone	   drive	  
                       a	  car	  to	  get	  to	  work.	  Id.	  at	  29-­‐30.	  According	  to	  Carter,	  none	  of	  the	  
                       Named	   Plaintiffs	   who	   are	   on	   the	   cusp	   of	   aging	   out,	   or	   have	   by	  
                       now	   aged	   out,	   “have	   sufficient	   adaptive	   living	   skills	   that	   are	  
                       necessary	   for	   even	   a	   minimally	   reasonable	   chance	   at	   a	   decent”	  
                       life.	   (D.E.	   326	   at	   129).	   None	   of	   them	   were	   involved	   in	   any	  
                       extracurricular	   activities	   at	   school	   or	   had	   any	   vocational	   training	  
                       or	  employment	  experience.	  Id.	  	  

DFPS	  reported	  that	  1,246	  youth	  aged	  out	  of	  care	  in	  2014;	  1,180	  youth	  aged	  out	  of	  care	  in	  2015;	  
and	  1,250	  youth	  aged	  out	  of	  care	  in	  2016.	  	  	   Earlier	  in	  the	  Opinion,	  the	  Court	  summarized	  the	  
testimony	  of	  the	  State	  expert	  who	  oversaw	  extended	  foster	  care	  for	  children	  who	  age	  out:	  


                       Jenny	   Hinson	   (“Hinson”)	   is	   the	   Division	   Administrator	   for	  
                       Permanency	   at	   CPS.	   (D.E.	   314	   at	   4).	   She	   supervises	   a	   team	   of	  
                       seven	   subject	   matter	   experts	   and	   with	   them	   is	   responsible	   for	  
                       developing	   and	   administering	   policies	   and	   programs	   for	   children	  
                       in	   DFPS	   conservatorship.	   (See	   id.	   at	   221;	   DX	   259	   at	   1).	   She	   has	  
                       been	   in	   her	   current	   position	   since	   2010,	   but	   has	   been	   at	   DFPS	  
                       since	   1998.	   Hinson	   has	   worked	   as	   a	   statewide	   intake	   specialist,	  
                       caseworker,	   supervisor,	   program	   director,	   program	   administrator,	  
                       and	   program	   specialist.	   (D.E.	   327	   at	   222-­‐23;	   DX	   259	   at	   1-­‐2).	   While	  
                       Hinson	   focuses	   on	   CPS	   policies	   that	   relate	   to	   permanence,	   she	  
                       seems	   to	   know	   little	   about	   how	   her	   policies	   actually	   affect	  
                       permanency.	   Id.	   at	   6-­‐9.	   For	   example,	   she	   oversees	   extended	  
                       foster	   care	   for	   children	   who	   age	   out,	   but	   does	   not	   know	   how	  
                       many	  children	  benefit	  from	  that	  program,	  or	  the	  effectiveness	  of	  
                       that	  program.	  Id.	  at	  8-­‐9.	  Similarly,	  while	  she	  said	  that	  independent	  
                       living	   classes	   are	   offered	   to	   all	   foster	   children	   age	   16	   and	   up,	  
                       Hinson	   does	   not	   know	   how	   many	   children	   attend	   those	   classes.	  
                       She	  believes	  that	  number	  is	  fewer	  than	  50	  out	  of	  the	  1300-­‐1400	  
                       children	  who	  age	  out	  annually.	  (Id.	  at	  21-­‐22;	  see	  also	  DX	  24	  at	  14	  



	                                                                                                                                                   20	  
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                          (showing	   that	   1410	   youths	   aged	   out	   in	   2011);	   DX	   119	   at	   221	  
                          (showing	  that	  1328	  youths	  aged	  out	  in	  2013)).	  	  

                          	  

                                                    Attorneys	  ad	  Litem	  for	  PMC	  Children	  
       1. Effective	  immediately,	  DFPS	  shall	  request	  the	  appointment	  of	  an	  Attorney	  ad	  litem	  for	  
             all	  PMC	  children	  from	  each	  court	  in	  which	  a	  suit	  is	  pending	  in	  which	  a	  PMC	  child	  does	  
             not	  have	  Attorney	  ad	  litem	  representation,	  citing	  the	  Court’s	  Final	  Order.	  
       2. Within	   30	   days	   of	   the	   Court’s	   Final	   Order,	   DFPS	   shall	   present	   a	   plan	   to	   the	   Court	   to	  
             ensure	   reimbursement	   to	   Attorneys	   ad	   litem	  in	   those	   courts	   that	   do	   not	   currently	  
             provide	  Attorneys	  ad	  litem	  for	  PMC	  children.	  If	  DFPS	  fails	  to	  present	  a	  plan,	  DFPS	  shall	  
             reimburse	   those	   fees	   necessary	   to	   provide	   Attorneys	   ad	   litem	   in	   those	   courts	   that	   do	  
             not	  currently	  provide	  Attorneys	  ad	  litem	  for	  PMC	  children.	  	  	  
The	   Court’s	   January	   2017	   Order	   refers	   to	   the	   “loss	   of	   liberty”	   each	   PMC	   child	   experiences	   by	  
virtue	  of	  their	  removal	  from	  home	  and	  their	  assignment	  to	  placements.	  	  In	  the	  Court’s	  original	  
December	   2015	   Opinion,	   Judge	   Jack	   observed	   that	   “when	   a	   child	   enters	   PMC,	   courts	   often	  
dismiss	  the	  child’s	  Attorney	  ad	  litem	  and	  CASA,	  leaving	  the	  child	  with	  fewer	  stable	  relationships	  
and	   advocates.	   (PX	   1988	   at	   15;	   see	   also	   supra	   pp.	   7-­‐8).”	   	   Noting	   in	   the	   January	   2017	   Order	   that	  
“[m]ost	   PMC	   children	   also	   do	   not	   have	   an	   attorney	   ad	   litem,”	   the	   Court	   analyzed	   the	  
vulnerability	  of	  children	  in	  the	  PMC	  class,	  the	  liberty	  interests	  at	  stake,	  and	  concluded:	  


                          PMC	   children	   are	   entitled	   to	   counsel	   at	   every	   step	   of	   their	   legal	  
                          journey	   through	   the	   Texas	   foster	   care	   system	   …	   The	   Court	   can	  
                          order,	   at	   a	   minimum,	   that	   DFPS	   request	   ad	   litem	   appointment	  
                          from	   each	   court	   in	   which	   a	   suit	   is	   pending,	   citing	   this	   Order.	  
                          Additionally,	   the	   Court	   will	   consider	   ordering	   DFPS	   to	   reimburse	  
                          the	   ad	   litem	   attorney’s	   fees	   to	   the	   appointing	   court.	   The	   Special	  
                          Masters	  are	  ordered	  to	  work	  with	  DFPS	  to	  evaluate	  the	  efficacy	  of	  
                          these	  options	  and	  propose	  a	  procedure	  for	  the	  appointment	  of	  an	  
                          attorney	   ad	   litem	   for	   each	   PMC	   child	   within	   3	   months	   from	   the	  
                          date	  of	  this	  order.	  	  	  

When	  the	  Special	  Masters	  asked	  DFPS	  about	  these	  options,	  the	  agency	  replied,	  “Not	  applicable.	  
DFPS	   declines	   to	   speculate	   on	   a	   process	   that	   is	   and	   should	   be	   governed	   by	   counties	   and	  




	                                                                                                                                                                     21	  
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individual	  judges.”	  (See	  Appendix	  E,	  Updated	  response	  document	  to	  Special	  Masters’	  Request	  
for	  Information,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  8,	  2017.)	  

The	  Special	  Masters	  asked	  DFPS	  to	  identify	  how	  many	  PMC	  children	  did	  not	  have	  an	  attorney	  as	  
of	  September	  2017.	  	  DFPS	  responded	  that	  it	  “does	  not	  track	  this	  information.”	  (See	  Appendix	  F,	  
DFPS	  Responses	  to	  Special	  Masters’	  Questions,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  
DFPS	  on	  September	  21,	  2017.)	  

                                                                 PMC	  Children’s	  Health	  
	  
       1. Within	  30	  days	  of	  the	  Court’s	  Final	  Order,	  DFPS	  shall	  present	  the	  Court	  with	  a	  plan	  to	  
            address	   and	   remediate	   missing	   and	   nonexistent	   medical	   and	   mental	   health	   care	  
            records,	   consistent	   with	   the	   American	   Academy	   of	   Pediatrics	   “Fostering	   Health:	  
            Healthcare	  for	  Children	  and	  Adolescent	  in	  Foster	  Care.”	  	  
       2. DFPS	   shall	   institute	   and	   incorporate	   caseworker	   training	   (minimally	   into	   the	  
            Conservatorship	  Specialty	  Track)	  about	  child	  health	  that	  describes:	  
                  a. The	   health	   vulnerabilities	   of	   foster	   youth	   (pages	   1	   and	   2	   of	   the	   American	  
                        Academy	  of	  Pediatrics	  “Fostering	  Health:	  Healthcare	  for	  Children	  and	  Adolescent	  
                        in	  Foster	  Care”);	  
                  b. Specifically,	   how	   to	   use	   child	   and	   family	   visits	   to	   obtain	   and	   update	   healthcare	  
                        information;	  	  
                  c. The	   utility	   of	   children’s	   electronic	   case	   record,	   for	   improving	   the	   health	   of	   foster	  
                        youth.	  
       3. Effective	   immediately,	   DFPS	   shall	   make	   every	   effort	   to	   obtain	   and	   make	   available	   a	  
            child’s	   medical	   records	   within	   24	   hours	   of	   the	   child	   entering	   the	   custody	   of	   DFPS.	  
            Caseworkers	   shall	   document	   their	   efforts	   to	   obtain	   and	   make	   available	   children’s	  
            medical	  records	  within	  48	  hours	  of	  children	  entering	  DFPS	  custody;	  
       4. Effective	   June	   2018,	   DFPS	   will	   ensure	   that	   every	   PMC	   child	   has	   a	   medical	   home.	   The	  
            medical	  home	  is	  a	  health	  care	  delivery	  model	  led	  by	  a	  health	  care	  provider	  to	  provide	  
            comprehensive	   and	   continuous	   medical	   care	   and	   care	   management	   to	   patients	   with	   a	  




	                                                                                                                                                      22	  
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            goal	  to	  obtain	  positive	  health	  outcomes.	  The	  medical	  home	  shall	  be	  obliged	  (by	  policy	  
            and	  contract):	  
                  a. To	  maintain	  and	  update	  all	  medical	  fields	  of	  the	  child’s	  central	  electronic	  record;	  
                  b. To	  coordinate	  care	  for	  routine	  and	  emergency	  healthcare	  needs;	  
                  c. To	   ensure	   timely	   evaluations	   and	   assessments	   for	   all	   health	   needs,	   including	  
                       behavioral	   health	   (including	   psychotropic	   oversight),	   dental	   care,	   and	   chronic	  
                       health	  conditions.	  
       5. Effective	   June	   2018,	   DFPS	   shall	   ensure	   children	   in	   the	   PMC	   class	   receive	   a	   specific	  
            developmental	  assessment	  of	  at	  least	  one	  of	  the	  following	  screenings	  within	  90	  days	  of	  
            each	  child’s	  birthday:	  
                                    •            Birth	   to	   10	   years:	   Ages	   and	   Stages	   Questionnaire,	   Ages	   and	  
                                                 Stages	   Questionnaire:	   Second	   Edition,	   or	   the	   PEDS	  
                                                 developmental	  screening	  and	  assessment;	  	  
                                    •            11	  years	  to	  21	  years:	  the	  Pediatric	  Symptom	  Checklist	  (PSC)-­‐35,	  
                                                 the	   Youth	   Pediatric	   Symptom	   Checklist	   (Y-­‐PSC),	   the	   Patient	  
                                                 Health	  Questionnaire-­‐9	  (PHQ-­‐9),	  or	  the	  CRAFFT	  screening	  test).	  
            Screening	   results	   from	   the	   developmental	   assessment,	   including	   follow-­‐up/red	   flag	  
            items,	  shall	  be	  inputted	  into	  the	  child’s	  electronic	  case	  record	  within	  72	  hours;	  
       6. Effective	   June	   2018,	   DFPS	   shall	   ensure	   the	   child’s	   central	   electronic	   case	   record	   has	  
            functional	  internal	  (red	  flag)	  alerts	  notifying	  caseworkers	  of:	  
                  a. Follow	  up	  needed;	  
                  b. Assessments/screening	  required	  or	  indicated;	  
                  c. Evaluations	  required	  or	  indicated;	  
                  d. Immunizations	  required	  or	  indicated;	  and	  
                  e. Appointments	  missed	  or	  cancelled.	  
       7. Effective	  May	  2018,	  DFPS	  shall	  institute	  a	  policy	  that	  uses	  the	  caseworker	  visits	  to	  verify	  
            and	  report	  on	  health	  status	  by	  answering	  and	  documenting	  in	  the	  PMC	  child’s	  electronic	  
            case	  record	  these	  questions:	  	  
                  a. Are	  there	  outstanding	  red	  flag	  items	  for	  this	  child?	  
                              i. Greater	  than	  20	  days?	  



	                                                                                                                                              23	  
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                             ii. Greater	  than	  90	  days?	  
                 b. Has	  this	  child	  visited	  a	  healthcare	  practitioner	  in	  the	  last	  90	  days?	  
                 c. Can	  this	  child	  (over	  11)	  name	  his/her	  health	  care	  needs?	  

The	  Court	  observed	  in	  its	  December	  2015	  Opinion	  that	  “rape,	  abuse,	  psychotropic	  medication	  
and	   instability	   are	   the	   norm”	   for	   PMC	   children,	   and	   many	   children’s	   records,	   included	   as	  
exhibits	  to	  the	  trial,	  were	  missing	  important	  health	  information.	  The	  children’s	  records	  include	  
serious	   concerns	   of	   sexual	   and	   physical	   abuse	   but	   the	   records	   indicate	   the	   children	   were	   not	  
timely	   (or	   ever)	   examined	   by	   doctors	   to	   determine	   if	   they	   had	   been	   assaulted.	   	   Injuries	   went	  
untreated.	   Necessary	   medical	   follow-­‐up	   did	   not	   occur.	   Incomplete	   and	   missing	   healthcare	  
information	  was	  a	  common	  feature	  of	  the	  records.	  In	  its	  January	  2017	  Order,	  the	  Court	  directed	  
“the	   Special	   Masters	   to	   work	   with	   DFPS	   to	   develop	   a	   healthcare	   plan	   to	   address	   missing	   or	  
nonexistent	  healthcare	  records.	  The	  recommended	  guideline	  shall	  be	  the	  American	  Academy	  of	  
Pediatrics’	  ‘Fostering	  Health:	  Healthcare	  for	  Children	  and	  Adolescents	  in	  Foster	  Care.”	  

                                                                             	  
                                                           Caseworker	  Workload	  
The	  Court’s	  December	  2015	  Opinion	  discussed	  at	  length	  the	  harm	  PMC	  children	  faced	  because	  
of	   overburdened	   and	   frequently	   replaced	   caseworkers.	   	   As	   the	   Special	   Masters	   reported	   in	  
November	   2016,	   DFPS	   produced	   to	   the	   Special	   Masters	   an	   Executive	   Summary	   of	   a	   Work	  
Measurement	  Study	  conducted	  from	  August	  1,	  2015,	  through	  March	  31,	  2016,	  which	  concluded	  
that	  CVS	  caseworkers	  expended	  an	  average	  of	  9.7	  hours	  per	  month	  on	  case	  profiles	  most	  often	  
associated	  with	  PMC	  children,	  and	  that	  these	  workers	  had	  an	  average	  of	  137.9	  hours	  per	  month	  
to	  spend	  on	  their	  casework.	  	  The	  study’s	  author	  reported	  that	  the	  study’s	  findings	  mean	  that	  
CVS	  workers	  have	  time	  to	  serve	  an	  average	  of	  14	  children	  each.	  	  

The	  DFPS	  Workload	  Study	  blended	  “I	  See	  You”	  secondary	  workers	  with	  CVS	  caseworkers	  even	  
though	  “I	  See	  You”	  workers	  are	  expected	  to	  spend	  less	  time	  on	  children’s	  cases.	  	  As	  the	  Court	  
observed	  in	  its	  January	  2017	  Order:	  

                       Removing	  “I	  See	  You	  Workers”	  from	  the	  calculation	  decreases	  the	  
                       number	   of	   PMC	   cases	   a	   CVS	   caseworker	   can	   physically	   handle.	  
                       (D.E.	  471	  at	  11.1)	  Nevertheless,	  the	  Court	  accepts	  the	  Work	  Study	  


	                                                                                                                                                     24	  
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                                                                                                                      as	   providing	   the	   definitive	   number	   of	   PMC	   children	   that	   a	   CVS	  
                                                                                                                      caseworker	  can	  physically	  handle.	  

After	   reviewing	   the	   study	   and	   discussing	   its	   conclusions	   with	   the	   DFPS	   author,	   the	   Special	  
Masters	   asked	   DFPS	   to	   determine	   how	   many	   additional	   CVS	   workers	   would	   be	   required	   to	  
achieve	   CVS	   workloads	   of	   no	   more	   than	   14	   children	   per	   worker.	   	   DFPS	   declined	   to	   do	   so,	  
replying	  it	  was	  “not	  feasible”	  to	  provide	  the	  information.c	  (See	  Appendix	  H,	  Updated	  response	  
document	   to	   Special	   Masters’	   Request	   for	   Information	   of	   2-­‐10-­‐17,	   emailed	   from	   Audrey	  
Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  May	  12,	  2017.)	  	  	  

There	   was	   evidence	   presented	   in	   the	   case	   of	   supervisors	   carrying	   a	   caseload,	   which	   detracts	  
from	   their	   ability	   to	   oversee	   the	   caseworkers	   they	   supervise.	   Judy	   Bowman	   Pitts,	   Regional	  
Director	  of	  Regions	  4	  and	  5,	  testified	  that	  supervisors	  occasionally	  have	  their	  own	  caseload	  and	  
stated	   a	   supervisor	   will	   help	   when	   a	   caseworker	   leaves.	   	   (D.E.	   327,	   Page	   14	   Line	   23-­‐Page	   16	  
Lines	   17).	   	   A	   CPS	   Field	   Operations	   Division	   Briefing	   also	   noted	   that	   newly	   promoted	   supervisors	  
are	   managing	   their	   own	   remaining	   cases	   as	   well	   as	   their	   new	   supervisor	   responsibilities.	   	   (DX	  
25,	  Page	  2).	  	  The	  same	  briefing	  stated	  in	  Lubbock	  County,	  when	  a	  caseworker	  leaves	  and	  a	  case	  
only	   requires	   documentation	   to	   close,	   the	   supervisor	   will	   be	   responsible.	   	   (DX	   25,	   Page	   3).	  	  
Further,	   DFPS	   supplied	   data	   to	   the	   Special	   Masters	   indicating	   that	   on	   July	   31,	   2016,	   89	  
supervisors	   served	   as	   the	   primary	   caseworker	   for	   PMC	   and	   TMC	   children.	   	   	   Of	   those	   89	  
supervisors,	  83	  carried	  fewer	  than	  14	  cases	  with	  the	  highest	  caseload	  being	  between	  24	  and	  27	  
cases.	  	  
	  
For	  the	  reasons	  stated	  in	  the	  Court’s	  January	  2017	  order:	  

                             1. Effective	   June	   2018,	   DFPS	   shall	   ensure	   that	   the	   full-­‐time	   staff,	   including	   supervisors,d	  	  
                                                           who	  provide	  case	  management	  services	  to	  children	  in	  the	  PMC	  class,	  whether	  employed	  
                                                           by	   a	   public	   or	   private	   entity,	   have	   a	   caseload	   within	   or	   below	   the	   range	   of	   14	   to	   17	  
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
c
 	   DFPS	   responded,	   “DFPS	   has	   reviewed,	   and	   it	   is	   not	   feasible	   to	   provide	   this	   information.	   In	   addition,	   DFPS	  
reiterates	   that	   there	   is	   no	   evidentiary	   basis	   for	   the	   caseload	   limit	   utilized	   in	   this	   question.”	   (See	   Appendix	   H,	  
Updated	  response	  document	  to	  Special	  Masters’	  Request	  for	  Information,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  
behalf	  of	  DFPS	  on	  May	  12,	  2017.)	  	  	  
d
 	  As	  stated	  in	  the	  Section	  on	  Supervisors	  below,	  supervisors	  who	  oversee	  caseworkers	  serving	  PMC	  children	  shall	  
not	  directly	  carry	  a	  caseload	  unless	  there	  is	  a	  documented	  emergency	  requiring	  the	  supervisor	  to	  do	  so.	  
	  

	                                                                                                                                                                                                                                                  25	  
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            children.	   Caseloads	   for	   staff	   must	   be	   pro-­‐rated	   for	   those	   who	   are	   less	   than	   full-­‐time.	  
            Caseloads	   for	   staff	   who	   spend	   part-­‐time	   in	   caseload	   carrying	   work	   and	   part-­‐time	   in	  
            other	  functions	  must	  be	  pro-­‐rated	  accordingly.	  The	  caseload	  range	  for	  staff	  with	  mixed	  
            caseloads,	   for	   example	   caseworkers	   serving	   both	   PMC	   and	   TMC	   children,	   will	   also	   be	   14	  
            to	  17	  children’s	  cases,	  and	  each	  TMC	  child’s	  case	  will	  be	  afforded	  the	  same	  weight	  in	  the	  
            caseload	  calculation	  as	  a	  PMC	  child.	  
       2. Effective	  immediately,	  DFPS	  shall	  track	  caseloads	  on	  a	  child-­‐only	  basis,	  as	  ordered	  by	  the	  
            Court	  in	  December	  2015.	  Effective	  immediately,	  DFPS	  shall	  report	  to	  the	  monitor(s),	  on	  
            a	  quarterly	  basis,	  caseloads	  for	  all	  staff,	  including	  supervisors,	  who	  provide	  primary	  case	  
            management	   services	   to	   children	   in	   the	   PMC	   class,	   whether	   employed	   by	   a	   public	   or	  
            private	  entity,	  and	  whether	  full-­‐time	  or	  part-­‐time.	  Data	  reports	  shall	  show	  all	  staff	  who	  
            provide	  case	  management	  services	  to	  children	  in	  the	  PMC	  class	  and	  their	  caseloads.	  	  In	  
            addition,	  DFPS’s	  quarterly	  reporting	  shall	  include	  the	  number	  and	  percent	  of	  staff	  with	  
            caseloads	  within,	  below	  and	  over	  the	  range	  of	  14	  to	  17	  children,	  by	  office,	  by	  county,	  by	  
            agency	   (if	   private)	   and	   statewide.	   Reports	   will	   include	   the	   identification	   number	   and	  
            location	   of	   individual	   staff	   and	   the	   number	   of	   PMC	   children	   and,	   if	   any,	   TMC	   children	   to	  
            whom	  they	  provide	  case	  management.	  Caseloads	  for	  staff,	  as	  defined	  above,	  who	  spend	  
            part-­‐time	  in	  caseload	  carrying	  functions	  and	  part-­‐time	  in	  other	  functions	  must	  be	  pro-­‐
            rated	   accordingly.	   The	   caseload	   range	   for	   staff	   with	   mixed	   caseloads,	   for	   example	  
            caseworkers	  serving	  both	  PMC	  and	  TMC	  children,	  shall	  be	  14	  to	  17	  children’s	  cases,	  and	  
            each	  TMC	  child	  is	  to	  be	  afforded	  the	  same	  weight	  as	  a	  PMC	  child.	  Reporting	  will	  be	  by	  
            office,	  by	  county,	  by	  agency	  (if	  private)	  and	  statewide.	  	  
       3. Effective	   immediately,	   DFPS	   shall	   commence	   recruiting,	   hiring	   and	   training	   staff,	   and	  
            ensuring	   any	   private	   entities	   that	   are	   charged	   by	   DFPS	   to	   provide	   case	   management	  
            services	  to	  children	  in	  the	  PMC	  class,	  do	  the	  same,	  to	  ensure	  that	  staff	  who	  provide	  case	  
            management	   services	   to	   children	   in	   the	   PMC	   class,	   whether	   employed	   by	   a	   public	   or	  
            private	  entity,	  have	  a	  caseload	  within	  or	  below	  the	  range	  of	  14	  to	  17	  children.	  	  

                                                                                 	  
                                                                                 	  
                                                                                 	  


	                                                                                                                                                             26	  
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                                                                           Supervisors	  
Generally,	   it	   appears	   DFPS	  supervisors	  play	   an	   important	   role	   managing	   caseworkers,	   assigning	  
cases,	  and	  approving	  actions	  in	  cases.	  	  (D.E.	  327,	  Page	  14	  Lines	  8-­‐14).	  	  Supervisors	  participate	  in	  
permanency	  roundtables	  and	  are	  responsible	  for	  follow-­‐up.	  	  (D.E.	  328,	  Page	  41	  Lines	  6-­‐25	  and	  
D.E.	  328,	  Page	  52	  Lines	  15-­‐25).	  	  Supervisors,	  along	  with	  the	  caseworker,	  make	  the	  decision	  of	  
selecting	  or	  rejecting	  placements	  based	  on	  how	  they	  feel	  the	  placement	  can	  meet	  the	  needs	  of	  
the	  child.	  	  (D.E.	  328,	  Page	  140	  Lines	  5-­‐18).	  	  According	  to	  the	  CPS	  Handbook,	  supervisors	  have	  
various	   oversight	   or	   monitoring	   functions,	   including	   but	   not	   limited	   to	   approving	   billing	   for	   a	  
service	  level	  lower	  than	  the	  authorized	  service	  level,	  determining	  a	  permanency	  plan	  in	  the	  best	  
interest	  of	  the	  child,	  approving	  the	  initial	  plan	  of	  service	  and	  subsequent	  review,	  approving	  less	  
than	   monthly	   face	   to	   face	   sibling	   contact,	   approving	   travel,	   and	   reviewing	   home	   studies	   for	  
potential	   adoptive	   families.	   	   (PX	   50,	   Pages	   86,	   99,	   130	   and	   PX	   52,	   Pages	   49,	   59,	   88,	   95,	   162).	  	  
The	   CPS	   Handbook	   also	   outlines	   when	   caseworkers	   must	   turn	   to	   their	   supervisors	   to	   make	  
decisions	  in	  various	  situations	  such	  as	  when	  problems	  need	  to	  be	  resolved	  with	  a	  placement,	  
when	   the	   caseworker	   does	   not	   agree	   with	   the	   placement	   choice	   made	   by	   the	   Centralized	  
Placement	   Team,	   when	   a	   mother	   in	   an	   open	   conservatorship	   case	   is	   pregnant,	   and	   when	  
information	   is	   received	   regarding	   the	   possible	   location	   of	   a	   missing	   child.	   	   (DX	   108,	   Pages	   1486,	  
1492,	  1854,	  1946).	  
	  
The	  trial	  included	  testimony	  regarding	  the	  ratio	  of	  supervisors	  to	  caseworkers.	  	  Colleen	  McCall	  
(“McCall”),	   Director	   of	   Field	   Operations,	   testified	   that	   typically	   a	   supervisor	   has	   six	   or	   seven	  
caseworkers.	   	   (D.E.	   322,	   Page	   59	   Lines	   24-­‐25	   and	   Page	   60	   Lines	   16-­‐18).	   	   Judy	   Bowman	   Pitts	  
Regional	   Director	   of	   Regions	   4	   and	   5,	   testified	   that	   a	   unit	   is	   one	   to	   seven	   caseworkers	   but	  
generally	  in	  conservatorship	  there	  are	  about	  seven	  caseworkers	  in	  a	  unit.	  	  (D.E.	  327,	  Page	  14	  
Lines	   16-­‐17).	   Camille	   Gilliam,	   Regional	   Director	   of	   Regions	   One	   and	   Nine,	   testified	   she	   oversees	  
18	  supervisors	  in	  Region	  1	  who	  were	  responsible	  for	  114	  conservatorship	  workers,	  which	  is	  a	  
ratio	  of	  one	  supervisor	  to	  six	  and	  a	  third	  (6.333)	  workers.	  	  (D.E.	  327,	  Page	  63	  Lines	  3-­‐10).	  	  Mrs.	  
Gilliam	   also	   testified	   in	   Region	   Nine	   there	   were	   12	   supervisors	   who	   were	   responsible	   for	   75	  
conservatorship	   workers,	   which	   is	   a	   ratio	   of	   one	   supervisor	   to	   six	   and	   a	   quarter	   (6.25)	   workers.	  	  
(D.E.	  327,	  Page	  63	  Lines	  3-­‐10).	  



	                                                                                                                                                                     27	  
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Some	   exhibits	   also	   contained	   evidence	   relating	   to	   the	   ratio	   of	   supervisors	   to	   caseworkers.	  	  
DFPS’s	   presentations	   and	   requests	   to	   the	   Texas	   Legislature	   discussed	   the	   supervisor	   to	  
caseworker	   ratio.	   	   DFPS’s	   legislative	   appropriation	   requests	   contained	   requests	   to	   reduce	   the	  
supervisor	  span	  of	  control.	  	  The	  legislative	  appropriations	  request	  for	  fiscal	  years	  2014	  and	  2015	  
indicated	   the	   supervisor	   span	   of	   control	   in	   conservatorship	   was	   seven	   workers	   and	   the	  
requested	  funding	  would	  reduce	  it	  to	  six	  workers.	  	  (PX	  885,	  Page	  20;	  DX	  32,	  Page	  20	  and	  DX	  33,	  
Page	   192).	   	   This	   same	   ratio	   is	   repeated	   in	   the	   exceptional	   item	   requests	   for	   the	   same	   fiscal	  
years.	  	  (PX	  889,	  Page	  6	  and	  PX	  894,	  Pages	  11-­‐12).	  	  DFPS’s	  various	  presentations	  also	  contained	  
indications	   of	   the	   ratio	   of	   conservatorship	   supervisors	   to	   caseworkers.	   	   DFPS’s	   July	   1,	   2014	  
presentation	   to	   the	   House	   Select	   Committee	   on	   Child	   Protection	   indicated	   there	   were	   seven	  
caseworkers	  per	  supervisor.	  	  (DX	  200,	  Page	  31).	  	  DFPS’s	  January	  30,	  2013	  presentation	  to	  the	  
Senate	   Finance	   Committee	   also	   indicated	   the	   current	   ratio	   of	   supervisors	   to	   workers	   for	  
conservatorship	  was	  one	  to	  seven.	  	  (DX	  215,	  Page	  24).	  
	  
Various	  reports	  contained	  documentation	  of	  the	  average	  supervisor	  ratio.	  	  The	  Title	  IV-­‐B	  2015-­‐
2019	   Child	   and	   Family	   Services	   Plan	   reported	   the	   average	   supervisor	   to	   worker	   ratio	   at	   any	  
point	   in	   time	   is	   one	   to	   six.	   	   (DX	   77,	   Page	   207).	   	   A	   memorandum	   from	   Ms.	   McCall	   to	  
Commissioner	   Specia	   described	   units	   in	   Region	   Nine	   that	   had	   between	   eight	   and	   ten	  
caseworkers.	   	   (PX	   1837,	   Pages	   3-­‐4).	   	   Ms.	   McCall’s	   memorandum	   also	   contained	   a	   request	   to	  
bring	  the	  supervisor	  span	  of	  control	  down	  to	  six	  or	  seven	  caseworkers	  per	  supervisor.	  	  (PX	  1837,	  
Pages	   3-­‐4).	   	   The	   Stephen	   Group’s	   operational	   review	   of	   CPS	   found	   that	   as	   of	   January	   2014,	  
there	  were	  2,015	  conservatorship	  workers	  and	  279	  conservatorship	  supervisors,	  which	  is	  a	  ratio	  
of	  just	  over	  seven	  workers	  per	  supervisor.	  	  (PX	  1993,	  Page	  47).	  
	  
The	   information	   DFPS	   provided	   in	   response	   to	   a	   request	   by	   Representative	   Dukes	   and	   the	  
House	  Select	  Committee	  on	  Child	  Protection	  contained	  direct	  counts	  of	  caseworkers	  assigned	  
to	  conservatorship	  supervisors	  in	  each	  region.	  	  According	  to	  this	  information,	  conservatorship	  
supervisors	  in	  Region	  One	  had	  between	  five	  and	  nine	  caseworkers	  assigned	  to	  them.	  	  (DX	  110,	  
Page	   87).	   	   Region	   Two	   had	   a	   range	   of	   seven	   to	   nine	   caseworkers	   per	   supervisor.	   	   (DX	   110,	   Page	  



	                                                                                                                                                                 28	  
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89).	  	  Region	  Three	  had	  a	  range	  of	  five	  to	  ten	  caseworkers	  per	  supervisor.	  	  (DX	  110,	  Pages	  95-­‐
97).	  	  Regions	  Four	  and	  Five	  had	  a	  range	  of	  five	  to	  nine	  caseworkers	  per	  supervisor.	  	  (DX	  110,	  
Page	  101).	  	  Region	  Six	  had	  a	  range	  of	  six	  to	  eight	  caseworkers	  per	  supervisor	  with	  the	  majority	  
having	   seven	   caseworkers	   assigned	   to	   them.	   	   (DX	   110,	   Page	   106).	   	   In	   the	   outlying	   areas	   of	  
Region	  6,	  the	  supervisors	  also	  had	  a	  range	  of	  six	  to	  eight	  caseworkers	  assigned	  to	  them	  with	  the	  
majority	  having	  seven.	  	  (DX	  110,	  Page	  111).	  	  In	  Region	  Seven,	  conservatorship	  supervisors	  had	  
eight	  caseworkers	  assigned	  to	  them	  except	  one	  supervisor	  who	  only	  had	  five	  caseworkers.	  	  (DX	  
110,	   Page	   113).	   	   Region	   Eight	   supervisors	   had	   a	   range	   of	   six	   to	   eight	   conservatorship	  
caseworkers	   assigned	   to	   them.	   	   (DX	   110,	   Pages	   122-­‐123).	   	   In	   Region	   Nine,	   conservatorship	  
supervisors	  were	  in	  charge	  of	  a	  range	  of	  six	  to	  eight	  caseworkers.	  	  (DX	  110,	  Page	  125).	  	  Region	  
Ten	   conservatorship	   supervisors	   had	   a	   range	   of	   five	   to	   seven	   caseworkers.	   	   (DX	   110,	   Page	   127).	  	  
In	  Region	  11,	  conservatorship	  supervisors	  were	  in	  charge	  of	  a	  range	  of	  six	  to	  eight	  caseworkers.	  	  
(DX	  110,	  Page	  131).	  
	  
In	   summary,	   the	   typical	   supervisor	   to	   caseworker	   ratio	   in	   conservatorship	   appears	   to	   be	   one	   to	  
seven.	   	   Based	   on	   the	   statistics	   provided	   to	   Representative	   Dukes,	   the	   fewest	   caseworkers	   a	  
supervisor	   oversaw	   was	   five	   and	   the	   maximum	   was	   ten.	   	   For	   comparison	   purposes,	   the	   Child	  
Welfare	  League	  of	  America’s	  standards	  state	  one	  full-­‐time	  supervisor	  should	  supervise	  no	  more	  
than	  five	  social	  workers.	  	  (PX	  18,	  Page	  28;	  PX	  2114,	  Page	  152	  and	  DX	  235,	  Page	  131).	  
	  
       1. DFPS	   shall	   ensure	   that	   supervisors	   who	   oversee	   caseworkers	   managing	   the	   cases	   of	  
            children	   in	   the	   PMC	   class	   have	   no	   more	   than	   seven	   workers	   assigned	   to	   them.	  
            Supervisory	   workloads	   must	   be	   pro-­‐rated	   for	   supervisors	   who	   are	   less	   than	   full-­‐time.	  	  
            Workloads	   for	   supervisors	   who	   spend	   part-­‐time	   in	   supervisory	   work	   and	   part-­‐time	   in	  
            other	  functions,	  which	  includes	  carrying	  a	  case,	  must	  be	  pro-­‐rated	  accordingly.	  	  
       2. Supervisors	   who	   oversee	   caseworkers	   serving	   PMC	   children	   shall	   not	   directly	   carry	   a	  
            caseload	  unless	  there	  is	  a	  documented	  emergency	  requiring	  the	  supervisor	  to	  do	  so.	  
	  
                                                                                      	  
                                                                                      	  



	                                                                                                                                                          29	  
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                                                                     Worker	  Retention	  
                                                                                     	  
The	  Court	  determined	  in	  its	  December	  2015	  Opinion	  (pp.	  176-­‐178):	  


                     Besides	   harming	   foster	   children	   in	   and	   of	   itself,	   DFPS	   admits,	  
                     “High	   caseloads	   lead	   to	   high	   worker	   turnover,	   further	  
                     exacerbating	  high	  caseloads.”	  (PX	  877	  at	  8;	  see	  also	  D.E.	  300	  at	  34,	  
                     42;	  D.E.	  305	  at	  36-­‐37,	  56;	  PX	  2037	  at	  12).	  Dr.	  Miller	  calls	  this	  the	  
                     “cycle	   of	   crisis.”	   (D.E.	   303	   at	   22-­‐23).	   Specia	   admits	   that	   the	  
                     “appropriate	   workload	   spread	   out	   among	   the	   workers	   .	   .	   .	   will	  
                     help	  me	  keep	  workers.”	  (D.E.	  299	  at	  82).	  It	  is	  no	  surprise	  then	  that	  
                     “DFPS	  has	  an	  extraordinary	  amount	  of	  turnover.”	  (D.E.	  305	  at	  55).	  	  

                     The	  Stephen	  Group	  reported	  that	  yearly	  CVS	  caseworker	  turnover	  
                     is	   26.7%,	   and	   “a	   major	   organizational	   burden.”	   (PX	   1993	   at	   16-­‐17,	  
                     76).	   To	   compare,	   turnover	   for	   workers	   comparable	   to	   Texas’s	   CVS	  
                     caseworkers	   was	   14%	   to	   15%	   in	   Kentucky	   and	   10%	   to	   12%	   in	  
                     Tennessee.	   (D.E.	   303	   at	   28-­‐29).	   The	   Stephen	   Group	   also	   noted	  
                     that	   turnover	   is	   especially	   high	   for	   new	   CPS	   workers,	   with	  
                     approximately	   28%	   leaving	   within	   the	   first	   year,	   and	  
                     approximately	  43%	  within	  the	  first	  two	  years.	  (PX	  1993	  at	  17-­‐18).	  
                     Likewise,	   Black	   testified	   that	   turnover	   is	   approximately	   38%	   for	  
                     first-­‐year	   caseworkers.	   (D.E.	   300	   at	   38-­‐39).	   The	   Sunset	  
                     Commission	   reported,	   “One	   out	   of	   every	   six	   new	   caseworkers	  
                     leaves	  CPS	  within	  six	  months.”	  (DX	  119	  at	  20).	  	  

                     Unmanageable	   caseloads	   are	   the	   main	   reason	   that	   CVS	  
                     caseworkers	   leave.	   In	   a	   survey,	   70%	   of	   the	   caseworkers	   that	   left	  
                     listed	  “Workload”	  as	  the	  first	  or	  second	  reason.	  (PX	  1993	  at	  306).	  
                     In	   a	   2009	   article,	   Burstain	   wrote,	   “With	   respect	   to	   CVS,	  
                     historically,	   a	   fairly	   direct	   relationship	   exists	   between	   caseloads	  
                     and	   voluntary	   turnover.”	   (PX	   1871	   at	   11).	   In	   support	   of	   that	  
                     statement,	   Burstain	   cited	   data	   showing	   that	   when	   “caseloads	  
                     declined	  16	  percent	  from	  2006	  to	  2008	  .	  .	  .	  CVS	  voluntary	  turnover	  
                     declined	   10	   percent.”	   Id.	   Another	   report	   found	   that	   heavy	  
                     caseloads	   “contribute[]	   to	   high	   turnover	   rates.”	   (PX	   1964	   at	   9).	  
                     This	  finding	  has	  “remained	  consistent	  from	  year	  to	  year.”	  (PX	  844	  
                     at	  5).	  	  

                     This	   high	   turnover	   rate	   means	   that	   one	   out	   of	   every	   11	   CVS	  
                     caseworker	  positions	  is	  vacant.	  (DX	  119	  at	  19).	  Even	  when	  those	  
                     vacancies	   are	   filled,	   it	   takes	   “two	   years”	   for	   a	   caseworker	   “to	   fully	  
                     be	  up	  to	  speed.”	  (PX	  1995	  at	  159).	  During	  their	  first	  three	  months,	  
                     caseworkers	   are	   in	   training	   and	   do	   not	   have	   any	   cases.	   (DX	   119	   at	  


	                                                                                                                                           30	  
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                       19).	   Consequently,	   while	   CPS	   has	   1980	   primary	   caseworkers,	   it	  
                       needs	   to	   hire	   more	   than	   500	   primary	   caseworkers	   per	   year	   to	  
                       retain	  an	  experienced	  workforce	  of	  only	  about	  1000	  who	  actually	  
                       close	   most	   of	   the	   cases.	   (See	   D.E.	   305	   at	   41;	   PX	   1993	   at	   16-­‐17).	  	  
                       This	   puts	   a	   tremendous	   strain	   on	   the	   1000	   veteran	   CVS	  
                       caseworkers,	   who	   are	   the	   front	   line	   workers	   for	   over	   29,000	  
                       foster	  children	  captured	  in	  DFPS’s	  figures.	  

                       Caseworker	   turnover	   has	   many	   negative	   impacts	   beyond	   higher	  
                       caseloads.	   Black	   admitted	   that	   turnover	   causes	   delayed	  
                       investigations,	  a	  lack	  of	  continuity	  in	  providing	  services	  to	  families	  
                       and	   children,	   a	   lack	   of	   consistent	   timely	   visits	   by	   caseworkers	   to	  
                       children	   in	   State	   custody,	   and	   significant	   costs	   to	   the	   State	   in	  
                       terms	  of	  recruiting,	  training,	  and	  lost	  productivity.	  (D.E.	  300	  at	  34,	  
                       42;	  see	  also	  DX	  119	  at	  17;	  PX	  1995	  at	  159).	  Caseworker	  turnover	  
                       also	   “delays	   or	   disrupts	   services	   and	   the	   case	   plan”	   of	   foster	  
                       children,	  (PX	  1871	  at	  2),	  and	  hinders	  permanency	  planning.	  (D.E.	  
                       312	   at	   20).	   Moreover,	   as	   the	   Stephen	   Group	   explained,	  
                       “workplace	   turnover	   is	   endemic	   and	   institutional	   knowledge	   is	  
                       stripped	  from	  across	  the	  agency.”	  (PX	  1993	  at	  17).	  The	  high	  level	  
                       of	   turnover	   at	   CPS	   “represents	   an	   extraordinary	   organizational	  
                       challenge	   to	   replace	   these	   workers	   and	   maintain	   a	   consistent	  
                       level	   of	   performance.”	   (PX	   1993	   at	   16).	   As	   one	   audit	   of	   DFPS	  
                       explained,	   “Numerous	   transitions	   in	   caseworker	   assignments	  
                       disrupt	  momentum	  toward	  permanency	  by	  forcing	  children/youth	  
                       and	   their	   families	   to	   ‘start	   over’	   repeatedly	   with	   new	  
                       caseworkers.”	  (PX	  1880	  at	  5).	  	  

DFPS	   provided	   and	   the	   Special	   Masters	   reviewed	   the	   “CFRP	   Evaluation,	   Final	   Report”	   from	  
December	  2016,	  an	  evaluation	  of	  DFPS	  training	  and	  turnover	  from	  the	  University	  of	  Texas.	  The	  
report	   found	   that	   DFPS’s	   CPS	   Professional	   Development	   (CPD)	   training	   model	   was	   having	   an	  
early,	  positive	  impact	  on	  new	  CVS	  worker	  attrition.	  	  

       1. Effective	  May	  2018,	  DFPS	  shall	  ensure	  statewide	  implementation	  of	  the	  CPS	  Professional	  
            Development	  (CPD)	  training	  model,	  which	  DFPS	  began	  to	  implement	  in	  November	  2015.	  
       2. 	  Effective	   May	   2018,	   DFPS	   shall	   ensure	   statewide	   implementation	   of	   graduated	  
            caseloads	   for	   newly	   hired	   CVS	   caseworkers,	   and	   all	   other	   newly	   hired	   staff	   with	   the	  
            responsibility	   for	   primary	   case	   management	   services	   to	   children	   in	   the	   PMC	   class,	  
            whether	  employed	  by	  a	  public	  or	  private	  entity.	  	  	  




	                                                                                                                                                      31	  
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       3. Effective	   May	   2018,	   DFPS	   shall	   ensure	   that	   before	   any	   new	   CVS	   (or	   private	   agency)	  
            caseworker	  assumes	  primary	  case	  management	  responsibility	  for	  a	  full	  caseload	  range	  
            of	  14	  to	  17	  children,	  they	  successfully	  complete	  a	  comprehensive	  training	  program	  for	  
            new	  workers	  and	  pass	  a	  competency	  examination.	  	  

                                                              Secondary	  Workers	  

The	  Court’s	  December	  2015	  Opinion	  found	  (pages	  222-­‐223):	  


                       McCall	  acknowledged	  that	  I	  See	  You	  workers’	  main	  responsibility,	  
                       as	   indicated	   in	   the	   position	   title,	   is	   “seeing	   the	   child”	   in	   her	  
                       placement	   every	   month	   to	   confirm	   that	   she	   “is	   still	   there.”	   (D.E.	  
                       305	  at	  61-­‐63).	  Although	  I	  See	  You	  workers	  are	  supposed	  to	  have	  
                       “meaningful	   discussions”	   with	   the	   children	   they	   visit,	   they	   often	  
                       just	   show	   up	   at	   the	   child’s	   placement,	   ask	   “five	   questions	   and	  
                       leave.”	  (D.E.	  305	  at	  65;	  D.E.	  324	  at	  186).	  For	  example,	  A.M.’s	  I	  See	  
                       You	   worker,	   who	   visited	   her	   regularly	   for	   more	   than	   two	   years,	  
                       asked	  the	  same	  10-­‐12	  questions	  at	  every	  visit,	  and	  A.M.	  answered	  
                       the	  same	  way.	  (See	  DX	  120	  at	  DFPS	  #828-­‐997	  (filed	  under	  seal)).	  
                       According	   to	   the	   I	   See	   You	   worker’s	   notes,	   A.M.	   was	   almost	  
                       always	   “fine”	   and	   “stable	   in	   her	   current	   placement”	   and	   the	  
                       worker	   often	   noted	   that	   “things	   are	   going	   well	   for	   [A.M.]	   at	   this	  
                       time.”	  Id.	  In	  reality,	  during	  much	  of	  this	  time,	  A.M’s	  level	  of	  care	  
                       was	  Intense	  and	  she	  was	  repeatedly	  restrained	  by	  RTC	  staff.	  	  

                       Secondary	   workers	   are	   also	   “not	   required	   to	   follow	   up	   on	   any	  
                       needs	   identified	   during	   the	   visit	   beyond	   communicating	   those	  
                       needs	  to	  the	  primary	  caseworker.”	  (PX	  2037	  at	  57).	  Nor	  are	  they	  
                       responsible	  for	  children’s	  case	  planning	  or	  permanency	  planning.	  
                       (D.E.	  322	  at	  127).	  A	  foster	  child’s	  relationship	  with	  their	  secondary	  
                       worker	   “is	   never	   quality.”	   (D.E.	   326	   at	   88).	   Their	   existence—
                       intended	  as	  a	  stopgap—is	  itself	  evidence	  of	  an	  understaffed	  CVS	  
                       caseworker	   workforce,	   as	   well	   as	   DFPS’s	   inadequate	   placement	  
                       array.	  See	  infra	  p.	  222-­‐23.	  	  

                       Moreover,	   replacing	   contact	   from	   primary	   caseworkers	   with	  
                       contact	   from	   secondary	   workers	   inhibits	   primary	   caseworkers’	  
                       ability	   to	   form	   relationships	   with	   their	   foster	   children.	   As	   Burstain	  
                       explained,	   a	   CVS	   caseworker	   is	   often	   a	   foster	   child’s	   “only	  
                       continuous	   and	   stable	   relationship.”	   (PX	   1871	   at	   1).	   Given	   that	  
                       PMC	   children	   have	   been	   removed	   from	   their	   home	   and	   likely	  
                       shuttled	   between	   placements,	   CVS	   caseworkers	   are	   one	   of	   the	  
                       few	  people	  that	  foster	  children	  look	  to	  for	  support	  and	  guidance.	  


	                                                                                                                                            32	  
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                         (D.E.	  326	  at	  85).	  Trust	  is	  “highly	  important”	  between	  a	  foster	  child	  
                         and	   their	   primary	   caseworker	   because	   children	   need	   to	   feel	  
                         comfortable	   telling	   them	   their	   problems.	   Id.	   As	   McCall	   testified,	  
                         “especially	  with	  emotional	  harm[,]	  you	  need	  to	  know	  .	  .	  .	  the	  child	  
                         before	   you	   can	   tell	   something	   is	   wrong.”	   (D.E.	   305	   at	   62).	   Using	  
                         secondary	   workers	   to	   shoulder	   excessive	   workloads	   thus	   hinders	  
                         primary	   caseworkers’	   ability	   to	   protect	   their	   children.	   Further,	  
                         foster	  children	  often	  do	  not	  share	  their	  problems	  with	  secondary	  
                         workers	  who	  they	  view	  as	  “not	  the	  real	  thing,”	  akin	  to	  substitute	  
                         teachers.	  (D.E.	  326	  at	  88).	  Dr.	  Miller	  explained	  that	  workers	  who	  
                         have	   no	   permanent	   relationship	   with	   a	   child,	   such	   as	   I	   See	   You	  
                         workers,	  cannot	  “win	  a	  child’s	  trust	  in	  a	  sufficient	  way	  to	  have	  the	  
                         child	   actually	   reveal	   what	   is	   happening	   in	   the	   child’s	   life,	  
                         particularly	   if	   the	   child	   is	   being	   subjected	   to	   maltreatment.”	   (PX	  
                         2037	  at	  58).	  Carter	  testified	  that	  foster	  children	  “very	  rarely”	  see	  I	  
                         See	   You	   workers	   “as	   somebody	   that	   is	   there	   to	   support	   them”	  
                         because	   children	   “intuitively	   know	   that	   this	   person	   is	   just	   fulfilling	  
                         a	  service	  or	  a	  requirement	  by	  looking	  in	  on	  them.”	  Id.	  	  

And	  the	  Court	  further	  observed:	  


                         Cross-­‐state	   moves	   also	   impede	   primary	   caseworkers’	   ability	   to	  
                         visit	  their	  foster	  children.	  As	  discussed	  supra,	  primary	  caseworkers	  
                         are	  foster	  children’s	  lifelines.	  	  See	  Section	  IV.A.	  	  Yet,	  due	  to	  a	  lack	  
                         of	  funding	  and	  a	  lack	  of	  time,	  primary	  caseworkers	  ‘can’t	  go	  and	  
                         meet	   with	   [children]	   face	   to	   face’	   when	   they	   are	   placed	   out	   of	  
                         county	  or	  out	  of	  region.	  (D.E.	  324	  at	  22).	  Thus,	  foster	  children	  are	  
                         forced	   to	   rely	   on	   secondary	   I	   See	   You	   workers.	   McCall	  
                         acknowledged	   at	   trial	   that	   I	   See	   You	   workers	   were	   created	   by	  
                         DFPS	   ten	   years	   ago	   at	   least	   in	   part	   because	   children	   were	   too	  
                         often	   being	   sent	   far	   from	   their	   home	   communities	   and	   primary	  
                         caseworkers.	  (See	  D.E.	  305	  at	  62).	  Although	  secondary	  workers	  do	  
                         not	   protect	   foster	   children	   from	   an	   unreasonable	   risk	   of	   harm,	  
                         they	  undoubtedly	  help	  Texas	  represent	  to	  the	  federal	  government	  
                         that	   caseworkers	   visit	   children	   in	   foster	   care	   at	   least	   once	   per	  
                         month.	  
                         	  	  
The	   Court	   ordered	   the	   Special	   Masters	   in	   its	   January	   2017	   Order	   “to	   retain	   an	   expert	   as	   part	   of	  
their	  team	  to	  create	  a	  workload	  study	  of	  “I	  See	  You	  Workers”	  to	  aid	  the	  Court	  in	  determining	  
whether	  the	  “I	  See	  You	  Worker”	  program	  should	  be	  continued	  and,	  if	  so,	  in	  what	  capacity.”	  	  The	  
Special	  Masters	  retained	  the	  Child	  and	  Research	  Partnership	  at	  the	  University	  of	  Texas-­‐Austin,	  




	                                                                                                                                                                33	  
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the	   LBJ	   School	   of	   Public	   Affairs,	   in	   part	   because	   of	   their	   existing	   consultancy,	   familiarity	   and	  
collaboration	  with	  DFPS	  in	  assessing	  the	  agency’s	  training	  programs.	  	  	  
	  
In	   its	   CPS	   Handbook,	   DFPS	   identifies	   the	   responsibilities	   of	   I	   See	   You	   Workers	   primarily	   as	  
visitation	   with	   the	   child;	   assessment	   of	   the	   child’s	   needs	   and	   well-­‐being;	   discussion	   of	   the	  
child’s	   permanency	   plan;	   communication	   of	   the	   child’s	   service	   needs	   with	   the	   primary	  
caseworker;	   collaboration	   with	   the	   primary	   caseworker	   on	   the	   child’s	   permanency	   plan;	   and,	  
where	   necessary,	   serving	   as	   the	   child’s	   medical	   consenter.	   	   Although	   DFPS	   has	   charged	   I	   See	  
You	  Workers	  with	  assessing	  PMC	  children’s	  needs	  (CPS	  Handbook,	  Section	  6414)	  and	  indicated	  
to	   the	   Special	   Masters	   that	   “many	   of	   a	   child’s	   dental	   records,”	   “mental	   health	   records,”	   and	  
“medical	  records,”	  “are	  already	  included,	  and	  available	  to	  caseworkers,	  in	  the	  Health	  Passport,”	  
DFPS	   reported	   to	   the	   Special	   Masters,	   “I	   See	   You	   workers	   are	   not	   specifically	   required	   to	  
access/review	   a	   child’s	   Health	   Passport,	   and	   such	   a	   review	   is	   not	   necessary	   for	   every	   child,”	  
even	  for	  the	  PMC	  children	  they	  are	  assigned	  to	  serve.	  (See	  Appendix	  I,	  Email	  from	  Tara	  Olah,	  
Esq.	  on	  behalf	  of	  DFPS	  on	  April	  3,	  2017.)	  Most	  I	  See	  You	  Workers	  told	  the	  University	  of	  Texas	  
workload	   study	   team	   they	   did	   not	   think	   it	   was	   essential	   to	   read	   a	   child’s	   psychological	  
assessments,	  or	  other	  assessments,	  to	  come	  up	  to	  speed	  on	  a	  child’s	  case.	  	  (See	  Appendix	  B.)	  
The	  workload	  study,	  attached	  as	  Appendix	  B,	  contains	  a	  number	  of	  findings:	  	  	  
	  
       •   The	  typical	  ISY	  caseworker	  had	  a	  caseload	  of	  nearly	  44	  children	  each	  day	  of	  the	  month.	  	  
       •   In	  June	  2017,	  98	  ISY	  caseworkers	  were	  required	  to	  complete,	  at	  the	  median,	  21.5	  visits	  
           with	   PMC	   children.	   	   The	   median	   number	   of	   visits	   completed	   was	   actually	   16.	   	   This	  
           reflects	   a	   completion	   rate	   of	   74.4	   percent	   of	   the	   monthly	   face-­‐to-­‐face	   visits	   for	   ISY	  
           workers’	   cases.	   	   ISY	   caseworkers	   missed	   visits	   altogether	   with	   slightly	   more	   than	   one-­‐
           quarter	   of	   the	   PMC	   children	   they	   were	   responsible	   to	   visit.	   The	   caseworker	   with	   the	  
           lowest	  visit	  rate	  completed	  23.1	  percent	  of	  her	  required	  visits	  and	  the	  caseworker	  with	  
           the	  highest	  visit	  rate	  completed	  100	  percent	  of	  her	  required	  visits.	  	  
       •   The	  typical	  ISY	  caseworker	  completed	  50	  percent	  of	  initial	  face-­‐to-­‐face	  visits	  with	  new	  
           children	  in	  June.	  Overall,	  ISY	  caseworkers	  completed	  between	  zero	  and	  100	  percent	  of	  
           their	  initial	  face-­‐to-­‐face	  visits.	  Of	  the	  46	  ISY	  caseworkers	  who	  had	  at	  least	  15	  days	  with	  a	  



	                                                                                                                                                        34	  
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                                                           new	  PMC	  case	  in	  June	  2017,	  41	  percent	  met	  with	  100	  percent	  of	  the	  children	  on	  their	  
                                                           new	  cases	  within	  15	  days.	  However,	  35	  percent	  of	  ISY	  caseworkers	  with	  a	  new	  case	  did	  
                                                           not	  complete	  a	  single	  initial	  face-­‐to-­‐face	  with	  those	  children	  in	  June.	  
                             •                             ISY’s	  familiarity	  with	  the	  children	  they	  were	  assigned,	  with	  their	  service	  needs,	  including	  
                                                           medical	  care,	  was	  often	  lacking.	  
                             •                             Over	   82	   percent	   of	   ISY	   caseworkers	   reported	   that	   primary	   caseworkers	   do	   not	   set	   a	  
                                                           regular	  schedule	  for	  communication.	  ISY	  caseworkers	  also	  report	  that	  CVS	  caseworkers	  
                                                           often	  do	  not	  communicate	  regularly	  with	  the	  child	  or	  the	  child’s	  caregiver.	  	  
                                                           	  
                             1. Within	  30	  days	  of	  the	  Court’s	  Final	  Order	  date,	  DFPS	  shall	  eliminate	  the	  use	  of	  I	  See	  You	  
                                                           secondary	  workers	  and	  designate	  all	  secondary	  workers	  as	  primary	  caseworkers.	  	  

                                                                                                                                                                                                                                                    Residential	  Child	  Care	  Licensing	  
In	   December	   2015,	   the	   Court	   ordered,	   “DFPS	   must	   complete	   a	   Workload	   Study	   to	   determine	  
the	   time	   required	   for	   investigators	   and	   inspectors	   to	   adequately	   perform	   their	   tasks.”	   	   In	  
January	   2017,	   the	   Court	   found	   “that	   DFPS	   has	   not	   commenced,	   as	   previously	   ordered,	   a	  
workload	  study	  of	  RCCL	  investigators	  and	  inspectors.	  	  Therefore,	  the	  Court	  orders	  the	  Special	  
Masters	  to	  formulate	  and	  institute	  such	  a	  study…”	  which	  the	  Special	  Masters	  did	  by	  retaining	  
the	   University	   of	   Texas-­‐Austin	   to	   undertake	   an	   analysis	   of	   Residential	   Child	   Care	   Licensing	  
(“RCCL”)	  workloads.e	  (See	  Appendix	  C.)	  
	  
The	  University	  of	  Texas-­‐Austin	  researchers	  determined	  the	  extent	  to	  which	  RCCL	  workers	  met	  
five	  investigative	  casework	  practice	  standards	  during	  a	  six-­‐month	  period	  from	  January	  to	  June	  
2017,	   including:	   initiating	   the	   investigation	   on	   time,	   observing	   or	   interviewing	   the	   alleged	  
victim(s)	   on	   time,	   completing	   the	   investigation	   on	   time,	   completing	   documentation	   on	   time,	  
and	   notifying	   relevant	   parties	   within	   the	   required	   timeframes.	   For	   each	   casework	   practice	  

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
e
 	   Due	   to	   recent	   legislation,	   the	   Residential	   Child	   Care	   Licensing	   (RCCL),	   including	   licensing	   inspectors	   and	   the	   Centralized	  
Background	   Check	   Unit	   (CBCU)	   were	   moved	   under	   a	   new	   Regulatory	   division	   within	   the	   Health	   and	   Human	   Services	  
Commission	   (HHSC).	   Investigators	   who	   conduct	   investigations	   of	   alleged	   abuse	   and	   neglect	   in	   childcare	   operations	   remained	   at	  
DFPS.	  The	  Workload	  Study	  was	  undertaken	  before	  these	  structural	  changes	  were	  implemented.	  


	  

	                                                                                                                                                                                                                                                                                                  35	  
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standard,	  an	  RCCL	  worker	  is	  expected	  to	  complete	  the	  relevant	  activity	  within	  the	  timeframes	  
determined	   by	   each	   investigation’s	   priority	   level	   and	   type,	   as	   described	   by	   DFPS	   policy.	   For	  
example,	  RCCL	  investigators	  were,	  at	  the	  time	  of	  the	  study,	  expected	  to	  observe	  or	  interview	  
the	  alleged	  child	  victim	  in	  Priority	  One	  child	  abuse	  or	  neglect	  investigations	  within	  five	  days	  of	  
intake,	  and	  within	  seven	  days	  of	  intake	  in	  a	  Priority	  Two	  child	  abuse	  or	  neglect	  investigation.	  To	  
measure	   the	   extent	   to	   which	   the	   RCCL	   worker	   met	   the	   casework	   practice	   standards,	   CFRP	  
calculated	  a	  rate	  for	  each	  RCCL	  worker.	  	  
	  
Performance	   rates	   were	   lower	   for	   child	   abuse	   and	   neglect	   investigations	   than	   standards	  
investigations.	  	  RCCL	  Investigators	  observed	  or	  interviewed	  the	  alleged	  child	  victim	  in	  required	  
time	  frames	  just	  slightly	  over	  half	  of	  the	  time.	  On	  average,	  investigators	  sent	  notification	  letters	  
to	   the	   reporters	   and	   providers	   of	   the	   investigation	   outcomes	   on	   time	   for	   approximately	   nine	  
percent	   of	   Priority	   One	   and	   13	   percent	   of	   Priority	   Two	   abuse	   and	   neglect	   investigations.	  
Investigators	   completed	   the	   required	   investigative	   documentation	   on	   time	   57	   percent	   of	   the	  
time	  for	  Priority	  One	  investigations	  and	  59	  percent	  of	  the	  time	  for	  Priority	  Two	  investigations.	  
They	  initiated,	  on	  average,	  over	  90	  percent	  of	  Priority	  One	  and	  Priority	  Two	  abuse	  and	  neglect	  
investigations	  within	  the	  required	  time	  frames.	  	  They	  completed	  investigations	  within	  required	  
timeframes	  44	  percent	  of	  the	  time	  for	  Priority	  One	  investigations	  and	  45	  percent	  of	  the	  time	  for	  
Priority	  Two	  investigations.	  	  

RCCL	   inspectors	   met	   the	   casework	   practice	   standards	   at	   fairly	   high	   rates.	   These	   rates	   ranged	  
from	  notifying	  the	  reporter	  of	  the	  investigation	  outcome	  on	  time	  for	  an	  average	  of	  74	  percent	  
of	   Priority	   Two	   standards	   investigations,	   to	   notifying	   the	   provider	   of	   the	   outcome	   for	   an	  
average	  of	  95	  percent	  of	  Priority	  Five	  standards	  investigations.	  

The	   Workload	   Study	   found	   that,	   statewide,	   RCCL	   investigators	   had	   a	   median	   average	   daily	  
caseload	  of	  14	  abuse	  and	  neglect	  investigations	  in	  the	  month	  of	  June	  2017.	  The	  median	  average	  
daily	   caseload	   for	   inspectors	   was	   seven	   standards	   investigations	   and	   11	   operations,	   and	   the	  
median	   average	   daily	   caseload	   for	   generalists	   was	   four	   abuse	   and	   neglect	   investigations,	   two	  
standards	  investigations,	  and	  nine	  operations.	  However,	  the	  study	  found	  the	  allocation	  of	  work	  
very	   uneven:	   	   RCCL	   abuse	   and	   neglect	   investigative	   caseloads	   varied	   considerably.	   The	  



	                                                                                                                                               36	  
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northeast	   district	   had	   half	   as	   many	   RCCL	   investigators	   and	   a	   much	   higher	   median	   average	   daily	  
caseload	  than	  the	  other	  districts.	  Investigators	  in	  the	  northeast	  district	  had	  median	  caseloads	  of	  
28.4	   child	   abuse	   and	   neglect	   investigations,	   with	   a	   maximum	   investigative	   caseload	   of	   48.3	  
investigations	   at	   one	   time.	   In	   contrast,	   investigators	   in	   the	   northwest	   district	   had	   median	  
caseloads	   of	   seven	   child	   abuse	   and	   neglect	   investigations,	   with	   a	   maximum	   investigative	  
caseload	  of	  22	  investigations	  at	  one	  time.	  	  (See	  Appendix	  C.)	  

There	   was	   little	   variation	   in	   the	   inspectors’	   standards	   investigation	   caseloads	   for	   across	   the	  
state,	   with	   each	   district	   showing	   median	   caseloads	   between	   six	   and	   seven	   standards	  
investigations,	  and	  maximum	  caseloads	  ranging	  between	  nine	  and	  14	  matters.	  Inspectors	  in	  the	  
northeast	   district	   were	   responsible	   for	   approximately	   three	   times	   as	   many	   operations	   as	   in	   the	  
southeast	   and	   southwest	   districts.	   The	   northwest	   average	   daily	   caseload	   of	   operations	   was	   not	  
as	   high	   as	   it	   was	   in	   the	   northeast,	   but	   the	   median	   average	   daily	   caseload	   of	   operations	   for	  
inspectors	  in	  the	  northwest	  was	  approximately	  double	  that	  of	  the	  inspectors	  in	  the	  southeast	  
and	  southwest	  districts.	  (See	  Appendix	  C.)	  

Given	  how	  RCCL	  workers	  of	  each	  type	  reported	  they	  spent	  their	  time	  during	  the	  study	  period,	  
the	   authors	   at	   the	   University	   of	   Texas-­‐Austin	   determined	   a	   reasonable	   investigative	   caseload	  
for	  RCCL	  investigators	  to	  be	  no	  more	  than	  seven	  investigations.	  

	  Given	  how	  RCCL	  workers	  of	  each	  type	  reported	  they	  spent	  their	  time	  during	  the	  study	  period,	  
the	   authors	   at	   the	   University	   of	   Texas-­‐Austin	   determined	   a	   reasonable	   investigative	   caseload	  
for	  RCCL	  inspectors	  to	  be	  no	  more	  than	  five	  investigations.	  

Given	  how	  RCCL	  workers	  of	  each	  type	  reported	  they	  spent	  their	  time	  during	  the	  study	  period,	  
the	   authors	   at	   the	   University	   of	   Texas-­‐Austin	   determined	   a	   reasonable	   investigative	   caseload	  
for	  RCCL	  generalists	  (a	  small	  group	  of	  staff	  who	  perform	  both	  investigations	  and	  inspections)	  of	  
five	  investigations.	  	  

The	   Special	   Masters	   recommended	   in	  November	  2016	   that	  DFPS	  identify	  a	   discrete	  cohort	  of	  
staff	  exclusively	  assigned	  to	  conduct	  child	  maltreatment	  investigations	  in	  licensed	  placements.	  	  
The	   Special	   Masters	   understand	   that	   DFPS	   has	   done	   so	   pursuant	   to	   recent	   Texas	   statutory	  
change.	  



	                                                                                                                                                        37	  
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          1. Effective	   May	   2018,	   DFPS	   shall	   ensure	   the	   staff	   who	   investigate	   allegations	   of	   abuse	  
               and	   neglect	   of	   children	   in	   the	   PMC	   class	   have	   caseloads	   of	   no	   more	   than	   14	  
               investigations,	   consistent	   with	   the	   median	   caseload	   of	   investigations	   found	   in	   the	  
               Workload	  Study.	  Although	  this	  is	  twice	  the	  number	  of	  investigations	  the	  Workload	  
               Study	  concluded	  was	  reasonable	  for	  child	  abuse	  and	  neglect	  investigators	  in	  light	  of	  
               the	  amount	  of	  time	  they	  expend	  on	  their	  cases,	  14	  investigations	  shall	  serve	  as	  the	  
               top	  of	  their	  workload	  range.	  
          2. Effective	  May	  2018,	  DFPS	  shall	  ensure	  that	  the	  staff	  who	  conduct	  licensing	  standards	  
               investigations	   for	   alleged	   violations	   involving	   children	   in	   the	   PMC	   class	   have	  
               caseloads	   of	   no	   more	   than	   14	   standards	   investigations,	   consistent	   with	   the	  
               maximum	   caseload	   of	   standards	   investigations	   found	   in	   the	   Workload	   Study.	  
               Although	   this	   is	   nearly	   three	   times	   the	   number	   of	   standards	   investigations	   the	  
               Workload	  Study	  concluded	  was	  reasonable	  for	  inspectors	  in	  light	  of	  the	  amount	  of	  
               time	  they	  expend	  on	  their	  cases,	  14	  standards	  investigations	  shall	  serve	  as	  the	  top	  of	  
               their	   workload	   range.	   Caseloads	   for	   staff	   shall	   be	   pro-­‐rated	   for	   those	   who	   are	   less	  
               than	   full-­‐time.	   Caseloads	   for	   staff	   who	   spend	   part-­‐time	   in	   investigative	   work	   and	  
               part-­‐time	  in	  other	  functions	  must	  be	  pro-­‐rated	  accordingly.	  	  
          3. By	  March	  2018	  and	  ongoing	  thereafter,	  RCCL	  and	  any	  successor	  entity	  charged	  with	  
               inspections	   of	   child	   care	   placements	   shall	   confirm	   that	   the	   staff	   employed	   at	  
               residential	   treatment	   centers,	   group	   homes	   and	   other	   congregate	   care	   settings	  
               where	   PMC	   children	   are	   placed	   do	   not	   have	   a	   negative	   child	   welfare	   history,	  
               including	   any	   investigative	   findings	   that	   they	   have	   perpetrated	   child	   abuse	   or	  
               neglect.	  	  
          4. Effective	  immediately,	  DFPS	  shall	  ensure	  RCCL	  investigators,	  and	  any	  successor	  staff,	  
               observe	  or	  interview	  the	  alleged	  child	  victims	  in	  Priority	  One	  child	  abuse	  or	  neglect	  
               investigations	  within	  24	  hours	  of	  intake.	  	  
          5. Effective	  immediately,	  DFPS	  shall	  ensure	  RCCL	  investigators,	  and	  any	  successor	  staff,	  
               observe	  or	  interview	  the	  alleged	  child	  victims	  in	  Priority	  Two	  child	  abuse	  or	  neglect	  
               investigations	  within	  72	  hours	  of	  intake.	  	  



	                                                                                                                                                     38	  
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          6. Effective	  immediately,	  DFPS	  shall	  ensure	  RCCL	  investigators,	  and	  any	  successor	  staff,	  
               complete	  Priority	  One	  and	  Priority	  Two	  child	  abuse	  and	  neglect	  investigations	  within	  
               30	  days	  of	  intake,	  consistent	  with	  DFPS	  policy.	  	  
          7. Effective	  immediately,	  DFPS	  shall	  ensure	  RCCL	  investigators,	  and	  any	  successor	  staff,	  
               complete	  Priority	  Three,	  Priority	  Four	  and	  Priority	  Five	  investigations	  within	  60	  days	  
               of	  intake,	  consistent	  with	  DFPS	  policy.	  	  
          8. Effective	  immediately,	  DFPS	  shall	  ensure	  RCCL	  investigators,	  and	  any	  successor	  staff,	  
               complete	  and	  submit	  documentation	  in	  Priority	  One	  and	  Priority	  Two	  investigations	  
               on	  the	  same	  day	  the	  investigation	  is	  completed.	  	  
          9. Effective	  immediately,	  DFPS	  shall	  ensure	  RCCL	  investigators,	  and	  any	  successor	  staff,	  
               complete	  and	  submit	  documentation	  in	  Priority	  Three,	  Priority	  Four	  and	  Priority	  Five	  
               investigations	  within	  60	  days	  of	  intake.	  
          10. Effective	  immediately,	  DFPS	  shall	  ensure	  RCCL	  investigators,	  and	  any	  successor	  staff,	  
               finalize	   and	   mail	   notification	   letters	   to	   the	   referent	   and	   provider(s)	   in	   Priority	   One	  
               and	  Priority	  Two	  investigations	  within	  five	  days	  of	  closing	  a	  child	  abuse	  and	  neglect	  
               investigation	  or	  completing	  a	  standards	  investigation.	  
          11. Effective	  immediately,	  DFPS	  shall	  ensure	  RCCL	  investigators,	  and	  any	  successor	  staff,	  
               finalize	   and	   mail	   notification	   letters	   to	   the	   referent(s)	   and	   provider(s)	   in	   Priority	  
               Three,	  Priority	  Four	  and	  Priority	  Five	  investigations	  within	  60	  days	  of	  intake.	  
          12. Effective	  March	  2018	  and	  ongoing	  thereafter,	  DFPS	  shall	  publicly	  post	  on	  its	  website	  
               all	   licensing	   inspections	   by	   RCCL,	   and/or	   its	   successor	   entity,	   redacting	   child	  
               identifying	  information	  and	  other	  information	  deemed	  confidential	  under	  state	  and	  
               federal	   law	   and	   regulation.	   	   The	   posted	   information	   shall	   include	   the	   full	   narrative	  
               inspection	  report,	  the	  outcome	  of	  the	  inspection,	  inspection	  violations	  and	  whether	  
               RCCL,	   and/or	   its	   successor	   entity,	   implemented	   corrective	   or	   adverse	   action	   as	   a	  
               result	   of	   the	   violations.	   	   The	   posted	   information	   shall	   also	   include	   all	   corrective	  
               action	  plans	  required	  by	  RCCL	  and/or	  other	  successive	  entities	  and	  the	  dates	  RCCL	  
               and/or	   other	   successive	   entities	   accepted	   corrective	   action	   plans	   submitted	   by	  
               violating	  agencies	  and	  the	  status	  of	  those	  corrective	  action	  plans.	  




	                                                                                                                                                  39	  
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            13. By	   July	   2018,	   RCCL,	   and/or	   any	   successor	   entity	   charged	   with	   inspections	   of	   child	  
                    care	   placements,	   will	   identify,	   track	   and	   address	   concerns	   at	   facilities	   that	   show	   a	  
                    pattern	  of	  contract	  or	  policy	  violations.	  	  Such	  facilities	  must	  be	  subject	  to	  heightened	  
                    monitoring	  by	  DFPS	  and	  any	  successor	  entity	  charged	  with	  inspections	  of	  child	  care	  
                    placements	   and	   subject	   to	   more	   frequent	   inspections,	   corrective	   actions	   and,	   as	  
                    appropriate,	  other	  remedial	  actions	  under	  DFPS’	  enforcement	  framework.	  
            14. Effective	   immediately,	   RCCL	   and/or	   its	   successor	   entity,	   shall	   have	   the	   right	   to	  
                    directly	   suspend	   or	   revoke	   the	   license	   of	   a	   placement	   in	   order	   to	   protect	   children	   in	  
                    the	  PMC	  class.	  	  
            15. Effective	   immediately,	   DFPS,	   and	   any	   successor	   entity	   charged	   with	   inspections	   of	  
                    child	   care	   placements,	   must	   consider	   during	   the	   placement	   inspection	   all	   referrals	  
                    of,	   and	   in	   addition	   all	   confirmed	   findings	   of,	   child	   abuse/neglect	   and	   all	   confirmed	  
                    findings	   of	   corporal	   punishment	   occurring	   in	   the	   placements.	   During	   inspections,	  
                    DFPS,	   and	   any	   successor	   entity	   charged	   with	   inspections	   of	   child	   care	   placements,	  
                    must	   monitor	   placement	   agencies’	   adherence	   to	   obligations	   to	   report	   suspected	  
                    child	  abuse/neglect.	  When	  DFPS,	  and	  any	  successor	  entity	  charged	  with	  inspections	  
                    of	   child	   care	   placements,	   discovers	   a	   lapse	   in	   reporting,	   DFPS,	   and	   any	   successor	  
                    entity	   charged	   with	   inspections	   of	   child	   care	   placements,	   shall	   immediately	  
                    investigate	   to	   determine	   appropriate	   corrective	   action,	   up	   to	   and	   including	  
                    termination	  or	  modification	  of	  a	  contract.	  	  	  
                                                                                     	  
                                                                          Sexual	  Abuse	  

In	  January	  2017,	  the	  Court	  directed,	  “the	  Special	  Masters	  are	  also	  ordered	  to	  work	  with	  DFPS	  to	  
ensure	   that	   a	   child’s	   case	   record	   prominently	   identifies	   sexually	   abused	   PMC	   youth.	   Both	   the	  
term	   ‘sexually	   abused’	   and	   ‘sexually	   aggressive’	   should	   be	   word	   searchable	   in	   the	   child’s	  
records.”	  	  

DFPS	   has	   not	   created	   a	   profile	   characteristic	   for	   child	   “sexual	   abuse”	   in	   the	   electronic	   case	  
record.	   DFPS	   replied	   to	   questions	   from	   the	   Special	   Masters	   indicating	   the	   identification	   of	   all	  
PMC	   children	   who	   have	   been	   sexually	   abused	   “can	   be	   pulled	   and	   aggregated	   via	   a	   manual	  



	                                                                                                                                                              40	  
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process	   that	   requires	   a	   case	   read.”	   (See	   Appendix	   L,	   Email	   from	   Audrey	   Carmical,	   Esq.,	   on	  
behalf	  of	  DFPS	  on	  December	  1,	  2017.)	  	  Responding	  that,	  “labeling	  of	  victims	  is	  inappropriate,	  
stigmatizing,	   and	   ultimately	   unhelpful,”	   DFPS	   indicated	   they	   do	   not	   intend	   to	   proceed	   with	   a	  
profile	   characteristic	   for	   sexual	   abuse	   in	   the	   child’s	   electronic	   record.	   	   (See	   Appendix	   L,	   Email	  
from	  Audrey	  Carmical,	  Esq.,	  on	  behalf	  of	  DFPS	  on	  December	  1,	  2017.)	  	  Absent	  a	  manual	  reading	  
of	  all	  its	  PMC	  children’s	  cases,	  which	  number	  in	  the	  many	  thousands,	  DFPS	  leadership	  cannot	  
track	   all	   of	   the	   PMC	   children	   who	   have	   suffered	   sexual	   abuse	   to	   ensure	   system-­‐wide	   those	  
children	  are	  receiving	  appropriate	  services,	  including	  an	  appropriate	  placement.	  

       1. Effective	  March	  2018,	  DFPS	  shall	  implement	  within	  the	  child’s	  electronic	  case	  record	  a	  
            profile	  characteristic	  option	  for	  caseworkers	  or	  supervisors	  to	  designate	  a	  PMC	  child	  as	  
            “sexually	   abused”	   in	   the	   record	   if	   the	   PMC	   child	   has	   been	   confirmed	   to	   be	   sexually	  
            abused	  by	  an	  adult	  or	  another	  youth.	  	  
       2. Effective	   March	   2018,	   DFPS	   shall	   document	   in	   each	   PMC	   child’s	   records	   all	   confirmed	  
            allegations	  of	  sexual	  abuse	  in	  which	  the	  PMC	  child	  is	  the	  victim.	  	  	  
       3. Effective	   immediately,	   all	   of	   a	   PMC	   child’s	   caregivers	   must	   be	   apprised	   of	   confirmed	  
            allegations	  at	  each	  present	  and	  subsequent	  placement.	  	  
       4. Effective	  immediately,	  if	  a	  PMC	  child	  has	  been	  sexually	  abused	  by	  an	  adult	  or	  another	  
            youth,	   DFPS	   must	   ensure	   all	   information	   about	   sexual	   abuse	   is	   reflected	   in	   the	   child’s	  
            placement	  summary	  form,	  and	  common	  application	  for	  placement.	  
       5. Effective	  immediately,	  all	  of	  the	  PMC	  child’s	  caregivers	  must	  be	  apprised	  of	  confirmed	  
            allegations	  of	  sexual	  abuse	  of	  the	  PMC	  child	  at	  each	  present	  and	  subsequent	  placement.	  

The	  Special	  Masters	  conducted	  a	  PMC	  child	  case	  record	  review	  in	  May	  2017	  and	  verified	  that	  
DFPS	   has	   implemented	   within	   the	   child	   welfare	   electronic	   data	   system	   (IMPACT)	   a	   profile	  
characteristic	   option	   to	   designate	   “child	   sexual	   aggression”	   and	   “sexual	   behavior	   problem”	  
when	  a	  youth	  has	  sexually	  abused	  another	  child	  or	  is	  at	  high	  risk	  for	  perpetrating	  sexual	  assault.	  	  

       6. Effective	   immediately,	   DFPS	   shall	   ensure	   a	   PMC	   child’s	   electronic	   case	   record	  
            documents	  “child	  sexual	  aggression”	  and	  “sexual	  behavior	  problem”	  through	  the	  profile	  
            characteristic	  option	  when	  a	  youth	  has	  sexually	  abused	  another	  child	  or	  is	  at	  high	  risk	  
            for	  perpetrating	  sexual	  assault.	  	  


	                                                                                                                                                      41	  
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       7. Effective	   immediately,	   if	   sexually	   aggressive	   behavior	   is	   identified	   from	   a	   child,	   DFPS	  
                 shall	   also	   ensure	   the	   information	   is	   reflected	   in	   the	   child’s	   placement	   summary	   form,	  
                 and	  common	  application	  for	  placement.	  	  
       8. Effective	   immediately,	   DFPS	   must	   also	   document	   in	   each	   PMC	   child’s	   records	   all	  
                 confirmed	  allegations	  of	  sexual	  abuse	  involving	  the	  PMC	  child	  as	  the	  aggressor.	  	  	  
       9. Effective	  immediately,	  all	  of	  the	  PMC	  child’s	  caregivers	  must	  be	  apprised	  at	  each	  present	  
                 and	  subsequent	  placement	  of	  confirmed	  allegations	  of	  sexual	  abuse	  involving	  the	  PMC	  
                 child	  as	  the	  aggressor.	  
       10. Within	   90	   days	   of	   the	   Court’s	   Final	   Order,	   DFPS	   shall	   create	   a	   clear	   policy	   on	   what	  
                 constitutes	   child	   on	   child	   sexual	   abuse.	   	   Within	   6	   months	   of	   the	   Court’s	   Final	   Order,	  
                 DFPS	   shall	   ensure	   that	   all	   staff	   who	   are	   responsible	   for	   making	   the	   determinations	   on	  
                 what	  constitutes	  child	  on	  child	  sexual	  abuse	  are	  trained	  on	  the	  policy.	  	  

In	  December	  2015,	  the	  Court	  directed	  DFPS	  to	  “track	  child-­‐on-­‐child	  abuse,	  and	  categorize	  it	  as	  
such.”	  	  

       11. Effective	   immediately,	   DFPS	   shall	   ensure	   foster	   caregivers	   and	   other	   placement	  
                 providers	  immediately	  report	  all	  allegations	  of	  sexual	  abuse	  by	  a	  child	  against	  another	  
                 child	   to	   the	   24-­‐hour	   hotline	   established	   by	   DFPS	   to	   screen	   referrals	   of	   abuse	   and	  
                 neglect.	  
       12. Effective	  March	  2018,	  DFPS	  shall	  document,	  track	  and	  report	  quarterly	  to	  the	  monitor(s)	  
                 all	   referrals	   of	   child-­‐on-­‐child	  sexual	   abuse	   involving	   children	   in	   the	   PMC	   class	   made	   to	  
                 the	  24-­‐hour	  hotline	  established	  by	  DFPS	  to	  screen	  referrals	  of	  abuse	  and	  neglect.	  This	  
                 report	  shall	  include	  all	  instances	  when	  a	  PMC	  child	  is	  the	  alleged	  perpetrator	  or	  victim,	  
                 and	  all	  instances	  where	  a	  PMC	  child	  resides	  in	  the	  same	  placement	  where	  the	  reported	  
                 incident	  or	  abuse/neglect	  occurred.	  	  
       13. Effective	   immediately	   and	   ongoing	   thereafter,	   DFPS	   shall	   report	   quarterly	   to	   the	  
                 monitor(s)	  and	  confirm	  that	  all	  reports	  of	  child	  on	  child	  sexual	  abuse	  involving	  children	  
                 in	   the	   PMC	   class	   that	   have	   been	   referred	   to	   the	   24-­‐hour	   hotline	   have	   been	   assigned	   for	  
                 investigation	  for,	  at	  minimum,	  neglectful	  supervision	  by	  the	  placement	  caregiver(s).	  

	  


	                                                                                                                                                                  42	  
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                                                         PMC	  Children’s	  Placements	  
Based	  on	  the	  Court’s	  extensive	  findings	  of	  fact	  at	  trial,	  the	  Court	  included	  in	  its	  December	  2015	  
Opinion	   a	   directive	   for	   “[t]he	   Special	   Master	   [to]	   recommend	   what	   age	   ranges	   of	   unrelated	  
children	  are	  appropriate	  to	  be	  placed	  in	  the	  same	  room	  in	  any	  residential	  facility.”	  	  

The	  Special	  Masters	  asked	  DFPS	  to	  share	  a	  draft	  or	  final	  policy	  and/or	  regulation	  that	  prohibits	  
the	  placement	  of	  unrelated	  children	  who	  are	  more	  than	  three	  years	  apart	  in	  the	  same	  room.	  
DFPS	  responded	  that	  the	  agency	  “has	  no	  plans	  to	  adopt	  policy	  or	  regulation	  that	  prohibits	  the	  
placement	  of	  unrelated	  children	  who	  are	  more	  than	  three	  years	  apart	  in	  the	  same	  room.”	  	  DFPS	  
has	  still	  not	  developed	  a	  policy	  or	  regulation	  that	  prohibits	  the	  placement	  of	  unrelated	  children	  
who	   are	   more	   than	   three	   years	   apart	   in	   the	   same	   room.	   (See	   Appendix	   H,	   Updated	   response	  
document	  to	  Special	  Masters’	  Request	  for	  Information,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  
behalf	  of	  DFPS	  on	  May	  12,	  2017.)	  

       1. Effective	   March	   2018,	   DFPS	   shall	   implement	   a	   policy	   that	   requires	   that	   no	   unrelated	  
            children	  more	  than	  three	  years	  apart	  in	  age	  be	  placed	  in	  the	  same	  room.	  	  The	  policy	  may	  
            also	   establish	   exceptions,	   including	   a	   thorough	   and	   documented	   assessment	   that	  
            certifies	  it	  is	  in	  the	  child’s	  best	  interest	  or	  that	  no	  risk	  of	  harm	  would	  result	  from	  placing	  
            any	  unrelated	  children	  more	  than	  three	  years	  apart	  in	  the	  same	  room.	  Any	  exceptions	  
            applied	   under	   this	   policy	   must	   be	   approved	   and	   documented	   in	   the	   child’s	   electronic	  
            record	  by	  the	  DFPS	  county	  director.	  

Based	  on	  the	  Court’s	  extensive	  findings	  of	  fact	  at	  trial,	  the	  Court	  in	  January	  2017	  ordered	  “the	  
Special	  Masters	  to	  work	  with	  DFPS	  to	  ensure	  that	  unrelated	  PMC	  children	  with	  different	  service	  
levels	   not	   be	   placed	   in	   the	   same	   room	   unless	   a	   thorough	   an	   documented	   assessment	   is	  
conducted	  by	  DFPS	  staff	  certifying	  that	  such	  placement	  is	  safe	  and	  appropriate	  for	  each	  PMC	  
child.”	   The	   Special	   Masters	   asked	   DFPS	   to	   share	   a	   draft	   or	   final	   policy	   and/or	   regulation	   that	  
prohibits	   the	   placement	   of	   unrelated	   PMC	   children	   with	   different	   service	   levels	   in	   the	   same	  
room	  unless	  a	  thorough	  and	  documented	  assessment	  is	  conducted	  by	  DFPS	  staff	  certifying	  that	  
such	   placement	   is	   safe	   and	   appropriate	   for	   each	   PMC	   child.	   	   DFPS	   responded	   that	   “[a]gency	  
rules	   (minimum	   standards)	   …	   allow	   children	   receiving	   different	   types	   of	   service	   to	   reside	   in	   the	  
same	  room	  if	  the	  provider	  evaluates	  the	  living	  quarters	  for	  each	  child	  and	  ensures	  there	  is	  no	  


	                                                                                                                                                          43	  
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conflict	   of	   care	   with	   the	   child’s	   best	   interests;	   the	   arrangement	   will	   not	   adversely	   impact	   other	  
children	   in	   the	   room;	   the	   number	   of	   children	   in	   the	   room	   is	   appropriate	   at	   all	   times;	   caregivers	  
can	  appropriately	  supervise	  all	  children	  and	  the	  provider	  can	  meet	  the	  needs	  of	  all	  children	  in	  
the	   room.”	   	   (See	   Appendix	   H,	   Updated	   response	   document	   to	   Special	   Masters’	   Request	   for	  
Information,	  emailed	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  May	  12,	  2017.)	  

       2. Effective	   March	   2018,	   DFPS	   shall	   implement	   a	   policy	   that	   requires	   that	   no	   unrelated	  
            children	  with	  different	  service	  levels	  be	  placed	  in	  the	  same	  room.	  	  The	  policy	  may	  also	  
            establish	   exceptions,	   including	   a	   thorough	   and	   documented	   assessment	   by	   DFPS	   that	  
            certifies	  it	  is	  in	  the	  child’s	  best	  interest	  or	  that	  no	  risk	  of	  harm	  would	  result	  from	  placing	  
            any	   unrelated	   children	   of	   different	   service	   levels	   in	   the	   same	   room.	   Any	   exceptions	  
            applied	   under	   this	   policy	   must	   be	   approved	   and	   documented	   in	   the	   child’s	   electronic	  
            case	  record	  by	  the	  county	  director.	  

The	   Special	   Masters	   requested	   DFPS	   report	   the	   number	   of	   children	   in	   the	   PMC	   class	   who	   spent	  
a	  night	  in	  a	  DFPS	  office,	  waiting	  for	  a	  placement.	  	  DFPS	  reported	  it	  does	  not	  track	  the	  number	  of	  
PMC	  children	  who	  experience	  a	  first	  night	  sleeping	  in	  an	  office.	  DFPS	  begins	  its	  tracking	  on	  the	  
child’s	  second	  night.	  	  (See	  Appendix	  J,	  Email	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  
August	  8,	  2017.)	  

The	  Special	  Masters	  asked	  how	  many	  foster	  children	  spent	  a	  night	  in	  an	  unlicensed	  facility,	  such	  
as	  a	  hotel	  or	  a	  caseworker’s	  office	  in	  2016.	  DFPS	  reported	  that	  from	  September	  2016	  through	  
August	  2017,	  554	  children	  did	  not	  have	  a	  placement.	  DFPS	  reported	  this	  information	  showing	  
the	  total	  number	  of	  children	  without	  a	  placement	  broken	  down	  by	  each	  of	  these	  12	  months,	  
with	  a	  high	  of	  84	  children	  during	  May	  2017	  and	  a	  low	  of	  17	  children	  during	  August	  2017.	  (See	  
Appendix	  G,	  Email	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  September	  21,	  2017.)	  

       3. Effective	   immediately,	   DFPS	   may	   not	   place	   a	   child	   in	   the	   PMC	   class	   in	   an	   office	  
            overnight,	   and	   must	   track	   all	   instances	   if	   it	   does	   so,	   and	   report	   the	   same	   to	   the	  
            monitor(s)	   monthly.	   If,	   under	   any	   circumstance,	   a	   child	   in	   the	   PMC	   class	   spends	   the	  
            night	   in	   an	   office,	   DFPS	   staff	   must	   document	   that	   fact,	   and	   the	   reason,	   in	   an	  
            electronically	   available	   log	   maintained	   by	   DFPS	   in	   each	   county.	   	   These	   logs	   shall	   be	  
            submitted	   on	   the	   first	   day	   of	   every	   month	   to	   a	   designated	   senior	   manager	   in	   DFPS’	  


	                                                                                                                                                             44	  
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            central	  office	  and	  to	  the	  monitor(s).	  	  The	  designated	  DFPS	  senior	  manager	  shall	  review	  
            these	   logs	   monthly	   and	   take	   immediate	   follow	   up	   action	   to	   identify	   and	   address	  
            problems	   encountered	   at	   the	   county	   level	   with	   respect	   to	   securing	   minimally	   adequate,	  
            safe	  placements	  for	  children	  in	  the	  PMC	  class.	  	  

Based	  on	  the	  Court’s	  extensive	  findings	  of	  fact	  at	  trial,	  the	  Court	  in	  January	  2017	  ordered	  this	  
final	  Implementation	  plan	  “should	  include	  a	  provision	  that,	  within	  6	  months	  from	  the	  date	  of	  
the	  final	  order,	  all	  PMC	  children	  under	  two	  years	  of	  age	  shall	  be	  placed	  in	  a	  family-­‐like	  setting.”	  	  
The	  Special	  Masters	  asked	  DFPS	  to	  share	  a	  draft	  or	  final	  policy	  and/or	  regulation	  that	  all	  PMC	  
children	   under	   two	   years	   of	   age	   shall	   be	   placed	   in	   a	   family-­‐like	   setting.	   	   The	   Special	   Masters	  
invited	   DFPS	   to	   identify	   exceptions,	   such	   as	   sibling	   groups	   of	   four	   or	   more	   children	   who	   cannot	  
otherwise	   be	   placed	   together,	   treatment	   and/or	   medical	   care,	   or	   young	   children	   who	   are	  
placed	  with	  a	  minor	  parent.	  	  DFPS	  declined	  to	  provide	  a	  draft	  policy	  and/or	  regulation,	  pointing	  
to	  its	  existing	  policies	  and	  minimum	  standards,	  which	  do	  not	  require	  that	  children	  under	  two	  
years	  of	  age	  be	  placed	  in	  family-­‐like	  settings.	  	  (See	  Appendix	  H,	  Updated	  response	  document	  to	  
Special	   Masters’	   Request	   for	   Information,	   emailed	   from	   Audrey	   Carmical,	   Esq.	   on	   behalf	   of	  
DFPS	  on	  May	  12,	  2017.)	  

       4. Within	  six	  months	  of	  the	  Court’s	  Final	  Order,	  all	  PMC	  children	  under	  two	  years	  of	  age	  
            shall	   be	   placed	   in	   a	   family-­‐like	   setting,	   including	   non-­‐relative	   foster	   care,	   tribal	   foster	  
            care,	   kinship	   foster	   care	   and	   therapeutic	   foster	   care.	   DFPS	   may	   make	   exceptions	   to	  
            family-­‐based	   placements	   for	   sibling	   groups	   of	   four	   or	   more	   children	   who	   cannot	  
            otherwise	  be	  placed	  together,	  children	  whose	  individual	  needs	  require	  hospitalization,	  
            treatment	   and/or	   medical	   care	   or	   young	   children	   who	   are	   placed	   with	   their	   minor	  
            parent	   in	   the	   PMC	   class	   and	   who	   may	   require	   services	   provided	   in	   a	   non-­‐family-­‐like	  
            placement.	   All	   exceptions	   must	   be	   approved	   by	   a	   supervisor	   and	   documented	   in	   the	  
            child’s	  electronic	  case	  record.	  	  

Based	  on	  the	  Court’s	  extensive	  findings	  of	  fact	  at	  trial,	  the	  Court	  in	  January	  2017	  ordered	  this	  
final	  Implementation	  Plan	  should	  include	  a	  provision	  that,	  “within	  12	  months	  from	  the	  date	  of	  
the	  final	  order,	  all	  PMC	  children	  under	  six	  years	  of	  age	  shall	  be	  placed	  in	  a	  family-­‐like	  setting.”	  	  




	                                                                                                                                                             45	  
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       5. Within	   12	   months	   of	   the	   Court’s	   Final	   Order,	   all	   PMC	   children	   under	   six	   years	   of	   age	  
             shall	   be	   placed	   in	   a	   family-­‐like	   setting,	   including	   non-­‐relative	   foster	   care,	   tribal	   foster	  
             care,	   kinship	   foster	   care	   and	   therapeutic	   foster	   care.	   DFPS	   may	   make	   exceptions	   to	  
             family-­‐based	   placements	   for	   sibling	   groups	   of	   four	   or	   more	   children	   who	   cannot	  
             otherwise	  be	  placed	  together,	  children	  whose	  individual	  needs	  require	  hospitalization,	  
             treatment	   and/or	   medical	   care	   or	   young	   children	   who	   are	   placed	   with	   their	   minor	  
             parent	   in	   the	   PMC	   class	   and	   who	   may	   require	   services	   provided	   in	   a	   non-­‐family-­‐like	  
             placement.	   All	   exceptions	   must	   be	   approved	   by	   a	   supervisor	   and	   documented	   in	   the	  
             child’s	  electronic	  case	  record.	  

Based	  on	  the	  Court’s	  extensive	  findings	  of	  fact	  at	  trial,	  the	  Court	  in	  January	  2017	  ordered	  this	  
final	  Implementation	  plan	  must	  include	  a	  provision	  that,	  “[w]ithin	  24	  months	  from	  the	  date	  of	  
the	  final	  order,	  all	  PMC	  children	  under	  thirteen	  shall	  be	  placed	  in	  a	  family-­‐like	  setting.”	  	  

       6. Within	  24	  months	  of	  the	  Court’s	  Final	  Order,	  all	  PMC	  children	  under	  the	  age	  of	  13	  shall	  
             be	   placed	   in	   a	   family-­‐like	   setting,	   including	   non-­‐relative	   foster	   care,	   tribal	   foster	   care,	  
             kinship	   foster	   care	   and	   therapeutic	   foster	   care.	   DFPS	   may	   make	   exceptions	   to	   family-­‐
             based	  placements	  for	  sibling	  groups	  of	  four	  or	  more	  children	  who	  cannot	  otherwise	  be	  
             placed	   together,	   children	   whose	   individual	   needs	   require	   inpatient	   psychiatric	  
             hospitalization,	   treatment	   and/or	   medical	   care	   or	   young	   children	   who	   are	   placed	   with	  
             their	   minor	   parent	   in	   the	   PMC	   class	   and	   who	   may	   require	   services	   provided	   in	   a	   non-­‐
             family-­‐like	   placement.	   All	   exceptions	   must	   be	   approved	   by	   a	   supervisor	   and	  
             documented	  in	  the	  child’s	  electronic	  case	  record.	  	  

                                                                DFPS	  Placement	  Array	  	  
The	  trial	  transcript	  includes	  testimony	  from	  two	  defense	  witnesses	  (D.E.	  328,	  p.	  161,	  and	  D.E.	  
329,	  p.	  161)	  indicating	  that	  DFPS	  should	  look	  to	  place	  sexualized	  children	  in	  placements	  or	  in	  
homes	   where	   the	   child	   is	   the	   only	   one	   in	   the	   home.	   	   There	   is	   testimony	   in	   the	   record	   of	   the	  
sexualization	   of	   children	   due	   to	   sexual	   abuse,	   causing	   sexually	   abused	   children	   to	   become	  
aggressors	   or	   perform	   sexual	   acts.	   (D.E.	   326,	   pp.	   15-­‐16)	   In	   its	   December	   2015	   Opinion,	   the	  
Court	  included	  among	  its	  goals	  for	  this	  Implementation	  Plan	  a	  directive	  for	  DFPS	  to	  “track	  how	  
many	   placements	   in	   its	   array	   are	   designated	   as	   single-­‐child	   homes	   (including	   biological	   and	  


	                                                                                                                                                                   46	  
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adopted	   children),	   and	   track	   how	   many	   foster	   children	   need	   single	   child	   homes.	   DFPS	   shall	  
explain	   its	   criteria	   for	   determining	   which	   children	   need	   single-­‐child	   homes.	   DFPS	   shall	   ensure	  
that	  all	  children	  who	  need	  single-­‐child	  homes	  are	  placed	  in	  such	  homes.”	  	  	  

The	   Special	   Masters	   asked	   DFPS	   to	   report	   the	   soonest	   date	   DFPS	   could	   begin	   to	   track	   single	  
child	  homes.	  	  DFPS	  replied	  that	  it	  “has	  no	  plans	  to	  track	  single	  child	  homes.”	  (See	  Appendix	  E,	  
Updated	  response	  document	  to	  Special	  Masters’	  Request	  for	  Information,	  emailed	  from	  Audrey	  
Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  8,	  2017.)	  

The	  Special	  Masters	  asked	  DFPS	  what	  processes	  it	  administers	  to	  match	  specific	  placements	  to	  
PMC	   children	   who,	   through	   documented	   assessment,	   are	   determined	   to	   need	   a	   single	   child	  
home.	  	  DFPS	  responded	  that	  it	  “has	  no	  such	  processes”	  and	  referred	  the	  Special	  Masters	  back	  
to	   its	   earlier	   response	   that	   it	   “has	   no	   plans	   to	   track	   single	   child	   homes.”	   (See	   Appendix	   E,	  
Updated	  response	  document	  to	  Special	  Masters’	  Request	  for	  Information,	  emailed	  from	  Audrey	  
Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  March	  8,	  2017.)	  

1. DFPS	   shall	   immediately	   implement	   a	   policy	   that	   establishes	   single-­‐child	   homes	   as	   the	  
       presumptive	   placement	   for	   all	   sexualized	   children,	   either	   as	   the	   aggressor	   or	   the	   victim.	  	  
       The	   policy	   also	   will	   allow	   for	   exceptions,	   including:	   placement	   in	   a	   therapeutic	   setting	   for	  
       treatment;	  placement	  with	  siblings	  when	  the	  safety	  of	  all	  children	  involved	  can	  be	  closely	  
       monitored	   and	   secured;	   a	   thorough	   and	   documented	   assessment	   certifies	   that	   it	   is	   in	   the	  
       child’s	  best	  interest	  to	  be	  placed	  in	  a	  home	  with	  other	  children	  and	  the	  safety	  of	  all	  children	  
       involved	   can	   be	   closely	   monitored	   and	   secured.	   Any	   exceptions	   applied	   under	   this	   policy	  
       must	  be	  approved	  and	  documented	  by	  a	  senior	  DFPS	  manager.	  	  

DFPS	  completed	  and	  filed	  with	  the	  Court	  a	  Foster	  Care	  Needs	  Assessment,	  dated	  January	  2017.	  
The	  Assessment	  includes	  on	  page	  43	  in	  Table	  5,	  Column	  1,	  a	  forecast	  for	  the	  agency’s	  FY17-­‐18	  
need	   for	   foster	   homes	   by	   catchment	   area.	   The	   Special	   Masters	   asked	   DFPS,	   based	   on	   its	   Foster	  
Care	   Needs	   Assessment,	   to	   provide	   a	   draft	   plan	   or	   plan	   outline	   for	   a	   12-­‐month	   period	   to	  
develop	   the	   placement	   array	   needed	   to	   address	   the	   specific	   geographic,	   demographic	   and	  
service	  level	  placement	  deficits	  identified	  in	  the	  Assessment.	  	  DPFS	  responded	  that	  while	  they	  
are	  “continually	  working	  to	  address	  placement	  capacity	  within	  the	  agency”	  they	  are	  “declining	  
to	   develop	   such	   a	   12-­‐month	   plan.”	   (See	   Appendix	   E,	   Updated	   response	   document	   to	   Special	  


	                                                                                                                                                         47	  
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Masters’	   Request	   for	   Information,	   emailed	   from	   Audrey	   Carmical,	   Esq.	   on	   behalf	   of	   DFPS	   on	  
March	  8,	  2017.)	  

2. DFPS	  shall	  ensure	  it	  has	  at	  least	  as	  many	  foster	  home	  placements	  for	  children,	  by	  catchment	  
       area,	  by	  the	  end	  of	  FY	  18	  as	  the	  agency	  found	  it	  requires	  to	  meet	  the	  needs	  of	  children	  in	  its	  
       January	   2017	   Foster	   Care	   Needs	   Assessment,	   Table	   5.	   	   DFPS	   shall	   report	   quarterly	   to	   the	  
       monitor(s)	   on	   the	   available	   supply	   of	   foster	   homes	   for	   children	   by	   catchment	   area	   as	   of	   the	  
       last	  date	  of	  the	  quarter.	  
3. By	  June	  2018,	  DFPS	  shall	  complete	  and	  submit	  to	  the	  Court	  an	  update	  of	  its	  January	  2017	  
       Foster	  Care	  Needs	  Assessment,	  and	  include:	  	  
             o A	   review	   and	   assessment	   of	   the	   placement	   needs	   of	   sibling	   groups	   that	   are	  
                   separated	   into	   different	   placements	   and	   children	   who	   have	   been	   identified	   as	  
                   sexually	  aggressive	  or	  whose	  IMPACT	  records	  document	  their	  having	  been	  sexually	  
                   abused.	  	  	  
             o Data	  on	  the	  number	  of	  foster	  homes	  in	  each	  county	  that	  could	  be	  readily	  designated	  
                   as	  single-­‐child	  homes.	  	  
             o Data	  on	  the	  number	  of	  homes	  in	  each	  county	  available	  for	  the	  placement	  of	  sibling	  
                   groups	  of	  various	  sizes.	  	  
             o An	   analysis	   of	   the	   number	   of	   homes	   in	   each	   county	   and	   region	   that	   have	   a	   deficit	   or	  
                   surplus	  of	  single-­‐child	  homes	  to	  meet	  the	  needs	  of	  children	  from	  the	  same	  counties	  
                   and	  regions	  who	  are	  sexually	  aggressive	  or	  have	  been	  sexually	  abused.	  
             o An	   analysis	   of	   the	   number	   of	   homes	   in	   each	   county	   and	   region	   that	   have	   a	   deficit	   or	  
                   surplus	   of	   homes	   that	   can	   meet	   the	   placement	   needs	   of	   sibling	   groups	   from	   the	  
                   same	  counties	  and	  regions	  or	  catchment	  areas.	  	  

The	   Special	   Masters	   asked	   DFPS	   if	   the	   agency	   can	   report	   aggregate	   data	   on	   how	   many	   children	  
are	  placed	  in	  foster	  homes	  with	  non-­‐foster	  or	  adoptive	  children.	  DFPS	  responded,	  “DFPS	  does	  
not	  have	  the	  capability	  to	  report	  aggregate	  data	  on	  how	  many	  PMC	  children	  are	  placed	  in	  foster	  
homes	   that	   contain	   non-­‐foster	   or	   adoptive	   children,	   and	   the	   [Provider]	   Portal	   is	   not	   moving	  
forward	  at	  this	  time.	  DFPS	  does	  possess	  the	  capability	  to	  report	  the	  number	  of	  foster	  children	  
placed	  in	  homes	  with	  other	  DFPS	  foster	  children	  at	  a	  certain	  time	  and	  date.”	  (See	  Appendix	  F,	  



	                                                                                                                                                               48	  
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Responses	  to	  Special	  Master	  Questions,	  sent	  by	  email	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  
DFPS	  on	  September	  21,	  2017.)	  	  DFPS	  subsequently	  reaffirmed,	  “no	  additional	  information	  will	  
be	  provided.	  Agency	  staff	  have	  determined	  that	  the	  aggregate	  data	  that	  can	  be	  produced	  are	  
those	   referenced	   in	   the	   original	   response	   (DFPS	   foster	   children	   placed	   with	   other	   foster	  
children).”	  (See	  Appendix	  K,	  Email	  from	  Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  November	  
4,	  2017.)	  

4. Effective	   immediately,	   DFPS	   shall	   immediately	   establish	   a	   tracking	   mechanism	   to	   identify	  
       how	   many	   children	   are	   in	   all	   placements	   where	   a	   PMC	   child	   resides,	   including	   foster,	  
       biological,	  non-­‐foster	  and	  adoptive	  children,	  as	  well	  as	  each	  placement’s	  licensed	  capacity.	  	  
       By	  May	  2018,	  DFPS	  shall	  publish	  this	  information	  on	  its	  website	  and	  update	  the	  information	  
       quarterly.	  	  
5. Effective	  June	  2018,	  DFPS	  shall	  establish	  and	  implement	  a	  policy	  that	  requires	  a	  transition	  
       plan	  of	  no	  less	  than	  two	  weeks	  to	  change	  a	  PMC	  child’s	  placement	  if	  the	  disruption	  is	  due	  to	  
       a	  change	  in	  the	  child’s	  level	  of	  care.	  	  The	  policy	  shall	  require	  a	  documented	  assessment	  to	  
       determine	  if	  the	  child	  should	  remain	  in	  the	  same	  placement	  for	  an	  extended	  period	  if	  the	  
       assessment	   determines	   the	   child’s	   behavioral	   or	   emotional	   challenges	   are	   likely	   to	   re-­‐
       escalate	  if	  the	  placement	  is	  changed.	  	  

The	   Special	   Masters’	   team	   conducted	   a	   case	   record	   review	   of	   50	   randomly	   selected	   PMC	  
children’s	   cases	   to	   confirm	   that	   children’s	   individualized	   files	   accurately	   reflected	   the	  
information	   contained	   in	   the	   agency’s	   placement	   moves	   report.	   	   The	   Special	   Masters’	   team	  
confirmed	   the	   aggregate	   report	   did	   accurately	   reflect	   the	   information	   on	   placement	   moves	  
found	  in	  PMC	  children’s	  files.	  	  

6. Beginning	  in	  June	  2018,	  DFPS	  shall	  report	  to	  the	  monitor(s)	  semi-­‐annually	  on	  PMC	  children's	  
       placement	   moves,	   and	   ensure	   that	   all	   such	   moves,	   and	   the	   reasons	   for	   the	   placement	  
       moves,	  are	  documented	  in	  the	  child’s	  electronic	  case	  record.	  	  
       	  
                                                            Foster	  Care	  Group	  Homes	  

The	   Court’s	   December	   2015	   Opinion	   enjoined	   DFPS	   to	   “immediately	   stop	   placing	   PMC	   foster	  
children	   in	   unsafe	   placements,	   which	   include	   Foster	   Group	   Homes	   that	   lack	   24-­‐hour	   awake-­‐


	                                                                                                                                                      49	  
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night	   supervision.	   Foster	   Group	   Homes	   that	   immediately	   require	   24-­‐hour	   awake-­‐night	  
supervision	   may	   continue	   to	   operate	   while	   the	   Special	   Masters	   and	   the	   State	   craft	   and	   enforce	  
the	  Implementation	  Plan.”	  	  

To	  verify	  the	  overnight	  supervision	  plans	  submitted	  to	  the	  Special	  Masters	  by	  DFPS	  with	  respect	  
to	   the	   State’s	   Foster	   Group	   Homes,	   Special	   Master	   Ryan	   and	   a	   member	   of	   the	   Special	   Masters’	  
team,	  Deborah	  Fowler,	  conducted	  visits	  with	  randomly	  selected	  Foster	  Group	  Home	  caregivers	  
in	  their	  homes.	  DFPS	  counsel	  and	  staff	  accompanied	  Mr.	  Ryan	  and	  Ms.	  Fowler.	  All	  of	  the	  visits	  
except	   one	   were	   announced	   in	   advance.	   The	   visits	   occurred	   at	   staggered	   times	   throughout	   the	  
day.	  	  

In	   the	   first	   Foster	   Group	   Home	   visited	   by	   Mr.	   Ryan,	   on	   March	   1,	   2017,	   eight	   children	   resided	   in	  
the	   home:	   three	   children	   in	   the	   custody	   of	   DFPS,	   ages	   10,	   9	   and	   2,	   and	   five	   birth/adopted	  
children,	  ages	  17,	  14,	  11,	  8	  and	  2.	  The	  caregivers	  had	  installed	  a	  camera	  system	  throughout	  the	  
home,	  featuring	  a	  motion	  detection	  system.	  When	  there	  was	  activity	  in	  the	  home	  at	  night,	  the	  
camera	  system	  recorded	  the	  movement(s)	  that	  it	  recorded	  in	  a	  log.	  In	  addition,	  the	  caregivers	  
hired	  a	  night	  nanny	  to	  stay	  in	  the	  home	  overnight	  while	  the	  family	  slept.	  

In	  the	  second	  Foster	  Group	  Home	  visited	  by	  Mr.	  Ryan,	  on	  March	  1,	  2017,	  seven	  children	  resided	  
in	   the	   home:	   two	   boys	   in	   the	   custody	   of	   DFPS,	   ages	   4	   and	   5,	   and	   five	   of	   the	   couple’s	   birth	  
children,	   all	   girls,	   ages	   13,	   9,	   7,	   5	   and	   1.	   The	   caregivers,	   a	   married	   couple,	   reported	   they	  
provided	   supervision	   by	   alternating	   shifts	   overnight.	   	   The	   couple	   described	   the	   arrangement	   as	  
difficult	  and	  looked	  forward	  to	  adopting	  the	  boys	  and	  closing	  their	  home	  to	  future	  placements.	  

In	   the	   first	   Foster	   Group	   Home	   visited	   by	   Ms.	   Fowler	   on	   February	   28,	   2017,	   eight	   boys,	   ages	   18	  
and	   under,	   resided	   in	   the	   home.	   Four	   children	   were	   in	   the	   custody	   of	   DFPS	   and	   four	   were	  
adopted.	  The	  foster	  children	  were	  18,	  15,	  13	  and	  11	  years	  old.	  The	  15-­‐year-­‐old	  reportedly	  had	  
behavioral	  challenges,	  and	  the	  caregiver	  indicated	  that	  those	  challenges	  had	  led	  him	  to	  ask	  for	  
the	  boy	  to	  be	  moved.	  A	  live-­‐in,	  adult	  female	  supported	  the	  caregiver	  in	  oversight	  of	  the	  home.	  
The	  family’s	  awake-­‐night	  supervision	  plan	  included	  an	  individual	  who	  lived	  in	  back	  of	  the	  house	  
in	  a	  shed	  just	  a	  few	  feet	  from	  the	  back	  door.	  There	  was	  also	  an	  old	  RV	  behind	  the	  house,	  and	  
the	   caregiver	   indicated	   someone	   else	   occasionally	   stayed	   in	   the	   RV.	   The	   awake-­‐night	  



	                                                                                                                                                                  50	  
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supervisor’s	   home	   appeared	   to	   be	   a	   gardening	   shed.	   It	   was	   new,	   and	   it	   had	   a	   light	   mounted	  
over	  the	  door	  of	  the	  type	  that	  one	  can	  buy	  at	  stores	  like	  Home	  Depot.	  The	  caregiver	  indicated	  
the	   awake-­‐night	   supervisor	   typically	   came	   home	   from	   work	   around	   10:30	   pm	   or	   11:00	   pm.	   The	  
caregiver	   said	   he	   and	   the	   adult	   female	   went	   to	   bed	   around	   11:30	   pm	   or	   midnight,	   and	   the	  
awake-­‐night	   supervisor	   was	   said	   to	   then	   stay	   awake	   for	   the	   rest	   of	   the	   night,	   performing	  
occasional	  walk-­‐throughs	  of	  the	  home,	  until	  the	  caregiver	  rose	  the	  next	  morning.	  	  

In	   the	   second	   Foster	   Group	   Home	   visited	   by	   Ms.	   Fowler,	   on	   February	   28,	   2017,	   nine	   children	  
resided	   in	   the	   home:	   three	   girls	   in	   the	   custody	   of	   DFPS,	   ages	   11,	   7	   and	   5,	   and	   six	   adopted	  
children,	  two	  boys	  who	  were	  16	  and	  10,	  and	  four	  girls	  who	  were	  10,	  7,	  6	  and	  4	  years	  old.	  The	  
caregivers	  installed	  an	  alarm	  in	  the	  boys’	  bedroom	  that	  beeped	  if	  the	  boys	  opened	  their	  door.	  
The	  caregivers,	  a	  married	  couple,	  reported	  they	  provided	  overnight	  supervision	  by	  alternating	  
shifts	  overnight.	  

In	  the	  third	  Foster	  Group	  Home	  visited	  by	  Ms.	  Fowler,	  on	  March	  6,	  2017,	  seven	  children	  under	  
the	  age	  of	  18	  resided	  in	  the	  home.	  One	  child,	  a	  16	  year-­‐old	  daughter,	  is	  adopted.	  Six	  of	  these	  
children	  were	  foster	  youth:	  3	  girls	  who	  were	  14,	  11	  and	  9	  years	  old,	  and	  3	  boys	  who	  were	  17,	  15	  
and	   10	   years	   old.	   Of	   the	   foster	   youth	   in	   the	   home,	   one	   had	   a	   specialized	   Level	   of	   Care	  
designation,	  and	  three	  had	  moderate	  Levels	  of	  Care	  designations,	  indicating	  heightened	  needs.	  	  

The	  doors	  to	  the	  bedrooms	  were	  connected	  to	  an	  alarm	  and	  made	  a	  loud	  noise	  when	  opened.	  
The	  caregivers,	  a	  married	  couple,	  reported	  they	  provided	  overnight	  supervision	  by	  alternating	  
shifts	   overnight.	   	   The	   caregivers	   also	   had	   two	   adult	   sons	   who	   were	   members	   of	   the	   household,	  
ages	   47	   and	   18.	   The	   caregiver	   said	   her	   live-­‐in	   47-­‐year-­‐old	   adopted	   son,	   who	   is	   disabled,	   helped	  
his	   parents	   with	   the	   awake-­‐night	   supervision.	   	   It	   appeared	   he	   has	   an	   intellectual	   or	  
developmental	  disability.	  	  The	  caregiver	  pointed	  out	  that	  his	  role	  in	  overnight	  supervision	  was	  
limited	  to	  getting	  up	  if	  anything	  happened	  or	  required	  intervention.	  	  

In	  the	  fourth	  Foster	  Group	  Home	  visited	  by	  Ms.	  Fowler,	  on	  March	  7,	  2017,	  seven	  children	  under	  
the	  age	  of	  18	  resided	  in	  their	  home.	  Four	  were	  foster	  youth:	  two	  boys	  ages	  8	  and	  3	  years	  old,	  
and	   two	   girls	   6	   and	   5	   years	   old.	   The	   couple’s	   three	   biological	   children	   were	   16,	   14	   and	   12	   years	  
old.	   The	   caregivers,	   a	   married	   couple,	   reported	   they	   provided	   overnight	   supervision	   by	  



	                                                                                                                                                                    51	  
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alternating	   shifts	   overnight.	   The	   caregiver’s	   mother	   was	   reportedly	   able	   to	   help	   on	   occasion	  
when	  someone	  was	  sick	  or	  work	  called	  away	  the	  husband.	  	  

In	  the	  fifth	  Foster	  Group	  Home	  visited	  by	  Ms.	  Fowler,	  on	  March	  7,	  2017,	  three	  foster	  children	  
resided	   in	   the	   home,	   one	   boy	   age	   1	   year	   old,	   and	   two	   girls,	   ages	   5	   and	   2	   years	   old.	   The	  
caregivers,	   a	   married	   couple,	   also	   had	   four	   birth	   children	   who	   lived	   in	   the	   home:	   daughters,	  
ages	  15,	  12,	  9	  and	  6	  years	  old.	  In	  order	  to	  avoid	  an	  awake-­‐night	  supervision	  requirement,	  the	  
caregivers	  reported	  that	  every	  night	  one	  of	  the	  foster	  parents’	  biological	  children	  left	  the	  home	  
with	  an	  older,	  adult	  sibling	  who	  maintained	  a	  separate	  residence,	  and	  stayed	  at	  her	  house.	  	  

In	  the	  sixth	  Foster	  Group	  Home	  visited	  by	  Ms.	  Fowler,	  on	  March	  8,	  2017,	  seven	  children	  resided	  
in	   the	   home,	   only	   one	   of	   whom	   was	   a	   foster	   child:	   a	   2	   year	   old	   girl.	   The	   caregivers	   have	   six	  
young	   children	   who	   they	   have	   adopted,	   and	   one	   adult	   biological	   son	   (22	   years	   old)	   who	   also	  
lives	   with	   them.	   The	   caregivers,	   a	   married	   couple,	   reported	   they	   alternated	   shifts	   for	   awake-­‐
night	   supervision.	   The	   plan	   allowed	   the	   caregivers	   approximately	   5	   to	   6	   hours	   of	   sleep	   per	  
night,	   which	   the	   wife	   said	   was	   enough	   for	   her.	   Her	   great	   grandmother	   was	   also	   reportedly	  
available	   to	   help	   when	   needed,	   and	   their	   adult	   son	   who	   lived	   with	   them	   also	   helped	   when	  
needed.	  	  

The	  Court’s	  January	  2017	  Opinion	  requires	  this	  Implementation	  Plan	  include	  the	  elimination	  of	  
Foster	  Group	  Homes	  as	  placements	  for	  children	  in	  the	  PMC	  class.	  	  In	  May	  2017,	  Texas	  House	  Bill	  
7	   amended	   the	   Human	   Resources	   Code	   (HRC),	   Chapter	   42,	   and	   prohibited	   Licensing	   from	  
issuing	  any	  new	  permits	  to	  Foster	  Group	  Homes	  after	  August	  31,	  2017.	  House	  Bill	  7	  allows	  any	  
Foster	   Group	   Home	   licensed	   or	   verified	   before	   September	   1,	   2017,	   to	   continue	   to	   operate	  
under	  the	  law	  in	  effect	  prior	  to	  that	  date,	  until	  Licensing	  develops	  and	  implements	  procedures	  
for	   conversion	   to	   a	   traditional	   foster	   home	   and	   relinquishment	   of	   the	   Foster	   Group	   Home	  
License.	   	   House	   Bill	   7	   also	   lowered	   the	   minimum	   capacity	   for	   General	   Residential	   Operations	  
(GRO),	  a	  form	  of	  congregate	  care	  with	  heightened	  licensure	  requirements,	  from	  13	  children	  to	  
7	  children.	  

       1. Effective	   immediately	   and	   ongoing	   thereafter,	   no	   PMC	   child	   may	   reside	   in	   a	   Foster	  
             Group	  Home	  placement.	  


	                                                                                                                                                                    52	  
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       2. Effective	   immediately	   and	   ongoing	   thereafter,	   no	   PMC	   child	   may	   reside	   in	   any	   family-­‐
            like	  placement	  that	  houses	  more	  than	  six	  children,	  inclusive	  of	  biological,	  adoptive,	  non-­‐
            foster	   and	   foster	   children.	   Family-­‐like	   placements	   include	   non-­‐relative	   foster	   care,	   tribal	  
            foster	  care,	  kinship	  foster	  care	  and	  therapeutic	  foster	  care.	  

                                                              Foster	  Care	  Redesign	  
The	   Court’s	   January	   2017	   Order	   held	   that	   “as	   to	   foster	   care	   redesign,	   the	   Court	   orders	   the	  
Special	  Masters	  to	  work	  with	  DFPS	  to	  address	  the	  capacity	  of	  providers	  across	  Texas	  to	  serve	  as	  
Single	  Source	  Continuum	  Contractors	  (“SSCC”);	  the	  service	  array,	  including	  the	  development	  of	  
foster	  homes	  that	  meet	  the	  individualized	  needs	  of	  PMC	  children;	  and	  proposed	  timelines	  for	  
staged	  implementation	  through	  the	  end	  of	  fiscal	  year	  2021.”	  	  The	  Special	  Masters	  asked	  DFPS	  
how	   it	   assessed	   the	   capacity	   of	   providers	   across	   Texas	   to	   serve	   as	   SSCC	   for	   Foster	   Care	  
Redesign,	   including	   the	   development	   of	   a	   placement	   array	   in	   each	   anticipated	   catchment	   area.	  
DFPS	  responded	  that	  it	  relied	  on	  an	  analysis	  from	  the	  University	  of	  Chicago	  determining	  that	  an	  
SSCC	   could	   only	   be	   viable	   if	   it	   had	   at	   least	   500	   child	   entries	   annually.	   “This	   analysis,”	   DFPS	  
replied,	   “along	   with	   information	   gathered	   through	   a	   Request	   for	   Information,	   a	   stakeholder	  
survey	   and	   information	   from	   the	   Public	   Private	   Partnership	   helped	   inform	   the	   state’s	   division	  
into	   the	   current	   17	   catchment	   areas.”	   (See	   Appendix	   E,	   Updated	   response	   document	   to	   Special	  
Masters’	   Request	   for	   Information,	   emailed	   from	   Audrey	   Carmical,	   Esq.	   on	   behalf	   of	   DFPS	   on	  
March	  8,	  2017.)	  

DFPS	   most	   recently	   reported	   the	   Texas	   Legislature	   “approved	   the	   roll-­‐out	   of	   a	   staged	  
Community	  Based	  Care	  model	  in	  a	  total	  of	  five	  catchment	  areas	  (includes	  current	  3b)	  over	  the	  
2018-­‐2019	  biennium.”	   	   (See	  Appendix	  F,	  DFPS	  Responses	  to	  Special	  Master	  Questions,	  emailed	  
from	   Audrey	   Carmical,	   Esq.	   on	   behalf	   of	   DFPS	   on	   September	   21,	   2017.)	   DFPS	   informed	   the	  
Special	   Masters,	   “Community	   Based	   Care	   (CBC)	   is	   replacing	   and	   expanding	   on	   Foster	   Care	  
Redesign.	   Senate	   Bill	   11	   of	   the	   85th	   Legislature	   requires	   DFPS	   to	   purchase	   case	   management	  
and	   substitute	   care	   services	   from	   a	   Single	   Source	   Continuum	   Contractor	   (SSCC)	   in	   a	   model	  
known	   as	   Community	   Based	   Care.	   Substitute	   care	   includes	   both	   foster	   care	   and	   kinship	  
placements.”	   (See	   Appendix	   F,	   DFPS	   Responses	   to	   Special	   Master	   Questions,	   emailed	   from	  
Audrey	  Carmical,	  Esq.	  on	  behalf	  of	  DFPS	  on	  September	  21,	  2017.)	  



	                                                                                                                                                           53	  
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On	  September	  19,	  2017,	  DFPS	  announced	  the	  next	  two	  catchment	  areas	  for	  Community	  Based	  
Care	  will	  be	  all	  of	  Region	  Two	  and	  Bexar	  County	  in	  Region	  Eight.	  DFPS	  advised,	  

                       We	   expect	   to	   release	   the	   Request	   for	   Proposals	   for	   Region	   Two	  
                       this	   month	   (September),	   followed	   by	   the	   Request	   for	   Proposals	  
                       for	  Bexar	  County	  in	  November.	  In	  Region	  Two	  and	  Bexar	  County,	  
                       DFPS	   plans	   to	   make	   this	   transition	   in	   two	   in	   stages.	   In	   Stage	   1,	  
                       DFPS	  will	  transfer	  paid	  foster	  care	  placement	  services	  to	  the	  SSCC.	  
                       DFPS	  will	  refer	  children	  who	  are	  new	  to	  care	  to	  the	  SSCC	  as	  well	  as	  
                       transition	   children	   already	   in	   paid	   foster	   care	   to	   the	   SSCC.	   Like	  
                       Foster	   Care	   Redesign,	   CPS	   and	   the	   SSCC	   will	   continue	   to	   share	  
                       decision-­‐	   making.	   CPS	   will	   provide	   case	   management	   services	   to	  
                       children	   and	   families	   while	   partnering	   with	   the	   SSCC	   to	   provide	  
                       paid	   foster	   care	   placement	   services	   to	   children	   from	   the	  
                       catchment	  area.	  We	  anticipated	  Stage	  I	  will	  last	  between	  12	  and	  
                       18	   months.	   In	   Stage	   Two,	   the	   SSCC	   will	   begin	   providing	   all	  
                       substitute	   care	   placement	   and	   case	   management	   services.	   In	  
                       addition	   to	   the	   responsibilities	   outlined	   in	   Stage	   I,	   the	   SSCC	   will	  
                       receive	   referrals	   for	   all	   children	   who	   are	   new	   to	   care	   and	   their	  
                       families.	  DFPS	  will	  phase-­‐in	  the	  transfer	  of	  other	  children	  from	  the	  
                       legacy	  system	  to	  CBC.	  We	  anticipate	  it	  will	  take	  1-­‐2	  years	  to	  fully	  
                       shift	  case	  management	  for	  all	  children	  and	  their	  families	  in	  these	  
                       catchment	   areas	   to	   the	   SSCC.	   Region	   3b	   is	   estimated	   to	   transition	  
                       into	  Stage	  II	  in	  April	  2018.	  	  

                       (See	   Appendix	   F,	   DFPS	   Responses	   to	   Special	   Master	   Questions,	  
                       emailed	   from	   Audrey	   Carmical,	   Esq.	   on	   behalf	   of	   DFPS	   on	  
                       September	  21,	  2017.)	  

The	   Special	   Masters	   do	   not	   have	   enough	   information	   or	   data	   from	   the	   implementation	   of	  
Community	  Based	  Care	  to	  make	  a	  recommendation	  to	  the	  Court.	  	  

	  

	  

	  

	  

	  

	  


	                                                                                                                                            54	  
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                                                            Appendix	  A	  	  
                       List	  of	  Documents	  and	  Resources	  Provided	  to	  the	  Special	  Masters	  	  
                                            by	  Texas	  DFPS,	  as	  Titled	  by	  DFPS	  
                                                                                                                                       	  

	         Document/Resource	  Title	  	  

1	        (Item	  06)	  86505	  Count	  of	  Workers	  Assigned	  to	  Children	  entering	  PMC	  	  

2	        1.	  Casa	  Portal	  

3	        11.	  and	  12.	  Job	  Description	  CPS	  CVS	  Supervisor	  I	  

4	        13.	  Caseworker	  Ratio	  

5	        17.	  Job	  Description	  I	  See	  You	  Workers	  Spec	  II-­‐IV	  

6	        18.	  Children	  Assigned	  to	  I	  See	  You	  Workers	  on	  June	  30	  2016	  DRIT	  80252	  

7	        19.	  RCCL	  Workload	  Study	  

8	        1CSA_CategoriesofSexualAggressionStoryboard.pdf	  

9	        2.	  Portal	  

10	       20.	  and	  22.	  Job	  Description	  RCCL	  Investigator	  

11	       2015	  CPS	  Substitute	  Care	  Exec	  Summary	  

12	       2015	  CPS	  Substitute	  Care	  Exec	  Summary	  Attachment	  B	  

13	       2016-­‐10	  SDM	  FSNA	  for	  CVS	  FBSS	  FAQs	  

14	       21.	  and	  23.	  Job	  Description	  RCCL	  Inspector	  

15	       2282cx.2016	  Contract	  

16	       24	  hour	  plan	  White	  2-­‐23-­‐17	  

17	       24.	  RCCL	  Worker	  Assignments	  80128	  

18	       25.	  Investigations	  of	  Maltreatment	  in	  Care	  

19	       26.	  Overview	  of	  RCL	  BSD	  

20	       26.	  RCCL	  Training	  Narrative	  Response	  

21	       2613	  PAL	  Programmatic	  Quality	  Monitoring	  Tool	  Life	  Skills	  Training	  Satisfaction	  Surveys	  



	                                                                                                                                55	  
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22	      27.	  RCCL	  Investigation	  Details	  

23	      28.	  RCCL	  Regulatory	  Action	  

24	      29.	  RCCL	  Investigations	  QA	  

25	      2CSA_CSAinCVSStoryboard.pdf	  

26	      30.	  Child-­‐on-­‐Child	  Sexual	  Contact	  Referral	  

27	      31.	  Placement	  Needs	  Assessment	  

28	      32.	  DFPS	  Service	  Levels	  

29	      33.	  35	  Single	  Child	  Homes	  

30	      36.	  Residential	  Facilities	  and	  Placements	  

31	      37.	  FCR	  Helps	  Grow	  Capacity	  

32	      39.	  and	  40.	  Amended-­‐Children	  in	  Foster	  Group	  Homes	  on	  2016-­‐7-­‐31	  All	  Group	  Homes	  ID	  
          Only	  

33	      4.	  SSCC	  Access	  to	  IMPACT	  

34	      41.	  PAL	  

35	      43.	  CSA	  

36	      44.	  Emancipating	  Youth	  

37	      45.	  Avg	  Daily	  Child	  Count	  FY16	  

38	      47.	  Tablet	  Computers	  

39	      49.	  Establish	  an	  Equivalent	  Work	  Experience	  Qualification	  Option	  for	  CPS	  

40	      4CSA_CSAwithRCCL_Storyboard.pdf	  

41	      5.	  FCR	  

42	      50.	  Mentor	  Handbook	  

43	      51.	  ESS	  

44	      52.	  Training	  

45	      53.	  PMU	  Rule	  Out	  Casereading	  Plan	  



	                                                                                                                                       56	  
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46	      53.	  RC	  Rule	  Out	  Casereading	  2016	  Survey	  

47	      54.	  Section	  7000	  EF	  Revisions	  07	  25	  16	  Draft	  

48	      55.	  FY16	  Standard	  Amendment	  

49	      57.	  (RCCL	  proposed	  rule	  change)	  

50	      58.	  Survey	  

51	      59.	  Placement	  Portal	  Best-­‐Case	  Training	  

52	      5CSA_CSAinKin.pdf	  

53	      60.	  RCCL	  Transition	  Timeframe	  

54	      6CSA_PlacementProtocols.pdf	  

55	      7.	  CVS	  Workers	  with	  Mixed	  Caseloads	  2016-­‐7-­‐31	  DRIT	  80253	  

56	      8.	  CVS	  Worker	  Caseload	  2016-­‐7-­‐31	  DRIT	  80254	  

57	      86214	  CY2016	  PMC	  Children	  Call	  SWI	  

58	      9.	  and	  10.	  Job	  Description	  CPS	  Conservatorship	  Worker	  

59	      9010	  PAL	  AC	  Monitoring	  Tool	  Fee	  for	  Service	  

60	      9010	  PAL	  Monitoring	  Tool	  Fee	  for	  Service	  

61	      9040	  Fiscal	  Monitoring	  Tool	  

62	      ADO	  ITP	  Nov	  16	  

63	      Adolescent	  Immunization	  Schedule	  7	  through	  18	  years	  old	  2014.pdf	  

64	      Adult	  Immunization	  Schedule	  Adults	  2014.pdf	  

65	      Aging	  Out	  Seminar	  Curriculum	  Outline.pdf	  

66	      Aging	  Out	  Seminar	  Evaluation.pdf	  

67	      Aging	  Out	  Seminar	  List	  of	  Handouts	  for	  Youth.pdf	  

68	      Almost	  18	  2558.pdf	  

69	      American	  Academy	  of	  Pediatrics	  “Fostering	  Health:	  	  Healthcare	  for	  Children	  and	  
          Adolescents	  in	  Foster	  Care”	  	  



	                                                                                                                           57	  
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70	      April	  2017	  FGH	  List	  

71	      Attachment	  A	  

72	      Attachment	  B	  

73	      Attachment	  to	  DFPS	  Memorandum	  Incidents	  Involving	  Child	  Victimization	  In	  Foster	  Care	  
          07.01.13.pdf	  

74	      Attachment	  to	  DFPS	  Memorandum	  re	  Aging	  Out	  Seminar	  Revisions	  11.18.13.pdf	  

75	      August	  2017	  FGH	  List	  

76	      CANS	  Resource	  Guide	  

77	      Caseload	  Manageability	  

78	      Casey	  Life	  Skills	  Assessment	  

79	      Catch-­‐up	  Immunization	  Schedule	  Ages	  4	  months	  to	  18	  years	  old.pdf	  

80	      CCL	  BGC	  

81	      CFRP	  Evaluation_Final	  Report_121616.pdf	  

82	      CFSR	  Item	  14	  guide	  instructions.pdf	  

83	      Child	  Immunization	  Schedule	  Birth	  to	  6	  years	  old	  2014.pdf	  

84	      Child	  Sexual	  Aggression	  Resource	  Guide	  

85	      Children	  and	  Foster	  Group	  Homes	  as	  of	  2017-­‐03-­‐23	  

86	      Children	  in	  Homes	  

87	      Children	  Without	  Placement	  FY17	  through	  July	  2017	  2	  

88	      Childrens	  Case	  Files	  

89	      Circles	  of	  Support	  and	  Transition	  Planning	  

90	      College	  Tuition	  and	  Fee	  Waiver	  

91	      Common	  App	  Blank	  

92	      Common	  Application	  for	  Placement	  of	  Children	  in	  Residential	  Care	  

93	      Complaints	  



	                                                                                                                          58	  
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94	      Computer	  Based	  Training	  Part	  II	  re	  Serious	  Incidents	  Involving	  Foster	  Children.pdf	  

95	      Context	  for	  6	  and	  11	  

96	      Copy	  of	  83120	  Data	  about	  Children	  in	  Subcare	  January	  31	  2017	  Releasable	  

97	      Copy	  of	  83298	  Data	  about	  Children	  in	  Subcare	  January	  31	  2017	  (004)	  

98	      Copy	  of	  d84414	  PMC	  Children	  Items	  32-­‐35	  

99	      Copy	  of	  d84421	  PMC	  INVs	  CPS	  Final	  053117	  (002)	  

100	     Copy	  of	  d84422	  PMC	  Kids	  alleged	  child	  child	  SXAB	  Items	  26	  27	  

101	     Copy	  of	  Fatalities	  Children	  in	  CVS	  2015	  (From	  ft_02cslx)	  

102	     Copy	  of	  Fatalities	  Children	  in	  CVS	  2016	  (From	  ft_02cslx)	  

103	     Corrective	  Actions	  

104	     Court	  Appointed	  Special	  Advocates	  to	  SSCC	  Access	  to	  IMPACT	  Information	  

105	     CPA	  MS	  for	  Religious	  Practice	  

106	     CPAs	  religious	  affirmation	  

107	     CPD	  CVS	  Competencies	  Training	  Day	  1	  

108	     CPD	  CVS	  Competencies	  Training	  Day	  2	  

109	     CPD	  CVS	  Competencies	  Training	  Day	  2	  Feb	  17.pdf	  

110	     CPD	  CVS	  Competencies	  Training	  Day	  3	  

111	     CPD	  CVS	  Competencies	  Training	  Day	  4	  

112	     CPS	  Fiscal	  Year	  2017	  Business	  Plan	  

113	     CPS	  History	  the	  Search	  is	  On	  

114	     CPS	  Nurse	  Scope	  of	  Work.pdf	  

115	     CPS	  Overview	  &	  Transformation	  

116	     CPS	  Placement	  Process	  Resource	  Guide	  

117	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  1	  Day	  1	  

118	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  1	  Day	  2	  


	                                                                                                                               59	  
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119	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  1	  Day	  3	  

120	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  1	  Day	  4	  

121	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  1	  Day	  5	  

122	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  2	  Day	  1	  

123	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  2	  Day	  2	  

124	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  2	  Day	  3	  

125	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  2	  Day	  4	  

126	     CPS	  Professional	  Development	  Core	  Competencies	  Training	  Week	  2	  Day	  5	  

127	     CPS	  Rights	  of	  Children	  and	  Youth	  in	  Foster	  Care	  

128	     CPS_Intake_Guidelines.pdf	  

129	     CSA	  screenshot	  

130	     CVS	  Caseworker	  Caseloads	  

131	     CVS	  Contact	  Narrative.pdf	  

132	     CVS	  CW	  vacancies	  as	  of	  1_31_17_for	  Dist.pdf	  

133	     CVS	  ITP	  Nov	  16	  

134	     CVS	  required	  FTE.pdf	  

135	     CVS	  Required	  Monthly	  Contact.pdf	  

136	     CVS	  Worker	  Turnover	  

137	     d84421	  PMC	  INVs	  LIC	  Final	  053117	  

138	     DFPS	  Accessing	  Personal	  Documents	  for	  Youth	  Resource	  Guide	  

139	     DFPS	  CCL	  Website	  	  

140	     DFPS	  Child	  Adolescent	  Needs	  and	  Strengths	  Assessment	  (CANS)	  Web	  Page	  

141	     DFPS	  Compensation	  Assessment	  and	  Employee	  Incentive	  Review-­‐Appendices-­‐H.L.	  
          Whitman	  02-­‐23-­‐17	  

142	     DFPS	  Compensation	  Assessment	  and	  Employee	  Incentive	  Review-­‐Cover	  Letter-­‐H.L.	  
          Whitman	  02-­‐23-­‐17	  


	                                                                                                                    60	  
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143	     DFPS	  Compensation	  Assessment	  and	  Employee	  Incentive	  Review-­‐Executive	  Summary-­‐
          H.L.	  Whitman	  02-­‐23-­‐17	  

144	     DFPS	  Compensation	  Assessment	  and	  Employee	  Incentive	  Review-­‐Formal	  Report-­‐H.L.	  
          Whitman	  02-­‐23-­‐17	  

145	     DFPS	  Continuous	  Self	  Improvement	  Plan	  February	  2017—	  CLEAN	  COPY.pdf	  

146	     DFPS	  Foster	  and	  Licensed	  Facility	  Placements	  Resource	  Guide	  

147	     DFPS	  FY2016	  human	  trafficking	  annual	  report	  

148	     DFPS	  Health	  Passport	  –	  A	  Guide	  to	  Medical	  Services	  at	  CPS	  

149	     DFPS	  HT	  efforts	  

150	     DFPS	  Improvement	  Plan	  Cover	  Letter	  6	  22	  16.pdf	  

151	     DFPS	  Memorandum	  Incidents	  Involving	  Child	  Victimization	  in	  Foster	  Care	  07.01.13.pdf	  

152	     DFPS	  Memorandum	  re	  Aging	  Out	  Seminar	  Revisions	  11.18.13.pdf	  

153	     DFPS	  Placement	  Process	  Resource	  Guide	  	  

154	     DFPS	  Requests	  

155	     DFPS	  Response	  10	  

156	     DFPS	  Response	  12	  

157	     DFPS	  Response	  5	  

158	     DFPS	  Rider	  36	  Parental	  Child	  Safety	  Placements	  Study-­‐Final-­‐12-­‐21-­‐16	  

159	     DFPS	  Rider	  9-­‐Human	  Resources	  Management	  Plan-­‐(Final)-­‐Whitmore	  06-­‐1-­‐17	  

160	     DFPS	  Rider	  9-­‐Human	  Resources	  Management	  Plan-­‐Memo-­‐Blackmore	  05-­‐31-­‐17	  

161	     DFPS	  Senate	  Bill	  769	  Foster	  Parent	  Pilot	  Program	  Report	  2016-­‐Final-­‐12-­‐01-­‐16	  

162	     DFPS	  Services	  to	  Children	  in	  Substitute	  Care	  Resource	  Guide	  

163	     DFPS	  Supporting	  Kinship	  Families	  Report	  -­‐Final	  12-­‐29-­‐16	  

164	     DFPSDatabook2015.pdf	  

165	     Duranstorie	  Health	  Care	  Service	  Plans.pdf	  

166	     Education	  and	  Training	  Voucher	  


	                                                                                                                             61	  
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167	     EF	  Facilitator	  Guide	  –	  FINAL	  2016	  0729.pdf	  

168	     EF	  PG	  Enforcement	  Frame	  Final	  2016	  0727.pdf	  

169	     Employment	  Preference	  for	  Former	  Foster	  Youth	  

170	     Enforcement	  Framework	  PPT	  –	  FINAL.pdf	  

171	     Enforcement	  Framework	  RC	  ACTIVITY.pdf	  

172	     Enforcement	  Implementation	  Dates.pdf	  

173	     FACN	  CPS	  Memo	  10-­‐2016.pdf	  

174	     FACN	  DFPS	  Delivers	  Article.pdf	  

175	     FACN	  Provider	  Scope	  of	  Work.pdf	  

176	     FACN	  Resource	  Guide	  June2016.pdf	  

177	     FAD	  ITP	  Nov	  16	  

178	     Family	  Strengths	  Photo	  Activity	  PV-­‐FSW	  Core	  6	  8	  16	  

179	     FC231b_CSA	  Flow	  Chart.pdf	  

180	     FCCOE_transformation_impact_fn.pdf	  

181	     Field	  Communication.pdf	  	  

182	     Field	  II	  Service	  Level	  Placement	  Referrals	  and	  Pre-­‐placement	  Visits	  

183	     Field	  III	  Locating	  Families	  and	  Cooperation	  with	  LE	  

184	     Final	  2016	  Alliance	  Conference.pdf	  

185	     Final	  ISY	  CVS	  Safety	  Summit.pdf	  

186	     Follow-­‐up	  from	  5	  3	  demo	  

187	     Form	  2279	  

188	     Foster	  Care	  Center	  of	  Excellence	  Handout.pdf	  

189	     Foster	  Care	  Redesign	  

190	     Foster	  Group	  Homes	  

191	     FSNA	  CVS	  Child	  Priorities	  


	                                                                                                            62	  
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192	     FSNA	  CVS	  Family	  FSNA	  

193	     FSNA	  CVS	  Job	  Aid	  (1)	  

194	     FSNA	  FBSS	  Family	  

195	     FY16	  Buckner	  9010PAL	  

196	     Grid	  Items	  1	  to	  4	  Kevin	  Ryan	  6.27.16	  

197	     GRO	  MS	  for	  Religious	  Practice	  

198	     Handling	  DCL	  and	  RCCL	  Situations	  Chart.pdf	  

199	     Handling_DCL_and_RCCL_Situations.pdf	  

200	     HB	  2725	  

201	     HB	  6	  Introduced	  Bill.pdf	  

202	     Health	  Passport	  

203	     Health	  Passport	  Quarterly	  Reporting	  

204	     HHSC	  Item	  4.pdf	  

205	     Higher	  Education	  Information	  &	  Resources	  for	  Current	  and	  Former	  Foster	  Youth	  

206	     Home_Tracking.pdf	  

207	     HT	  All	  Staff	  Training	  

208	     Human	  Trafficking	  

209	     IMPACT	  Phase	  2	  –	  Current	  Scope	  –	  20170306.pdf	  

210	     Intro	  to	  IMPACT	  and	  Technology	  Skills	  Lab	  Version	  1.2	  

211	     ISY	  and	  CPU-­‐Special	  Master	  Presentation	  

212	     ISY	  ITP	  Nov	  16	  

213	     Item	  10.docx	  

214	     Item	  11	  

215	     Item	  12.docx	  

216	     Item	  13	  


	                                                                                                                         63	  
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217	     Item	  13.docx	  

218	     Item	  14.docx	  

219	     Item	  15.pdf	  

220	     Item	  16.pdf	  

221	     Item	  17	  

222	     Item	  17.docx	  

223	     Item	  8-­‐-­‐Policy	  sections.docx	  

224	     Item	  9.docx	  

225	     J.V.	  Placement	  Log	  

226	     July	  2017	  FGH	  List	  

227	     June	  2017	  FGH	  List	  

228	     K-­‐908-­‐2602	  Life	  Skills	  Training	  Observation	  Template	  

229	     K-­‐908-­‐2614	  PAL	  Programmatic	  Quality	  Monitoring	  Tool	  Case	  Mgt	  and	  Aftercare	  

230	     K-­‐908-­‐2615	  PAL	  Programmatic	  Quality	  Monitoring	  Tool	  Life	  Skills	  Training	  

231	     K-­‐908-­‐2616	  PAL	  Programmatic	  Quality	  Monitoring	  Tool	  Case	  Mgt	  and	  Aftercare	  

232	     KIN	  ITP	  Nov	  16	  

233	     Legal	  Representation	  

234	     Licensing	  Policy	  and	  Procedures	  Handbook	  Excerpts.pdf	  

235	     List	  of	  Placement	  Moves	  3-­‐31-­‐17	  

236	     LPPH	  Safety	  Plans	  

237	     ManagersOnboardingforNewHireandRehireChecklist.pdf	  

238	     Manual	  Para	  Jóvenes	  Sobre	  El	  Cuidado	  Temporal	  En	  Texas	  

239	     Manual_Assignment_Charts.pdf	  

240	     May	  2017	  FGH	  List	  

241	     Medicaid	  Benefits	  Handout	  


	                                                                                                                        64	  
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242	     Medical	  Benefits	  Section	  

243	     Minimum	  Standards	  for	  SWI	  hotline	  and	  ANE	  reporting.pdf	  

244	     Module	  5	  CCL	  Investigation	  Workflow.pdf	  

245	     MS	  for	  Trafficking	  

246	     Number	  6	  Blue	  Phones	  

247	     Nurse	  Job	  description	  FT.pdf	  

248	     NYTD	  Supporting	  Info	  

249	     October	  2017	  FGH	  List	  

250	     Ombudsman	  Brochure	  for	  Foster	  Care	  Youth	  

251	     Ombudsman-­‐for-­‐Children-­‐and-­‐Youth-­‐in-­‐Foster-­‐Care	  

252	     PAL	  Contract	  Monitoring	  Fees	  

253	     PDF	  of	  2016	  RC	  Title	  IV-­‐E	  Casereading	  Survey	  3.10.16	  

254	     Person	  Characteristics	  

255	     Personal	  Documents	  

256	     Personal	  Documents	  Checklist	  Age	  16.pdf	  

257	     Personal	  Documents	  Checklist	  Age	  18.pdf	  

258	     Placement	  Array	  

259	     Placement	  Listings	  Report	  7-­‐25-­‐17	  

260	     Placement	  Listings	  Report	  7-­‐27-­‐17	  

261	     Placement	  Moves	  SAMPLE	  (50)	  

262	     Placement	  Process	  Resource	  Guide	  

263	     Placement	  Service	  Levels	  and	  Sleep	  Space	  

264	     Plaintiff	  Children	  Placement	  Moves	  3-­‐31-­‐17	  

265	     PMU	  Reads	  

266	     PMU	  Review	  of	  RCCL	  Investigations	  March	  2016-­‐updated	  6.20.16	  


	                                                                                                  65	  
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267	     PMU	  Review	  of	  RCCL	  Investigations	  March	  2016-­‐updated	  6.20.16	  for	  CCL	  Staff	  

268	     PMU	  Review	  of	  Ruled	  Out	  Investigations	  in	  the	  Residential	  Care	  Program….pdf	  

269	     Policy	  Changes	  Highlighted.pdf	  	  

270	     Preparation	  for	  Adult	  Living	  

271	     Preparing_Youth_for_Life_after_High_School.pdf	  

272	     Primary_Medical_Needs_Resource_Guide.pdf	  

273	     Purpose	  Field	  for	  Med	  Assessment	  Tab.pdf	  

274	     Q1-­‐14	  CVS	  All	  Region	  Item	  Outcome	  

275	     Q1-­‐15	  CVS	  All	  Region	  Item	  Outcome	  

276	     Q1-­‐16	  CVS	  All	  Region	  Item	  Outcome	  

277	     Q2-­‐14	  CVS	  All	  Region	  Item	  Outcome	  

278	     Q2-­‐15	  CVS	  All	  Region	  Item	  Outcome	  

279	     Q2-­‐16	  CVS	  All	  Region	  Item	  Outcome	  Summary	  

280	     Q3-­‐14	  CVS	  All	  Region	  Item	  Outcome	  

281	     Q3-­‐15	  CVS	  All	  Region	  Item	  Outcome	  

282	     Q4-­‐14	  CVS	  All	  Region	  Item	  Outcome	  

283	     Q4-­‐15	  CVS	  All	  Region	  Item	  Outcome	  

284	     Question	  13	  -­‐	  DFPS	  Accessing	  Personal	  Documents	  for	  Youth	  Resource	  Guide.pdf	  

285	     Question	  13	  -­‐	  DFPS	  Residential	  Child	  Care	  Contracting	  Guide.pdf	  

286	     Question	  13	  -­‐	  SHP_2014785A-­‐Clinical-­‐Health-­‐Passport-­‐User-­‐Guide-­‐P-­‐01062015.pdf	  

287	     Question	  13	  -­‐	  SHP_2014785B-­‐Non-­‐Clinical-­‐Health-­‐Passport-­‐User-­‐Guide-­‐P-­‐01062015-­‐
          3.pdf	  

288	     Question	  43	  Notes.pdf	  

289	     Question	  43.pdf	  

290	     RC	  Rule	  Out	  Casereading	  2016	  Survey	  



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291	     RCCL	  CSA	  Training_FINAL.pdf	  

292	     RCCL	  Training	  Information.pdf	  

293	     RCCL_Intake_Guidelines.pdf	  

294	     Req1_2	  Fatalities	  Children	  in	  CVS	  2017	  Preliminary	  

295	     Residential	  Child	  Care	  Contract	  excerpt	  re	  discipline	  and	  notifications.pdf	  

296	     Residential	  Child	  Care	  Contract.pdf	  

297	     Response	  8	  Summary	  

298	     Rider	  15	  Minority	  Child	  Removal	  Report-­‐Final-­‐DFPS	  10-­‐12-­‐16	  

299	     Rider	  37	  Collaborative	  Family	  Engagement	  Report-­‐12-­‐01-­‐16	  

300	     Safety	  Card.pdf	  

301	     Safety_Visit_Resource_Guide.pdf	  

302	     SB	  11	  Engrossed	  Bill.pdf	  

303	     SB	  206	  Youth	  Parents	  and	  Pregnant	  Youth	  in	  DFPS	  Conservatorship	  FY16	  Report	  (Final)	  
          01-­‐30-­‐17	  (002)	  

304	     sb368	  permanency	  planning	  family	  based	  alternatives-­‐july	  2017	  (002)	  

305	     SDM	  TX	  FSNA	  Manual	  

306	     sdm-­‐fsna-­‐CPD	  Training	  

307	     September	  2017	  FGH	  List	  

308	     Serious	  Incidents	  Involving	  Foster	  Children	  Part	  2	  Participant	  Guide.pdf	  

309	     Serious	  Incidents	  Involving	  Foster	  Children	  Part	  2	  Training.pdf	  

310	     Serious	  Incidents	  Involving	  Foster	  Children	  Part	  2.pdf	  

311	     Serious_Incidents_Involving_Foster_Children_032017.pdf	  

312	     Services	  for	  Youth	  and	  Young	  Adults	  

313	     Services	  to	  Children	  in	  Substitute	  Care	  Resource	  Guide	  

314	     Short	  Common	  Application	  2087ex.pdf	  



	                                                                                                                                  67	  
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315	     SHP_20163827_THSteps-­‐Informational-­‐Flyer-­‐P-­‐01102017.pdf	  

316	     SHP_20163862-­‐THSteps-­‐New-­‐Member-­‐Flyer-­‐M-­‐EN-­‐ES-­‐01122017.pdf	  

317	     SHP_20173907-­‐Foster-­‐Care-­‐Center-­‐of-­‐Excellence-­‐	  STCPC	  Template01172017.pdf	  

318	     Single	  Child	  Foster	  Homes	  

319	     SM	  Demo	  Follow	  Up_narrative_5.11.17.pdf	  

320	     SM	  Demo	  Follow-­‐up	  Narrative	  5-­‐11-­‐17	  

321	     SM	  Demo	  Follow-­‐up	  Narrative	  5-­‐12-­‐17	  

322	     SM	  Demo	  Follow-­‐up	  Narrative	  5-­‐15-­‐17	  

323	     snagit1.png	  

324	     snagit2.png	  

325	     snagit3.png	  

326	     snagit4.png	  

327	     STAR	  Health	  –	  A	  Guide	  to	  Medical	  Services	  at	  CPS	  

328	     STAR	  Health	  Member	  Handbook	  	  

329	     Statewide	  Intake	  Hotline	  Reports	  and	  Investigations	  04.10.17.pdf	  

330	     Statewide	  Needs	  Assessment	  

331	     Supervision	  Plans	  2-­‐2-­‐17	  

332	     Temporary	  Housing	  Assistance	  

333	     Texas	  Foster	  Care	  Handbook	  for	  Youth	  

334	     Texas	  Health	  Steps	  Periodicity.pdf	  

335	     Texas	  Youth	  Connection	  (Website	  and	  Facebook	  Page)	  

336	     Texas_Health_Steps_Information_Kinship.pdf	  

337	     THSteps	  1	  Page	  Caring	  for	  Children	  in	  Foster	  Care	  in	  the	  First	  30	  Days.pdf	  

338	     Tracking	  Inappropriate	  Sexual	  Behavior	  

339	     Transitional	  Living	  


	                                                                                                                                68	  
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340	     Transitional	  Living	  Services	  Handout	  

341	     TX	  Foster	  Care	  Needs	  Assessment.pdf	  

342	     TX	  NYTD	  FY11-­‐15	  Data	  Snapshot	  2.8.16	  

343	     What	  assessments	  does	  a	  child	  receive	  CHART	  2017.pdf	  

344	     Wilson	  Medical	  Assessment	  Log	  IMPACT.pdf	  

345	     Wilson	  Medical	  Visits	  Health	  Passport.pdf	  

346	     wilson	  placement	  narrative.pdf	  

347	     WMS	  Overview	  

348	     Workload	  Study	  Questions	  

349	     zuniga	  PMUR.pdf	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  
	  


                                                                      	  
                                                                      	  

	                                                                                        69	  
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                                                Appendix	  A	  Continued	  
                                      List	  of	  Policies	  Provided	  by	  Texas	  DFPS	  
                                                                                                                                                            	  

                    Policy	  Source	                       Policy	  Reference	  	                                   Policy	  Title	  
        Preventing	  Sex	  Trafficking	  and	     113th	  Congress	  Public	  
1	     Strengthening	  Families	  Act	  of	      Law	  113-­‐183,	  Title	  I,	           	  	  
        2014	  (H.R.	  4980)	                      Subtitle	  B,	  Section	  114	  
                                                      Title	  40,	  Part	  19,	  Chapter	     	  In	  what	  kinds	  of	  settings	  may	  a	  
2	     Texas	  Administrative	  Code	             700,	  Subchapter	  M,	                   child	  in	  DFPS	  conservatorship	  be	  
                                                      Division	  1,	  Rule	  700.1307	         placed?	  
                                                                                                   	  What	  factors	  does	  DFPS	  consider	  
                                                      Title	  40,	  Part	  19,	  Chapter	  
                                                                                                   when	  selecting	  the	  most	  
3	     Texas	  Administrative	  Code	             700,	  Subchapter	  M,	  
                                                                                                   appropriate	  living	  arrangement	  for	  a	  
                                                      Division	  1,	  Rule	  700.1309	  
                                                                                                   child?	  
                                                                                                   	  What	  are	  DFPS's	  responsibilities	  for	  
                                                      Title	  40,	  Part	  19,	  Chapter	  
                                                                                                   ensuring	  appropriate	  medical	  care	  
4	     Texas	  Administrative	  Code	             700,	  Subchapter	  M,	  
                                                                                                   for	  children	  in	  DFPS	  
                                                      Division	  1,	  Rule	  700.1329	  
                                                                                                   conservatorship?	  
                                                      Title	  40,	  Part	  19,	  Chapter	     	  What	  are	  DFPS’s	  responsibilities	  
5	     Texas	  Administrative	  Code	             700,	  Subchapter	  M,	                   relating	  to	  discipline	  of	  a	  child	  in	  
                                                      Division	  1,	  Rule	  700.1331	         DFPS	  conservatorship?	  

                                                      Title	  40,	  Part	  19,	  Chapter	     	  What	  are	  the	  responsibilities	  of	  the	  
6	     Texas	  Administrative	  Code	             700,	  Subchapter	  E,	                   DFPS	  in	  receiving	  reports	  of	  child	  
                                                      Division	  1,	  Rule	  700.479	          abuse	  or	  neglect?	  

                                                      Title	  40,	  Part	  19,	  Chapter	  
                                                                                                   	  Priorities	  for	  Reports	  of	  Abuse	  and	  
7	     Texas	  Administrative	  Code	             700,	  Subchapter	  E,	  
                                                                                                   Neglect	  
                                                      Division	  1,	  Rule	  700.505	  

                                                      Title	  40,	  Part	  19,	  Chapter	  
                                                                                                   	  Response	  to	  Allegations	  of	  Abuse	  or	  
8	     Texas	  Administrative	  Code	             700,	  Subchapter	  E,	  
                                                                                                   Neglect	  
                                                      Division	  1,	  Rule	  700.507	  

                                                      Title	  40,	  Part	  19,	  Chapter	  
                                                                                                   	  Disposition	  of	  the	  Allegations	  of	  
9	     Texas	  Administrative	  Code	             700,	  Subchapter	  E,	  
                                                                                                   Abuse	  or	  Neglect	  
                                                      Division	  1,	  Rule	  700.511	  




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                      Policy	  Source	              Policy	  Reference	  	                                  Policy	  Title	  
                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  Standards	  for	  Investigators	  of	  Child	  
10	     Texas	  Administrative	  Code	     700,	  Subchapter	  E,	  
                                                                                            Abuse	  
                                               Division	  1,	  Rule	  700.519	  

                                               Title	  40,	  Part	  19,	  Chapter	     	  Can	  I	  apply	  for	  another	  permit	  after	  
11	     Texas	  Administrative	  Code	     745,	  Subchapter	  D,	                   Licensing	  denies	  or	  revokes	  my	  
                                               Division	  9,	  Rule	  745.403	          permit?	  

                                               Title	  40,	  Part	  19,	  Chapter	     	  In	  what	  other	  circumstances	  may	  a	  
12	     Texas	  Administrative	  Code	     745,	  Subchapter	  G,	  Rule	           person	  not	  serve	  as	  a	  controlling	  
                                               745.911	                                    person	  at	  my	  operation?	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  are	  the	  requirements	  for	  my	  
13	     Texas	  Administrative	  Code	     748,	  Subchapter	  C,	  
                                                                                            personnel	  policies	  and	  procedures?	  
                                               Division	  1,	  Rule	  748.105	  

                                               Title	  40,	  Part	  19,	  Chapter	     	  May	  children	  receiving	  different	  
14	     Texas	  Administrative	  Code	     748,	  Subchapter	  I,	                   types	  of	  service	  live	  in	  the	  same	  
                                               Division	  1,	  Rule	  748.1201	         living	  quarters?	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  information	  must	  I	  document	  
15	     Texas	  Administrative	  Code	     748,	  Subchapter	  I,	  
                                                                                            in	  the	  child's	  record	  at	  admission?	  
                                               Division	  1,	  Rule	  748.1205	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  abuse	  and	  neglect	  policies	  
16	     Texas	  Administrative	  Code	     748,	  Subchapter	  C,	  
                                                                                            must	  I	  develop?	  
                                               Division	  1,	  Rule	  748.121	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  general	  responsibilities	  do	  all	  
17	     Texas	  Administrative	  Code	     749,	  Subchapter	  E,	  
                                                                                            employees	  have?	  
                                               Division	  1,	  Rule	  748.507	  

                                               Title	  40,	  Part	  19,	  Chapter	     	  What	  curriculum	  components	  must	  
18	     Texas	  Administrative	  Code	     748,	  Subchapter	  F,	                   be	  included	  in	  the	  general	  pre-­‐
                                               Division	  4,	  Rule	  748.881	          service	  training?	  

                                               Title	  40,	  Part	  19,	  Chapter	  
19	     Texas	  Administrative	  Code	     749,	  Subchapter	  H,	                   	  Who	  may	  I	  admit?	  
                                               Division	  1,	  Rule	  749.1101	  




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                      Policy	  Source	              Policy	  Reference	  	                                   Policy	  Title	  
                                               Title	  40,	  Part	  19,	  Chapter	     	  What	  information	  must	  I	  document	  
20	     Texas	  Administrative	  Code	     749,	  Subchapter	  H,	                   in	  the	  child's	  record	  at	  the	  time	  of	  
                                               Division	  1,	  Rule	  749.1107	         admission?	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  are	  the	  medical	  requirements	  
21	     Texas	  Administrative	  Code	     749,	  Subchapter	  H,	  
                                                                                            when	  I	  admit	  a	  child	  into	  care?	  
                                               Division	  3,	  Rule	  749.1151	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  are	  the	  dental	  requirements	  
22	     Texas	  Administrative	  Code	     749,	  Subchapter	  H,	  
                                                                                            when	  I	  admit	  a	  child	  into	  care?	  
                                               Division	  3,	  Rule	  749.1153	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  are	  the	  requirements	  for	  a	  
23	     Texas	  Administrative	  Code	     749,	  Subchapter	  I,	  
                                                                                            preliminary	  service	  plan?	  
                                               Division	  1,	  Rule	  749.1301	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  When	  must	  I	  complete	  an	  initial	  
24	     Texas	  Administrative	  Code	     749,	  Subchapter	  I,	  
                                                                                            service	  plan?	  
                                               Division	  1,	  Rule	  749.1307	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  must	  a	  child’s	  initial	  service	  
25	     Texas	  Administrative	  Code	     749,	  Subchapter	  I,	  
                                                                                            plan	  include?	  
                                               Division	  1,	  Rule	  749.1309	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  When	  must	  I	  implement	  a	  service	  
26	     Texas	  Administrative	  Code	     749,	  Subchapter	  I,	  
                                                                                            plan?	  
                                               Division	  1,	  Rule	  749.1323	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  How	  often	  must	  I	  review	  and	  
27	     Texas	  Administrative	  Code	     749,	  Subchapter	  I,	  
                                                                                            update	  a	  service	  plan?	  
                                               Division	  2,	  Rule	  749.1331	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  How	  do	  I	  review	  and	  update	  a	  
28	     Texas	  Administrative	  Code	     749,	  Subchapter	  I,	  
                                                                                            service	  plan?	  
                                               Division	  2,	  Rule	  749.1335	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  abuse	  and	  neglect	  policies	  
29	     Texas	  Administrative	  Code	     749,	  Subchapter	  C,	  
                                                                                            must	  I	  develop?	  
                                               Division	  1,	  Rule	  749.135	  




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                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  information	  must	  I	  obtain	  for	  
30	     Texas	  Administrative	  Code	     749,	  Subchapter	  M,	  
                                                                                            the	  foster	  home	  screening?	  
                                               Division	  2,	  Rule	  749.2447	  

                                               Title	  40,	  Part	  19,	  Chapter	     	  Whom	  must	  I	  interview	  when	  
31	     Texas	  Administrative	  Code	     749,	  Subchapter	  M,	                   conducting	  a	  foster	  home	  
                                               Division	  2,	  Rule	  749.2449	         screening?	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  must	  I	  do	  to	  verify	  a	  foster	  
32	     Texas	  Administrative	  Code	     749,	  Subchapter	  M,	  
                                                                                            home?	  
                                               Division	  3,	  Rule	  749.2471	  

                                               Title	  40,	  Part	  19,	  Chapter	     	  What	  information	  must	  I	  submit	  to	  
33	     Texas	  Administrative	  Code	     749,	  Subchapter	  M,	                   Licensing	  about	  a	  foster	  home's	  
                                               Division	  3,	  Rule	  749.2489	         verification	  status?	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  May	  a	  foster	  home	  exceed	  its	  
34	     Texas	  Administrative	  Code	     749,	  Subchapter	  M,	  
                                                                                            verified	  capacity?	  
                                               Division	  5,	  Rule	  749.2557	  

                                               Title	  40,	  Part	  19,	  Chapter	     	  When	  must	  I	  evaluate	  a	  foster	  
35	     Texas	  Administrative	  Code	     749,	  Subchapter	  N,	  Rule	           home	  for	  compliance	  with	  Licensing	  
                                               749.2801	                                   rules?	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  do	  certain	  words	  and	  terms	  
36	     Texas	  Administrative	  Code	     749,	  Subchapter	  B,	  
                                                                                            mean	  in	  this	  chapter?	  
                                               Division	  1,	  Rule	  749.43	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  When	  must	  I	  report	  and	  document	  
37	     Texas	  Administrative	  Code	     749,	  Subchapter	  D,	  
                                                                                            a	  serious	  incident?	  	  
                                               Division	  1,	  Rule	  749.503	  

                                               Title	  40,	  Part	  19,	  Chapter	  
                                                                                            	  What	  general	  responsibilities	  do	  all	  
38	     Texas	  Administrative	  Code	     749,	  Subchapter	  E,	  
                                                                                            employees	  and	  caregivers	  have?	  
                                               Division	  1,	  Rule	  749.607	  

                                               Title	  40,	  Part	  19,	  Chapter	     	  What	  curriculum	  components	  must	  
39	     Texas	  Administrative	  Code	     749,	  Subchapter	  F,	                   be	  included	  in	  the	  general	  pre-­‐
                                               Division	  4,	  Rule	  749.881	          service	  training?	  




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                      Policy	  Source	                        Policy	  Reference	  	                                Policy	  Title	  
                                                                                                      	  What	  curriculum	  components	  must	  
                                                         Title	  40,	  Part	  19,	  Chapter	     be	  included	  in	  the	  annual	  training	  
40	     Texas	  Administrative	  Code	               749,	  Subchapter	  F,	                   related	  to	  prevention,	  recognition,	  
                                                         Division	  6,	  Rule	  749.944	          and	  reporting	  on	  child	  abuse	  and	  
                                                                                                      neglect?	  
                                                         Title	  40,	  Part	  19,	  Chapter	  
                                                                                                      	  What	  rights	  does	  a	  child	  in	  care	  
41	     Texas	  Administrative	  Code	               748,	  Subchapter	  H,	  Rule	  
                                                                                                      have?	  
                                                         748.1101(b)(7)	  	  

                                                         Title	  40,	  Part	  19,	  Chapter	  
                                                                                                      	  What	  rights	  does	  a	  child	  in	  care	  
42	     Texas	  Administrative	  Code	               749,	  Subchapter	  G,	  Rule	  
                                                                                                      have?	  
                                                         749.1103(b)(7).	  

                                                         Title	  40,	  Part	  19,	  Chapter	  
43	     Texas	  Administrative	  Code	                                                            	  Inspections	  and	  Investigations	  
                                                         745,	  Subchapter	  K	  	  

                                                         Title	  40,	  Part	  19,	  Chapter	     	  Services	  and	  Benefits	  for	  Transition	  
44	     Texas	  Administrative	  Code	  
                                                         700,	  Subchapter	  P	  	                Planning	  to	  a	  Successful	  Adulthood	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                                Random-­‐Sample	  Monitoring	  of	  CPA	  
45	                                                     Section	  4430	  
         Policy	  and	  Procedures	  Handbook	                                                    Foster	  Homes	  

         Texas	  DFPS	  Child	  Care	  Licensing	  
46	                                                     Section	  6361	                            Time	  Frames	  for	  Initiation	  
         Policy	  and	  Procedures	  Handbook	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                                Minimum	  Requirements	  for	  
47	                                                     Section	  4131	  
         Policy	  and	  Procedures	  Handbook	                                                    Licensed	  Operations	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                                Residential	  Child	  Care:	  Team	  
48	                                                     Section	  4131.2	  
         Policy	  and	  Procedures	  Handbook	                                                    Inspections	  	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                                Additional	  Requirements	  for	  
49	                                                     Section	  4150.4	  
         Policy	  and	  Procedures	  Handbook	                                                    Investigation	  Inspections	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                                Handling	  Resistance	  or	  Refusal	  to	  
50	                                                     Section	  4159	  
         Policy	  and	  Procedures	  Handbook	                                                    allow	  Inspection	  

         Texas	  DFPS	  Child	  Care	  Licensing	  
51	                                                     Section	  6000	                            Investigations	  
         Policy	  and	  Procedures	  Handbook	  

         Texas	  DFPS	  Child	  Care	  Licensing	  
52	                                                     Section	  6100	                            Overview	  of	  Investigations	  
         Policy	  and	  Procedures	  Handbook	  


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         Texas	  DFPS	  Child	  Care	  Licensing	                                        The	  Roles	  of	  the	  Investigator	  and	  
53	                                                     Section	  6120	  
         Policy	  and	  Procedures	  Handbook	                                            the	  Monitoring	  Inspector	  	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        The	  Role	  of	  the	  Supervisor	  in	  All	  
54	                                                     Section	  6131	  
         Policy	  and	  Procedures	  Handbook	                                            Investigations	  	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        The	  Role	  of	  the	  Supervisor	  in	  an	  
55	                                                     Section	  6132	  
         Policy	  and	  Procedures	  Handbook	                                            Abuse	  or	  Neglect	  Investigation	  	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Assessing	  and	  Processing	  Intake	  
56	                                                     Section	  6200	  
         Policy	  and	  Procedures	  Handbook	                                            Reports	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Assessing	  an	  Intake	  Report	  for	  Type	  
57	                                                     Section	  6220	  
         Policy	  and	  Procedures	  Handbook	                                            of	  Investigation	  and	  Priority	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Assessing	  an	  Intake	  Report	  for	  Type	  
58	                                                     Section	  6221	  
         Policy	  and	  Procedures	  Handbook	                                            of	  Investigation	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Intake	  Reports	  to	  Be	  Investigated	  as	  
59	                                                     Section	  6221.1	  
         Policy	  and	  Procedures	  Handbook	                                            Abuse	  and	  Neglect	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Assessing	  an	  Intake	  Report	  for	  
60	                                                     Section	  6222	  
         Policy	  and	  Procedures	  Handbook	                                            Priority	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Classifying	  an	  Intake	  Report	  as	  a	  
61	                                                     Section	  6222.1	  
         Policy	  and	  Procedures	  Handbook	                                            Priority	  1	  Investigation	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Classifying	  an	  Intake	  Report	  as	  a	  
62	                                                     Section	  6222.2	  
         Policy	  and	  Procedures	  Handbook	                                            Priority	  2	  Investigation	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Choosing	  the	  Priority	  of	  an	  Intake	  
63	                                                     Section	  6222.6	  
         Policy	  and	  Procedures	  Handbook	                                            Report	  in	  CLASS	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Changing	  the	  Priority	  of	  an	  
64	                                                     Section	  6222.7	  
         Policy	  and	  Procedures	  Handbook	                                            Investigation	  in	  CLASS	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Assessing	  an	  Intake	  Report	  for	  
65	                                                     Section	  6230	  
         Policy	  and	  Procedures	  Handbook	                                            Allegation	  Types	  

         Texas	  DFPS	  Child	  Care	  Licensing	  
66	                                                     Section	  6231	                    IMPACT	  Allegation	  Types	  
         Policy	  and	  Procedures	  Handbook	  




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                      Policy	  Source	                        Policy	  Reference	  	                         Policy	  Title	  
         Texas	  DFPS	  Child	  Care	  Licensing	                                        Selecting	  Allegations	  of	  Abuse	  or	  
67	                                                     Section	  6231.1	  
         Policy	  and	  Procedures	  Handbook	                                            Neglect	  in	  IMPACT	  

         Texas	  DFPS	  Child	  Care	  Licensing	  
68	                                                     Section	  6232	                    CLASS	  Allegation	  Types	  
         Policy	  and	  Procedures	  Handbook	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Selecting	  Allegations	  of	  Violations	  in	  
69	                                                     Section	  6232.1	  
         Policy	  and	  Procedures	  Handbook	                                            CLASS	  
                                                                                              Allegation	  Involving	  a	  Child	  Under	  
         Texas	  DFPS	  Child	  Care	  Licensing	  
70	                                                     Section	  6232.2	                  the	  Age	  of	  6	  (Child-­‐Placing	  Agency	  
         Policy	  and	  Procedures	  Handbook	  
                                                                                              Only)	  
         Texas	  DFPS	  Child	  Care	  Licensing	                                        Processing	  Intake	  Reports	  in	  
71	                                                     Section	  6240	  
         Policy	  and	  Procedures	  Handbook	                                            IMPACT	  and	  CLASS	  
                                                                                              Upgrading	  a	  Non	  Abuse	  or	  Neglect	  
         Texas	  DFPS	  Child	  Care	  Licensing	  
72	                                                     Section	  6241	                    Intake	  Report	  to	  an	  Abuse	  or	  
         Policy	  and	  Procedures	  Handbook	  
                                                                                              Neglect	  Intake	  Report	  
         Texas	  DFPS	  Child	  Care	  Licensing	                                        Investigate,	  Downgrade,	  or	  Close	  an	  
73	                                                     Section	  6242	  
         Policy	  and	  Procedures	  Handbook	                                            Abuse	  or	  Neglect	  Intake	  Report	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Changing	  the	  Priority	  of	  an	  Abuse	  or	  
74	                                                     Section	  6242.1	  
         Policy	  and	  Procedures	  Handbook	                                            Neglect	  Intake	  Report	  
                                                                                              Downgrading	  an	  Abuse	  or	  Neglect	  
         Texas	  DFPS	  Child	  Care	  Licensing	  
75	                                                     Section	  6242.2	                  Intake	  Report	  to	  a	  Non	  Abuse	  or	  
         Policy	  and	  Procedures	  Handbook	  
                                                                                              Neglect	  Intake	  Report	  
         Texas	  DFPS	  Child	  Care	  Licensing	                                        Closing	  an	  Intake	  Report	  of	  Abuse	  or	  
76	                                                     Section	  6243.3	  
         Policy	  and	  Procedures	  Handbook	                                            Neglect	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Reports	  Received	  by	  Licensing	  
77	                                                     Section	  6250	  
         Policy	  and	  Procedures	  Handbook	                                            Offices	  
                                                                                              Information	  to	  Obtain	  When	  
         Texas	  DFPS	  Child	  Care	  Licensing	  
78	                                                     Section	  6251.1	                  Receiving	  a	  Report	  at	  a	  Local	  
         Policy	  and	  Procedures	  Handbook	  
                                                                                              Licensing	  Office	  
         Texas	  DFPS	  Child	  Care	  Licensing	  
79	                                                     Section	  6251.4	                  Processing	  the	  Intake	  Report	  
         Policy	  and	  Procedures	  Handbook	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Referring	  Reports	  to	  Statewide	  
80	                                                     Section	  6252	  
         Policy	  and	  Procedures	  Handbook	                                            Intake	  




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         Texas	  DFPS	  Child	  Care	  Licensing	                                        Identifying	  New	  Reporters	  During	  an	  
81	                                                     Section	  6261	  
         Policy	  and	  Procedures	  Handbook	                                            Investigation	  

         Texas	  DFPS	  Child	  Care	  Licensing	  
82	                                                     Section	  6270	                    Types	  of	  Intake	  Reports	  
         Policy	  and	  Procedures	  Handbook	  

         Texas	  DFPS	  Child	  Care	  Licensing	  
83	                                                     Section	  6271	                    Anonymous	  Intake	  Reports	  
         Policy	  and	  Procedures	  Handbook	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Multiple	  Intake	  Reports	  Received	  
84	                                                     Section	  6272	  
         Policy	  and	  Procedures	  Handbook	                                            for	  the	  Same	  Operation	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Merging	  and	  Linking	  Investigations	  
85	                                                     Section	  6272.1	  
         Policy	  and	  Procedures	  Handbook	                                            in	  IMPACT	  and	  CLASS	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Incidents	  Reported	  by	  an	  Operation,	  
86	                                                     Section	  6275	  
         Policy	  and	  Procedures	  Handbook	                                            Known	  as	  Self-­‐Reports	  
                                                                                              Referring	  a	  Report	  of	  Abuse	  or	  
         Texas	  DFPS	  Child	  Care	  Licensing	                                        Neglect	  for	  Investigation	  When	  New	  
87	                                                     Section	  6280	  
         Policy	  and	  Procedures	  Handbook	                                            Allegations	  Are	  Received	  During	  an	  
                                                                                              Investigation	  
         Texas	  DFPS	  Child	  Care	  Licensing	  
88	                                                     Section	  6300	                    Preparing	  for	  the	  Investigation	  
         Policy	  and	  Procedures	  Handbook	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Preparing	  the	  Investigation	  in	  
89	                                                     Section	  6310	  
         Policy	  and	  Procedures	  Handbook	                                            IMPACT	  and	  CLASS	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Progressing	  an	  Intake	  Report	  to	  an	  
90	                                                     Section	  6311	  
         Policy	  and	  Procedures	  Handbook	                                            Investigation	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Progressing	  an	  Intake	  Report	  to	  an	  
91	                                                     Section	  6311.1	  
         Policy	  and	  Procedures	  Handbook	                                            Investigation	  in	  IMPACT	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Progressing	  an	  Intake	  Report	  to	  an	  
92	                                                     Section	  6311.2	  
         Policy	  and	  Procedures	  Handbook	                                            Investigation	  in	  CLASS	  

         Texas	  DFPS	  Child	  Care	  Licensing	  
93	                                                     Section	  6312.1	                  Writing	  the	  Allegation	  
         Policy	  and	  Procedures	  Handbook	  

         Texas	  DFPS	  Child	  Care	  Licensing	                                        Determining	  Which	  Minimum	  
94	                                                     Section	  6312.2	  
         Policy	  and	  Procedures	  Handbook	                                            Standards	  to	  Evaluate	  


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          Texas	  DFPS	  Child	  Care	  Licensing	  
95	                                                      Section	  6320	                    Contacting	  the	  Reporter	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Assessing	  the	  Immediate	  Safety	  of	  
96	                                                      Section	  6330	  
          Policy	  and	  Procedures	  Handbook	                                            Children	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Evaluating	  the	  Need	  for	  a	  Safety	  
97	                                                      Section	  6331	  
          Policy	  and	  Procedures	  Handbook	                                            Plan	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
98	                                                      Section	  6331.1	                  Defining	  Child	  Safety	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
99	                                                      Section	  6331.2	                  Determining	  Safety	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
100	                                                     Section	  6332	                    Requesting	  a	  Safety	  Plan	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Requesting	  a	  Safety	  Plan	  Outside	  of	  
101	                                                     Section	  6332.1	  
          Policy	  and	  Procedures	  Handbook	                                            an	  Inspection	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Requesting	  a	  Safety	  Plan	  During	  an	  
102	                                                     Section	  6332.2	  
          Policy	  and	  Procedures	  Handbook	                                            Inspection	  
                                                                                               Requesting	  That	  an	  Alleged	  
        Texas	  DFPS	  Child	  Care	  Licensing	  
103	                                                   Section	  6332.3	                    Perpetrator	  Not	  Have	  Contact	  With	  
        Policy	  and	  Procedures	  Handbook	  
                                                                                               Children	  
          Texas	  DFPS	  Child	  Care	  Licensing	                                        Operation	  Refuses	  to	  Develop	  a	  
104	                                                     Section	  6332.5	  
          Policy	  and	  Procedures	  Handbook	                                            Safety	  Plan	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
105	                                                     Section	  6333	                    Approving	  the	  Safety	  Plan	  
          Policy	  and	  Procedures	  Handbook	  
                                                                                               Notifying	  the	  Supervisor	  and	  
        Texas	  DFPS	  Child	  Care	  Licensing	  
106	                                                   Section	  6334	                      Monitoring	  Inspector	  of	  the	  Safety	  
        Policy	  and	  Procedures	  Handbook	  
                                                                                               Plan	  (Abuse	  or	  Neglect	  Only)	  
          Texas	  DFPS	  Child	  Care	  Licensing	                                        Documenting	  the	  Safety	  Plan	  in	  
107	                                                     Section	  6335	  
          Policy	  and	  Procedures	  Handbook	                                            CLASS	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Ongoing	  Evaluation	  of	  the	  Safety	  
108	                                                     Section	  6336	  
          Policy	  and	  Procedures	  Handbook	                                            Plan	  




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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Plan	  Does	  Not	  Minimize	  Safety	  
109	                                                     Section	  6336.1	  
          Policy	  and	  Procedures	  Handbook	                                            Threat	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Operation	  Does	  Not	  Comply	  With	  
110	                                                     Section	  6336.2	  
          Policy	  and	  Procedures	  Handbook	                                            Safety	  Plan	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
111	                                                     Section	  6337	                    Ending	  the	  Safety	  Plan	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Assessment	  of	  Risk	  During	  Abuse	  or	  
112	                                                     Section	  6340	  
          Policy	  and	  Procedures	  Handbook	                                            Neglect	  Investigation	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
113	                                                     Section	  6341	                    Requesting	  a	  Risk	  Assessment	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Information	  to	  Discuss	  During	  a	  Risk	  
114	                                                     Section	  6342	  
          Policy	  and	  Procedures	  Handbook	                                            Assessment	  
                                                                                               Reviewing	  the	  Operation’s	  
        Texas	  DFPS	  Child	  Care	  Licensing	  
115	                                                   Section	  6342.1	                    Compliance	  and	  Investigation	  
        Policy	  and	  Procedures	  Handbook	  
                                                                                               History	  
          Texas	  DFPS	  Child	  Care	  Licensing	                                        Reviewing	  the	  Alleged	  Perpetrator’s	  
116	                                                     Section	  6342.2	  
          Policy	  and	  Procedures	  Handbook	                                            Investigation	  History	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Reviewing	  the	  Alleged	  Victim’s	  
117	                                                     Section	  6342.3	  
          Policy	  and	  Procedures	  Handbook	                                            Investigation	  History	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
118	                                                     Section	  6342.4	                  Recommending	  Action	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
119	                                                     Section	  6343	                    Documenting	  the	  Risk	  Assessment	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Documenting	  the	  Recommended	  
120	                                                     Section	  6343.1	  
          Policy	  and	  Procedures	  Handbook	                                            Actions	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Notifications	  Made	  at	  Beginning	  of	  
121	                                                     Section	  6350	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Notifying	  and	  Working	  With	  Law	  
122	                                                     Section	  6351	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Procedures	  for	  Notifying	  Law	  
123	                                                     Section	  6351.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
124	                                                     Section	  6351.2	                  Conducting	  a	  Joint	  Investigation	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Documenting	  Contact	  With	  Law	  
125	                                                     Section	  6351.3	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
126	                                                     Section	  6352.1	                  Methods	  of	  Notifying	  the	  Operation	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Exceptions	  to	  Notifying	  the	  
127	                                                     Section	  6352.2	  
          Policy	  and	  Procedures	  Handbook	                                            Operation	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Maintaining	  Contact	  With	  the	  CPS	  
128	                                                     Section	  6353.2	  
          Policy	  and	  Procedures	  Handbook	                                            Caseworker	  of	  Alleged	  Victims	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Documenting	  Contact	  With	  the	  CPS	  
129	                                                     Section	  6353.3	  
          Policy	  and	  Procedures	  Handbook	                                            Caseworker	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
130	                                                     Section	  6355	                    Special	  Investigators	  (Residential	  
          Policy	  and	  Procedures	  Handbook	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
131	                                                     Section	  6360	                    Preparing	  for	  the	  Initiation	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Time	  Frame	  for	  Initiating	  a	  Priority	  2	  
132	                                                     Section	  6361.2	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
133	                                                     Section	  6400	                    Conducting	  the	  Investigation	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
134	                                                     Section	  6410	                    Initiating	  the	  Investigation	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Defining	  What	  Constitutes	  an	  
135	                                                     Section	  6411	  
          Policy	  and	  Procedures	  Handbook	                                            Initiation	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
136	                                                     Section	  6412	                    Methods	  of	  Initiation	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Initiating	  an	  Investigation	  Involving	  
137	                                                     Section	  6412.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Exceptions	  to	  Initiating	  by	  Contact	  
138	                                                     Section	  6412.11	  
          Policy	  and	  Procedures	  Handbook	                                            With	  Alleged	  Victim	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Initiating	  an	  Investigation	  Not	  
139	                                                     Section	  6412.2	  
          Policy	  and	  Procedures	  Handbook	                                            Involving	  Abuse	  or	  Neglect	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
140	                                                     Section	  6413	                    Documenting	  the	  Initiation	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
141	                                                     Section	  6420	                    Conducting	  Interviews	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Observing	  and	  Interviewing	  Alleged	  
142	                                                     Section	  6421.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Interview	  Takes	  Place	  Before	  
143	                                                     Section	  6421.11	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        When	  to	  Refer	  an	  Interview	  to	  a	  
144	                                                     Section	  6421.12	  
          Policy	  and	  Procedures	  Handbook	                                            Children’s	  Advocacy	  Center	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Observing	  and	  Interviewing	  a	  Child	  
145	                                                     Section	  6421.2	  
          Policy	  and	  Procedures	  Handbook	                                            Related	  to	  a	  Child	  Care	  Provider	  
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        Texas	  DFPS	  Child	  Care	  Licensing	  
146	                                                   Section	  6421.3	                    Managing	  Conservators	  of	  Interview	  
        Policy	  and	  Procedures	  Handbook	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Notifying	  a	  Parent	  of	  an	  Alleged	  
147	                                                     Section	  6421.31	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Interviewed	  as	  a	  Collateral	  Source	  
148	                                                     Section	  6421.32	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Age	  and	  Ability	  Requirements	  for	  
149	                                                     Section	  6421.4	  
          Policy	  and	  Procedures	  Handbook	                                            Observing	  and	  Interviewing	  Children	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
150	                                                     Section	  6422	                    Interviewing	  Adults	  
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151	                                                     Section	  6422.1	                  Interviewing	  Alleged	  Perpetrators	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Interviewing	  Principal	  and	  Collateral	  
152	                                                     Section	  6422.2	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
153	                                                     Section	  6430	                    Conducting	  Inspections	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Requirements	  for	  Conducting	  
154	                                                     Section	  6431	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Inspection	  Time	  Frame	  Priority	  1	  or	  
155	                                                     Section	  6431.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Documenting	  the	  Observations	  
156	                                                     Section	  6432	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
157	                                                     Section	  6440	                    Collecting	  Evidence	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Collecting	  Evidence	  Related	  to	  
158	                                                     Section	  6441	  
          Policy	  and	  Procedures	  Handbook	                                            Interviews	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Conducting	  and	  Recording	  
159	                                                     Section	  6441.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
160	                                                     Section	  6441.2	                  Obtaining	  Written	  Statements	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
161	                                                     Section	  6441.3	                  Maintaining	  Investigation	  Notes	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
162	                                                     Section	  6442	                    Taking	  Photographs	  as	  Evidence	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Obtaining	  Written	  Documents	  as	  
163	                                                     Section	  6443	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
164	                                                     Section	  6443.1	                  Obtaining	  Medical	  Records	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Obtaining	  Reports	  From	  Law	  
165	                                                     Section	  6443.2	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
166	                                                     Section	  6443.3	                  Reviewing	  Documents	  From	  CPS	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Obtaining	  Documents	  From	  the	  
167	                                                     Section	  6443.4	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Maintaining	  Records	  of	  
168	                                                     Section	  6444	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
169	                                                     Section	  6460	                    Interim	  Staffing	  With	  Supervisor	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
170	                                                     Section	  6540	                    Regulated	  by	  a	  Private	  Child-­‐Placing	  
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                                                                                               Agency	  (CPA)	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        and	  Minimum	  Standards	  Violations	  
171	                                                     Section	  6541	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Allegations	  and	  Incidents	  That	  Must	  
172	                                                     Section	  6541.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Allegations	  and	  Incidents	  That	  May	  
173	                                                     Section	  6541.2	  
          Policy	  and	  Procedures	  Handbook	                                            Be	  Investigated	  by	  Licensing	  

          Texas	  DFPS	  Child	  Care	  Licensing	  
174	                                                     Section	  6542.1	                  Receiving	  and	  Assigning	  the	  Report	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
175	                                                     Section	  6542.2	                  CPA	  Responsibilities	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
176	                                                     Section	  6542.3	                  Licensing	  Responsibilities	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Documentation	  of	  Investigations	  by	  
177	                                                     Section	  6542.5	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
178	                                                     Section	  6543	                    Investigations	  in	  CPA	  and	  CPS	  
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179	                                                     Section	  6600	                    Completing	  the	  Investigation	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Extending	  Time	  Frames	  for	  
180	                                                     Section	  6611	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Criteria	  for	  Requesting	  Additional	  
181	                                                     Section	  6611.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
182	                                                     Section	  6611.2	                  Documenting	  an	  Extension	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
183	                                                     Section	  6611.3	                  Obtaining	  an	  Additional	  Extension	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
184	                                                     Section	  6620	                    Determining	  the	  Findings	  
          Policy	  and	  Procedures	  Handbook	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Investigations	  of	  Possible	  Abuse	  or	  
185	                                                     Section	  6622	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
186	                                                     Section	  6622.1	                  Types	  of	  Abuse	  or	  Neglect	  
          Policy	  and	  Procedures	  Handbook	  
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        Texas	  DFPS	  Child	  Care	  Licensing	  
187	                                                   Section	  6622.2	                    Neglect	  When	  the	  Perpetrator	  
        Policy	  and	  Procedures	  Handbook	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
188	                                                     Section	  6622.3	                  Possible	  Dispositions	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Assigning	  the	  Severity	  to	  a	  Reason	  
189	                                                     Section	  6622.4	  
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        Texas	  DFPS	  Child	  Care	  Licensing	  
190	                                                   Section	  6622.6	                    Aggression	  or	  Child-­‐on-­‐Child	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Notifying	  Relevant	  Parties	  of	  the	  
191	                                                     Section	  6630	  
          Policy	  and	  Procedures	  Handbook	                                            Results	  of	  an	  Investigation	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Notifying	  the	  Operation	  of	  the	  
192	                                                     Section	  6631	  
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193	                                                     Section	  6631.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Additional	  Notification	  for	  Abuse	  or	  
194	                                                     Section	  6631.2	  
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195	                                                     Section	  6632	                    Perpetrator	  for	  an	  Abuse	  or	  Neglect	  
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196	                                                     Section	  6634	                    Notification	  to	  Monitoring	  Unit	  
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        Texas	  DFPS	  Child	  Care	  Licensing	  
197	                                                   Section	  6635	                      Investigations	  Involving	  Children	  in	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
198	                                                     Section	  6636	                    Victim	  of	  the	  Results	  of	  an	  Abuse	  or	  
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199	                                                     Section	  6700	                    Documenting	  the	  Investigation	  
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200	                                                     Section	  6710	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
201	                                                     Section	  6711	                    Documentation	  of	  All	  Investigations	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Additional	  Documentation	  for	  
202	                                                     Section	  6712	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Documentation	  on	  the	  Investigation	  
203	                                                     Section	  6720	  
          Policy	  and	  Procedures	  Handbook	                                            Conclusion	  Page	  in	  CLASS	  

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204	                                                     Section	  6721	                    Initiation	  of	  Investigation	  Field	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Observation	  Made	  During	  
205	                                                     Section	  6722	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
206	                                                     Section	  6723	                    Contact	  List	  
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207	                                                     Section	  6724	                    Investigation	  Findings	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Findings	  Involving	  Child	  Sexual	  
208	                                                     Section	  6724.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Findings	  Involving	  Child-­‐on-­‐Child	  
209	                                                     Section	  6724.2	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Explanation	  of	  Disposition	  Based	  on	  
210	                                                     Section	  6724.3	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Final	  Disposition	  and	  Summary	  of	  
211	                                                     Section	  6724.4	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
212	                                                     Section	  6725	                    Notification	  Dates	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
213	                                                     Section	  6725.1	                  Extension	  Approval	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
214	                                                     Section	  6730	                    Updating	  the	  Person	  Detail	  Page	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
215	                                                     Section	  6740	                    Documentation	  of	  Case	  Notes	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Investigations	  Involving	  Allegations	  
217	                                                     Section	  6752	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Submitting	  an	  Abuse	  or	  Neglect	  
218	                                                     Section	  6810	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Reviewing	  an	  Abuse	  or	  Neglect	  
219	                                                     Section	  6820	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Rejecting	  and	  Resubmitting	  an	  
220	                                                     Section	  6830	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
221	                                                     Section	  6831	                     Investigation	  for	  Minor	  
          Policy	  and	  Procedures	  Handbook	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                         Investigation	  For	  Significant	  
222	                                                     Section	  6832	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                         After	  an	  Abuse	  or	  Neglect	  
223	                                                     Section	  6840	  
          Policy	  and	  Procedures	  Handbook	                                             Investigation	  Is	  Approved	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                         Recommending	  Action	  as	  a	  Result	  of	  
224	                                                     Section	  6900	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                         Conducting	  a	  Case	  Review	  Before	  
225	                                                     Section	  6910	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                         Issues	  to	  Consider	  Before	  
226	                                                     Section	  6920	  
          Policy	  and	  Procedures	  Handbook	                                             Recommending	  an	  Action	  
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        Texas	  DFPS	  Child	  Care	  Licensing	  
227	                                                   Section	  6930	                       Investigation	  of	  a	  Regulated	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
228	                                                     Section	  6950	                     Documentation	  in	  CLASS	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
229	                                                     Section	  Appendix	  6000-­‐1	     Time	  Frames	  for	  Investigations	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                         How	  to	  Determine	  Whether	  the	  
230	                                                     Section	  3222	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                         Preparing	  for	  Application,	  Initial,	  
231	                                                     Section	  4141	  
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                                                                                                Enforcement	  Team	  Conferences	  for	  
          Texas	  DFPS	  Child	  Care	  Licensing	                                         Child-­‐Placing	  Agencies,	  General	  
232	                                                     Section	  4441	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
233	                                                     Section	  4500	                     Evaluating	  Risk	  to	  Children	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Reports	  Received	  From	  Statewide	  
234	                                                     Section	  6210	  
          Policy	  and	  Procedures	  Handbook	  	                                        Intake	  (SWI)	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Intake	  Reports	  to	  Be	  Closed	  Without	  
235	                                                     Section	  6221.5	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Investigate	  or	  Close	  a	  Report	  of	  Non	  
236	                                                     Section	  6243	  
          Policy	  and	  Procedures	  Handbook	  	                                        Abuse	  or	  Neglect	  

          Texas	  DFPS	  Child	  Care	  Licensing	                                        Closing	  a	  Non	  Abuse	  or	  Neglect	  
237	                                                     Section	  6243.1	  
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238	                                                   Section	  6244	                      Changing	  the	  Priority,	  Downgrading,	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
239	                                                     Section	  6244.1	                  Priority,	  Downgrading,	  or	  Closing	  an	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        CLASS	  Options	  for	  Closing	  an	  Intake	  
240	                                                     Section	  6244.2	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Evaluating	  the	  Factual	  Basis	  of	  an	  
241	                                                     Section	  6271.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Repeated	  Reports	  With	  No	  New	  
242	                                                     Section	  6273	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Report	  of	  Incidents	  That	  Occurred	  in	  
243	                                                     Section	  6274	  
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                                                                                               Incidents	  Self-­‐Reported	  by	  
          Texas	  DFPS	  Child	  Care	  Licensing	  
244	                                                     Section	  6275.1	                  Operations	  That	  May	  Not	  Require	  
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                                                                                               an	  Investigation	  
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245	                                                     Section	  6312	                    Narrative	  and	  Determining	  the	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Notifying	  the	  Operation	  of	  an	  
246	                                                     Section	  6352	  
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          Texas	  DFPS	  Child	  Care	  Licensing	  
247	                                                     Section	  6353	                    Conservatorship	  of	  DFPS	  (Abuse	  or	  
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248	                                                     Section	  6353.1	                  How	  to	  Notify	  the	  CPS	  Caseworker	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Time	  Frame	  for	  Initiating	  a	  Priority	  1	  
249	                                                     Section	  6361.1	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Time	  Frames	  for	  Completion	  of	  the	  
250	                                                     Section	  6610	  
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          Texas	  DFPS	  Child	  Care	  Licensing	                                        Circumstances	  That	  May	  Call	  for	  
251	                                                     Section	  7110	  
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252	   Texas	  DFPS	  CPS	  Handbook	                Section	  4135	  
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253	   Texas	  DFPS	  CPS	  Handbook	                Section	  4136	                    Provide	  Additional	  Documentation	  

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254	   Texas	  DFPS	  CPS	  Handbook	                Section	  5231.6	  
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255	   Texas	  DFPS	  CPS	  Handbook	                Section	  5232.21	                 Access	  to	  a	  Child	  or	  a	  Child’s	  
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256	   Texas	  DFPS	  CPS	  Handbook	                Section	  6133.1	                  Documentation	  and	  Communication	  
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258	   Texas	  DFPS	  CPS	  Handbook	                Section	  6133.21	  
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259	   Texas	  DFPS	  CPS	  Handbook	                Section	  6133.22	  
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260	   Texas	  DFPS	  CPS	  Handbook	                Section	  6133.23	                 Required	  Narrative	  Content	  
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261	   Texas	  DFPS	  CPS	  Handbook	                Section	  6133.24	                 Parent,	  Kinship,	  Relatives,	  and	  
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262	   Texas	  DFPS	  CPS	  Handbook	                Section	  6133.4	                  Documenting	  Health	  Information	  

                                                                                               Maintaining	  the	  Health,	  Social,	  
263	   Texas	  DFPS	  CPS	  Handbook	                Section	  6133.5	                  Educational,	  and	  Genetic	  History	  
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264	   Texas	  DFPS	  CPS	  Handbook	     Section	  6133.51	                Education	  Information	  


265	   Texas	  DFPS	  CPS	  Handbook	     Section	  6134	                   External	  Documentation	  

266	   Texas	  DFPS	  CPS	  Handbook	     Section	  6411.1	                 Federal	  Requirements	  	  

267	   Texas	  DFPS	  CPS	  Handbook	     Section	  6411.2	                 Frequency	  of	  Face-­‐to-­‐Face	  Visits	  
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268	   Texas	  DFPS	  CPS	  Handbook	     Section	  6412	  
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269	   Texas	  DFPS	  CPS	  Handbook	     Section	  6413	  
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270	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414	                   I	  See	  You	  Supervision	  

271	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.1	                 I	  See	  You	  Eligibility	  
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272	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.2	  
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273	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.3	  
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274	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.4	                 Caseworker	  When	  An	  I	  See	  You	  
                                                                                   Caseworker	  is	  Assigned	  to	  a	  Child	  
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275	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.5	                 Caseworker	  When	  the	  Out	  of	  
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276	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.6	                 I	  See	  You	  Waiver	  


277	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.7	                 Conducting	  the	  Monthly	  Visit	  	  


278	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.71	                Assessing	  the	  Monthly	  Visit	  	  


279	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.72	                Documenting	  the	  Monthly	  Visit	  	  


280	   Texas	  DFPS	  CPS	  Handbook	     Section	  6414.73	                Following	  Up	  on	  Identified	  Needs	  



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281	   Texas	  DFPS	  CPS	  Handbook	         Section	  6414.74	  
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282	   Texas	  DFPS	  CPS	  Handbook	         Section	  6414.75	                Alternate	  Caseworker	  Follow	  Up	  
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283	   Texas	  DFPS	  CPS	  Handbook	         Section	  6431.1	  
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284	   Texas	  DFPS	  CPS	  Handbook	         Section	  11115.2	  
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285	   Texas	  DFPS	  CPS	  Handbook	         Section	  11131	  
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286	   Texas	  DFPS	  CPS	  Handbook	         Section	  11410	  
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287	   Texas	  DFPS	  CPS	  Handbook	         Section	  11411	  
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288	   Texas	  DFPS	  CPS	  Handbook	         Section	  11412	                  Conservatorship	  Who	  Have	  Special	  
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289	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  1520	  
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290	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  2132	  
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291	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  2140	  
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292	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4113	                   Recommendations	  to	  Select	  a	  
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293	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4113.6	  
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294	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4114	                   Evaluating	  a	  Child’s	  Possible	  
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295	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4114.22	  
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296	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4121.2	  
                                                                                       Caregivers	  for	  the	  Move	  

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297	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4121.3	  
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298	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4130	  
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299	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4133	  
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300	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4151	  
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301	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4154	                   Placements	  and	  Child	  Safety	  
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302	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4155	  
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303	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4221	  
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304	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4221.1	  
                                                                                       or	  Neglect	  
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                                                                                       and	  Respite	  During	  an	  Abuse	  and	  
305	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4221.2	  
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306	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4221.3	                 CPS	  Responsibility	  and	  Procedure	  

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307	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4221.4	                 Investigation	  Involving	  a	  Child	  in	  
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308	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4221.5	  
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309	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4221.6	                 Is	  Alleged	  to	  Have	  Occurred	  in	  a	  
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                                                                                       Facilities	  Under	  the	  Authority	  of	  
310	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4231	  
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311	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4231.1	  
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                                                                                       Another	  State	  Agency	  	  


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312	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4231.2	  
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313	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4231.3	  
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314	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4232	                   TJJD	  and	  JPD	  Facilities	  	  
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315	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  4310	  
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316	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  6252	  
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317	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  6341.26	                Sexually	  Aggressive	  and	  Victims	  of	  
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318	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  6420	  
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319	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  6421	                   Texas	  Foster	  Care	  Handbook	  


320	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  6431.11	                Timeline	  for	  CANS	  and	  FSNA	  


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321	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  6431.12	  
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322	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  6431.14	                Annually	  Updating	  CANS	  


323	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  10000	                  Services	  to	  Older	  Youth	  in	  Care	  


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324	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  10131	  
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325	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  11200	                  Medical	  and	  Dental	  Services	  


                                                                                       Initial	  Texas	  Health	  Steps	  Medical	  
326	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  11211	  
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327	   Texas	  DFPS	  CPS	  Handbook	  	     Section	  11212	  
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328	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  11213	  
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329	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  11214	                    Immunizations	  


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330	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  11260	  
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331	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  11261	                    and	  Dental)	  in	  IMPACT	  and	  the	  Case	  
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332	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  11262	  
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333	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  11263	  
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334	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  11264	  
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335	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  Appendix	  11211-­‐A	   Through	  STAR	  Health	  or	  Traditional	  
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336	   Texas	  DFPS	  CPS	  Handbook	  	            Section	  Appendix	  4623	        Investigations	  Involving	  Child-­‐on	  
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          Texas	  DFPS	  Office	  of	  Consumer	                                           Complaints	  That	  OCA	  Accepts	  for	  
337	                                                     Section	  2300	  
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          Texas	  DFPS	  Office	  of	  Consumer	  
338	                                                     Section	  2500	                     Complaint	  Intake	  
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          Texas	  DFPS	  Office	  of	  Consumer	                                           Complaints	  Made	  Over	  the	  
339	                                                     Section	  2510	  
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          Texas	  DFPS	  Office	  of	  Consumer	  
340	                                                     Section	  2520	                     Written	  Complaints	  
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          Texas	  DFPS	  Office	  of	  Consumer	  
341	                                                     Section	  2530	                     Notifying	  Program	  Staff	  
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342	                                                     Section	  2540	                    Determining	  the	  Finding	  
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          Texas	  DFPS	  Office	  of	  Consumer	                                          Closing	  and	  Responding	  to	  
343	                                                     Section	  2550	  
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          Texas	  DFPS	  Records	  
344	                                                     Section	  1200	                    Definition	  of	  a	  DFPS	  Record	  	  
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          Texas	  DFPS	  Records	  
345	                                                     Section	  1221	                    Contents	  of	  a	  Physical	  File	  
          Management	  Group	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
346	                                                     Section	  1100	                    Legal	  Basis	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
347	                                                     Section	  1110	                    Legal	  Requirement	  to	  Report	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
348	                                                     Section	  1111	                    Abuse	  or	  Neglect	  of	  a	  Child	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
349	                                                     Section	  1130	                    Notification	  to	  Law	  Enforcement	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
350	                                                     Section	  1260	                    Call	  Recording	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
351	                                                     Section	  2120	                    Assessing	  Reports	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
352	                                                     Section	  2135	                    SWI	  Feedback	  to	  Reporter	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	                                               Subsequent	  Information	  Regarding	  
353	                                                     Section	  2324	  
          Policy	  and	  Procedures	  Handbook	  	                                        an	  Existing	  DFPS	  Case	  

          Texas	  DFPS	  Statewide	  Intake	                                               Notifying	  the	  Local	  CPS	  Office	  of	  the	  
354	                                                     Section	  2332.1	  
          Policy	  and	  Procedures	  Handbook	  	                                        Death	  of	  a	  Child	  	  

          Texas	  DFPS	  Statewide	  Intake	  
355	                                                     Section	  2332.2	                  A	  Child’s	  Death	  Report	  for	  CPS	  	  
          Policy	  and	  Procedures	  Handbook	  	  




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                       Policy	  Source	                        Policy	  Reference	  	                           Policy	  Title	  
          Texas	  DFPS	  Statewide	  Intake	  
356	                                                     Section	  2332.3	                  A	  Child’s	  Death	  Report	  for	  RCCL	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
357	                                                     Section	  2332.4	                  A	  Child’s	  Death	  Report	  for	  DCL	  	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                               A	  Child’s	  Death	  in	  a	  Facility	  Under	  
          Texas	  DFPS	  Statewide	  Intake	  
358	                                                     Section	  2332.5	                  the	  Jurisdiction	  of	  APS	  Facility	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                               Investigations	  	  
          Texas	  DFPS	  Statewide	  Intake	  
359	                                                     Section	  2332.6	                  A	  Child’s	  Death	  in	  a	  TYC	  Placement	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
360	                                                     Section	  2332.7	                  A	  Child’s	  Death	  in	  a	  Nursing	  Home	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
361	                                                     Section	  2400	                    Law	  Enforcement	  "Welfare	  Checks"	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	                                               Reports	  Concerning	  Law	  
362	                                                     Section	  2760	  
          Policy	  and	  Procedures	  Handbook	  	                                        Enforcement	  
                                                                                               Reports	  of	  Abuse,	  Neglect,	  
          Texas	  DFPS	  Statewide	  Intake	  
363	                                                     Section	  2761	                    Exploitation,	  or	  Death	  Investigated	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                               by	  Law	  Enforcement	  	  
          Texas	  DFPS	  Statewide	  Intake	                                               Reports	  of	  Abuse	  or	  Neglect	  
364	                                                     Section	  2762	  
          Policy	  and	  Procedures	  Handbook	  	                                        Perpetrated	  by	  Law	  Enforcement	  	  

          Texas	  DFPS	  Statewide	  Intake	                                               Finding	  the	  Current	  Caseworker	  on	  
365	                                                     Section	  3243	  
          Policy	  and	  Procedures	  Handbook	  	                                        an	  Open	  Case	  

          Texas	  DFPS	  Statewide	  Intake	  
366	                                                     Section	  4100	                    Definitions	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
367	                                                     Section	  4200	                    CPS	  Intake	  Assessment	  Guidelines	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
368	                                                     Section	  4300	                    CPS	  Assessment	  of	  Priority	  and	  Risk	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
369	                                                     Section	  4400	                    Specialized	  CPS	  Reports	  	  
          Policy	  and	  Procedures	  Handbook	  	  




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                       Policy	  Source	                        Policy	  Reference	  	                        Policy	  Title	  
                                                                                               Situations	  That	  Always	  Require	  an	  
          Texas	  DFPS	  Statewide	  Intake	  
370	                                                     Section	  4481	                    “I&R	  Call	  Regarding	  Existing	  CPS	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                               Case”	  
          Texas	  DFPS	  Statewide	  Intake	                                               Youth	  in	  DFPS	  Conservatorship	  Has	  
371	                                                     Section	  4482	  
          Policy	  and	  Procedures	  Handbook	  	                                        a	  Baby	  

          Texas	  DFPS	  Statewide	  Intake	  
372	                                                     Section	  4500	                    CPS	  Investigational	  Jurisdiction	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	                                               Incidents,	  Victims,	  or	  Perpetrators	  
373	                                                     Section	  4600	  
          Policy	  and	  Procedures	  Handbook	  	                                        Outside	  Texas	  	  

          Texas	  DFPS	  Statewide	  Intake	  
374	                                                     Section	  4800	                    Casework	  Related	  Special	  Requests	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
375	                                                     Section	  4930	                    Open	  Service	  Delivery	  Stages	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
376	                                                     Section	  5000	                    Child	  Care	  Licensing	  (CCL)	  Division	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
377	                                                     Section	  5220	                    CCL	  Assessment	  of	  Priority	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
378	                                                     Section	  5221	                    CCL	  Assessment	  of	  Priority	  1	  	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	  
379	                                                     Section	  5222	                    CCL	  Assessment	  of	  Priority	  2	  	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                               CCL	  Possible	  Standards	  Violations:	  
          Texas	  DFPS	  Statewide	  Intake	  
380	                                                     Section	  5230	                    Incidents	  Not	  Involving	  Abuse,	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                               Neglect,	  or	  Exploitation	  	  
          Texas	  DFPS	  Statewide	  Intake	                                               Reports	  Involving	  Children	  in	  DFPS	  
381	                                                     Section	  5240	  
          Policy	  and	  Procedures	  Handbook	  	                                        Conservatorship	  in	  a	  CCL	  Operation	  

          Texas	  DFPS	  Statewide	  Intake	                                               Residential	  Child	  Care	  Licensing	  
382	                                                     Section	  5400	  
          Policy	  and	  Procedures	  Handbook	  	                                        (RCCL)	  

          Texas	  DFPS	  Statewide	  Intake	                                               Residential	  Child-­‐Care	  Operations	  
383	                                                     Section	  5410	  
          Policy	  and	  Procedures	  Handbook	  	                                        That	  Are	  Regulated	  by	  RCCL	  




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                       Policy	  Source	                        Policy	  Reference	  	                                  Policy	  Title	  
                                                                                                         The	  Department	  or	  Agency	  which	  
          Texas	  DFPS	  Statewide	  Intake	  
384	                                                     Section	  5430	                              Licenses	  a	  Residential	  Facility	  Is	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                                         Unclear	  
          Texas	  DFPS	  Statewide	  Intake	  
385	                                                     Section	  5440	                              RCCL	  Illegal	  Operations	  
          Policy	  and	  Procedures	  Handbook	  	  

          Texas	  DFPS	  Statewide	  Intake	                                                         Special	  Situations	  Involving	  RCCL	  
386	                                                     Section	  5450	  
          Policy	  and	  Procedures	  Handbook	  	                                                  Operations	  

          Texas	  DFPS	  Statewide	  Intake	  
387	                                                     Section	  5451	                              When	  the	  Victim	  Is	  18	  or	  Older	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                                         Assessing	  Reports	  of	  Alleged	  Sex	  
        Texas	  DFPS	  Statewide	  Intake	  
388	                                                   Section	  5452	                                Offenders	  in	  a	  Foster	  Home	  (Active	  
        Policy	  and	  Procedures	  Handbook	  	  
                                                                                                         Vs	  Inactive)	  
          Texas	  DFPS	  Statewide	  Intake	                                                         Law	  Enforcement	  Reports	  Family	  
389	                                                     Section	  5456	  
          Policy	  and	  Procedures	  Handbook	  	                                                  Violence	  in	  RCCL	  Foster	  Homes	  

          Texas	  DFPS	  Statewide	  Intake	  
390	                                                     Section	  5464	                              RCCL	  Assignment	  and	  Call	  Out	  
          Policy	  and	  Procedures	  Handbook	  	  
                                                                                                         Reports	  Involving	  Children	  in	  DFPS	  
        Texas	  DFPS	  Statewide	  Intake	                                                           Conservatorship	  in	  a	  Facility	  Under	  
391	                                                   Section	  7330	  
        Policy	  and	  Procedures	  Handbook	  	                                                    the	  Jurisdiction	  of	  Adult	  Protective	  
                                                                                                         Services	  Facility	  Investigations	  
                                                          Title	  2,	  Subtitle	  D,	  Chapter	  
                                                                                                         	  Agency	  Foster	  Homes	  and	  Agency	  
392	   Texas	  Human	  Resources	  Code	             42,	  Subchapter	  A,	  Section	  
                                                                                                         Foster	  Group	  Homes	  
                                                          42.053	  
                                                          Title	  2,	  Subtitle	  D,	  Chapter	  
                                                                                                         	  Required	  Information	  for	  
393	   Texas	  Human	  Resources	  Code	             42,	  Subchapter	  A,	  Section	  
                                                                                                         Verification	  
                                                          42.0535	  
                                                          Title	  2,	  Subtitle	  D,	  Chapter	  
394	   Texas	  Human	  Resources	  Code	             42,	  Subchapter	  A,	  Section	           	  Definitions	  
                                                          42.002(10)	  	  
                                                          Title	  2,	  Subtitle	  D,	  Chapter	  
395	   Texas	  Human	  Resources	  Code	             42,	  Subchapter	  C,	  Section	           	  Required	  License	  
                                                          42.041(b)(2)	  	  
                                                          Title	  2,	  Subtitle	  D,	  Chapter	  
396	   Texas	  Human	  Resources	  Code	  	         42,	  Subchapter	  C,	  Section	   	  Inspections	  
                                                          42.044	  




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                          Policy	  Source	                     Policy	  Reference	  	                                   Policy	  Title	  
                                                         Title	  2,	  Subtitle	  D,	  Chapter	  
                                                                                                        	  License,	  Listing,	  or	  Registration	  
397	   Texas	  Human	  Resources	  Code	  	        42,	  Subchapter	  D,	  Section	  
                                                                                                        Denial,	  Suspension,	  or	  Revocation	  
                                                         42.072	  
                                                         Title	  5,	  Subtitle	  E,	  Chapter	  
                                                                                                        	  Training	  of	  Personnel	  Receiving	  
398	   Texas	  Statutes	  -­‐	  Family	  Code	     261,	  Subchapter	  D,	  
                                                                                                        Reports	  of	  Abuse	  and	  Neglect	  	  
                                                         Section	  261.3016	  
                                                         Title	  5,	  Subtitle	  E,	  Chapter	  
399	   Texas	  Statutes	  -­‐	  Family	  Code	     261,	  Subchapter	  D,	                     	  Investigation	  Standards	  
                                                         Section	  261.310	  
                                                         Title	  5,	  Subtitle	  E,	  Chapter	  
400	   Texas	  Statutes	  -­‐	  Family	  Code	     263,	  Subchapter	  A,	                     	  Foster	  Children’s	  Bill	  Of	  Rights	  
                                                         Section	  263.008	  
                                                         Title	  5,	  Subtitle	  E,	  Chapter	     	  Medical	  Services	  for	  Child	  Abuse	  
401	   Texas	  Statutes	  -­‐	  Family	  Code	  
                                                         266,	  Section	  266.003	                   and	  Neglect	  Victims	  
                                                         Title	  5,	  Subtitle	  E,	  Chapter	  
402	   Texas	  Statutes	  -­‐	  Family	  Code	                                                    	  Health	  Passport	  
                                                         266,	  Section	  266.006	  
                                                         Title	  5,	  Subtitle	  B,	  Chapter	     	  Rights	  and	  Duties	  of	  Nonparent	  
403	   Texas	  Statutes	  -­‐	  Family	  Code	     153,	  Subchapter	  G,	                     Appointed	  as	  Sole	  Managing	  
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                                                         Title	  5,	  Subtitle	  E,	  Chapter	  
404	   Texas	  Statutes	  -­‐	  Family	  Code	     261,	  Subchapter	  D,	                     	  Investigation	  of	  Report	  
                                                         Section	  261.301(a)	  	  
                                                         Title	  5,	  Subtitle	  E,	  Chapter	  
405	   Texas	  Statutes	  -­‐	  Family	  Code	     261,	  Subchapter	  D,	                     	  Agency	  Investigation	  
                                                         Section	  261.401(b)	  
                                                         Title	  5,	  Subtitle	  E,	  Chapter	  
406	   Texas	  Statutes	  -­‐	  Family	  Code	     264,	  Subchapter	  B,	                     	  Transitional	  Living	  Services	  Program	  
                                                         Section	  264.121	  
          Texas	  Statutes	  -­‐	  Texas	            Title	  4,	  Subtitle	  I,	  Chapter	     	  Adverse	  Licensing,	  Listing,	  or	  
407	  
          Government	  Code	  	                       531,	  Subchapter	  W	  	                  Registration	  Decisions	  
           	  

           	  

           	  

           	  

           	  

           	  

           	  


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APPENDIX	  B	  
	  


Key	  Findings:	  Texas	  Child	  Protective	  Services	  	  
	  

I	  See	  You	  Workload	  Study	  
	  
	  

	  

Submitted	  by:	  
	  
Cynthia	  Osborne,	  Ph.D.	  
Director,	  Child	  and	  Family	  Research	  Partnership	  
	  
December	  4,	  2017	  
	  

	                                          	  




	                                                                             100	  
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Research	  Associate	  
Child	  and	  Family	  Research	  Partnership	  
	  
Hilary	  Warner,	  Ph.D.	  
Postdoctoral	  Fellow	  
Child	  and	  Family	  Research	  Partnership	  
	  
Research	  Support	  
Holly	  Sexton,	  M.A.	  
Senior	  Research	  Associate	  
Child	  and	  Family	  Research	  Partnership	  
	  
Daniel	  Tihanyi,	  MPSA	  
Research	  Associate	  
Child	  and	  Family	  Research	  Partnership	  
	  
Katherine	  Mercer	  
Research	  Assistant	  
Child	  and	  Family	  Research	  Partnership	  
	  
Erika	  Parks	  
Graduate	  Research	  Assistant	  
Child	  and	  Family	  Research	  Partnership	  
	                                         	  




	                                                                             101	  
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                                                                                                                                                                                                                                                    KEY	  FINDINGS	  
The	  Special	  Masters	  appointed	  by	  the	  United	  States	  District	  Court,	  Southern	  District	  of	  Texas	  retained	  
the	  Child	  and	  Family	  Research	  Partnership	  (CFRP)	  at	  the	  University	  of	  Texas	  at	  Austin	  to	  implement	  a	  
workload	   study	   of	   I	   See	   You	   (“ISY”).	   ISY	   caseworkers	   serve	   as	   a	   liaison	   between	   children	   placed	  
outside	   their	   home	   jurisdiction	   and	   their	   primary	   conservatorship	   (CVS)	   caseworker.	   The	   ISY	  
caseworker	   position	   was	   created	   over	   a	   decade	   ago	   by	   DFPS,	   in	   part	   because	   children	   were	   too	   often	  
being	  sent	  far	  from	  their	  home	  communities.	  The	  main	  responsibilities	  of	  the	  ISY	  caseworker	  are	  to	  
visit	   the	   child	   at	   least	   once	   each	   month,	   which	   is	   a	   requirement	   per	   federal	   funding	   guidelines,	   and	  
communicate	  service	  needs	  and	  other	  information	  back	  to	  the	  primary	  caseworker.	  	  

Per	  the	  Child	  Protective	  Services	  (CPS)	  Handbook,	  	  

                                                           “ISY	  caseworkers	  are	  secondary	  caseworkers	  for	  children	  and	  youth	  placed	  outside	  
                                                           the	   region	   that	   has	   legal	   jurisdiction.	   The	   ISY	   caseworker	   acts	   as	   an	   extension	   of	   the	  
                                                           primary	  caseworker	  and	  aids	  the	  primary	  caseworker	  in	  ensuring	  that	  the	  child	  or	  
                                                           youth’s	   needs	   for	   safety	   and	   well-­‐being	   are	   being	   met.	   The	   ISY	   caseworker	   also	  
                                                           works	  to	  ensure	  that	  the	  child	  or	  youth	  achieves	  permanency.” 	                                                                                                                    ∗




In	   both	   a	   December	   2015	   Opinion	   and	   January	   2017	   Interim	   Order,	   Judge	   Janis	   Graham	   Jack	  
concluded	   evidence	   at	   trial	   raised	   substantial	   concerns	   about	   the	   casework	   quality	   of	   ISY	  
caseworkers	   and	   tasked	   the	   Special	   Masters	   to	   conduct	   a	   study	   of	   ISY	   caseworkers.	   	   The	   three	  
primary	  research	  aims	  of	  the	  study	  are	  to	  determine	  the	  current	  caseload	  of	  ISY	  caseworkers	  and	  
how	   they	   spend	   their	   time;	   the	   extent	   to	   which	   the	   caseworkers	   are	   familiar	   with	   the	   children	   they	  
visit	   and	   are	   meeting	   their	   job	   responsibilities;	   and	   the	   factors	   that	   affect	   how	   ISY	   caseworkers	  
spend	   their	   time.	   CFRP	   used	   a	   variety	   of	   data	   sources	   in	   this	   study,	   including	   administrative	   data	  
from	   the	   Texas	   Department	   of	   Family	   and	   Protective	   Services,	   surveys	   of	   ISY	   workers,	   and	  
interviews	  and	  focus	  groups	  with	  caseworkers.	  	  

I.	  I	  SEE	  YOU	  WORKER	  CASELOADS	  
Using	   DFPS	   IMPACT	   data,	   CFRP	   found	   that	   in	   June	   2017,	   on	   average,	   48	   percent	   of	   each	   ISY	  
caseworker’s	  caseload	  was	  comprised	  of	  children	  in	  PMC	  and	  52	  percent	  was	  comprised	  of	  children	  
in	   TMC.	   Consistent	   with	   the	   proportion	   of	   children	   in	   TMC	   and	   PMC	   identified	   in	   the	   IMPACT	   data,	  
caseworkers	   reported	   on	   the	   ISY	   Survey	   that	   in	   June	   2017,	   50	   percent	   of	   the	   children	   on	   their	  
caseload	  were	  in	  TMC	  and	  50	  percent	  of	  the	  children	  on	  their	  caseload	  were	  in	  PMC.	  CFRP	  found	  that,	  
for	   the	   sampled	   children	   on	   whom	   ISY	   caseworkers	   reported	   in	   the	   time	   study,	   children	   in	   PMC	   were	  
more	  likely	  to	  be	  placed	  in	  RTCs	  (43%)	  and	  children	  in	  TMC	  were	  more	  likely	  to	  be	  placed	  with	  kin	  
(43%).	  	  

To	  assess	  ISY	  caseworkers’	  average	  caseload,	  CFRP	  measured	  caseloads	  using	  two	  different	  methods	  
and	   found	   very	   similar	   results.	   First,	   CFRP	   measured	   the	   average	   daily	   caseload	   using	   IMPACT	  
records.	   Average	   daily	   caseload	   refers	   to	   the	   average	   of	   the	   number	   of	   cases	   assigned	   to	   an	   ISY	  

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
∗
    	  Child	  Protective	  Services	  Handbook.	  Section	  6414,	  ISY	  Supervision.	  Updated	  February	  2017.	  
https://www.dfps.state.tx.us/handbooks/CPS/Files/CPS_pg_6400.asp#CPS_6414.	  
	  


	                                                                                                                                                                                                                                                                            102	  
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caseworker	   during	   each	   calendar	   day	   of	   June	   2017.	   Measuring	   caseload	   as	   an	   average	   of	   each	   daily	  
caseload	   is	   useful	   because	   it	   accounts	   for	   the	   fact	   that	   a	   caseworker	   may	   be	   assigned	   and	   unassigned	  
to	  cases	  throughout	  the	  month.	  CFRP	  also	  used	  the	  median	  of	  all	  of	  the	  ISY	  caseworkers’	  average	  daily	  
caseloads.	  The	  median	  is	  a	  better	  indicator	  of	  the	  typical	  ISY	  caseload	  than	  the	  average	  because	  the	  
median	  is	  less	  sensitive	  to	  outliers	  and	  zero	  values.	  	  

Table	  1:	  Median	  Caseload	  of	  ISY	  Caseworkers,	  June	  2017	  
                                                                         Median	  of	  the	                                   Median	  
                                                                     Average	  Daily	  Caseload	                    Point-­‐in-­‐Time	  Caseload	  
                                                                            Recorded	                                     Self-­‐Reported	  
                    Caseworker	                                           in	  IMPACT	                                       in	  Survey	  
                      I	  See	  You	                                          43.9	                                               43.0	  
	  Source:	  IMPACT	  and	  ISY	  Survey,	  N=98	  ISY	  caseworkers.	  

The	  reported	  median	  of	  the	  caseloads	  is	  very	  consistent	  across	  the	  ISY	  Survey	  and	  IMPACT	  data	  sources	  
(shown	   in	   Table	   1).	   According	   to	   IMPACT	   records,	   the	   median	   average	   daily	   caseload	   for	   an	   ISY	  
caseworker	   in	   June	   2017	   was	   43.9	   children.	   According	   to	   the	   survey	   data,	   the	   median	   point-­‐in-­‐time	  
caseload	  for	  ISY	  caseworkers	  was	  43	  during	  the	  month	  of	  June.	  The	  consistency	  between	  the	  average	  
caseload	   calculated	   from	   IMPACT	   and	   the	   self-­‐reported	   point-­‐in-­‐time	   study	   suggests	   that	   43.9	   is	   a	  
reliable	  estimate	  of	  the	  typical	  caseload	  for	  an	  ISY	  caseworker	  in	  June	  2017.	  The	  average	  daily	  caseload	  
for	  ISY	  caseworkers	  ranged	  from	  a	  low	  of	  20	  children	  to	  a	  high	  of	  87	  children	  in	  June	  2017.	  However,	  
80	  percent	  of	  ISY	  caseworkers	  had	  an	  average	  daily	  caseload	  between	  32	  and	  64	  children.	  	  

As	  an	  additional	  point	  of	  reference,	  the	  number	  of	  children	  with	  a	  secondary	  caseworker	  assigned	  
to	  them	  on	  June	  15,	  2017,	  was	  4645	  and	  fluctuated	  modestly	  in	  June,	  from	  a	  high	  of	  4668	  to	  a	  low	  of	  
4596,	  as	  assignments	  began	  and	  ended.	  	  This	  includes	  all	  children	  for	  whom	  ISY	  caseworkers	  were	  
assigned	  as	  secondary	  caseworkers	  for	  the	  child’s	  substitute	  care	  stage.	  	  With	  respect	  to	  only	  PMC	  
children,	  there	  were	  2442	  PMC	  children	  on	  June	  15	  who	  were	  assigned	  an	  ISY	  worker,	  fluctuating	  
during	  the	  month	  from	  a	  high	  of	  2511	  to	  a	  low	  of	  2378.	  	  

The	  median	  ISY	  caseload	  differs	  considerably	  by	  region.	  For	  example,	  Table	  2	  shows	  that	  the	  typical	  
ISY	   caseworker	   in	   Region	   4	   has	   a	   caseload	   of	   nearly	   66	   children,	   whereas	   ISY	   caseworkers	   in	  
Region	  1	  have	  a	  caseload	  of	  approximately	  32	  children.	  

Table	  2:	  Average	  Daily	  Caseload	  of	  ISY	  Caseworkers	  by	  Region,	  June	  2017	  
                                                     Number	  of	  
                                Regions	           Caseworkers	             Median	          Minimum	             Maximum	  
                                   1	                       5	               31.9	             20.0	                54.8	  
                                   2	                       4	               38.2	             33.9	                46.0	  
                                   3	                      17	               39.1	             25.8	                53.1	  
                                   4	                       6	               65.9	             49.4	                74.4	  
                                   5	                       6	               55.6	             40.9	                75.8	  
                                   6	                      22	               52.6	             35.9	                63.6	  
                                   7	                      19	               39.2	             24.1	                57.7	  
                                   8	                      14	               40.3	             32.1	                45.3	  
                               Statewide	                  98	               43.9	             20.0	                86.7	  



	                                                                                                                                                             103	  
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Source:	  DFPS	  IMPACT	  data,	  N=98	  ISY	  caseworkers.	  
Note:	  Regions	  9	  and	  11	  are	  included	  in	  the	  calculations,	  but	  are	  not	  displayed	  in	  the	  table	  because	  of	  small	  
sample	  sizes	  in	  the	  regions.	  
	  

II.	  I	  SEE	  YOU	  WORKERS’	  TIME	  STUDY:	  MORE	  TIME	  NEEDED	  

CFRP	   conducted	   a	   time	   study	   of	   all	   current	   ISY	   caseworkers.	   In	   the	   time	   study,	   each	   caseworker	  
was	  asked	  to	  report	  on	  three	  randomly	  selected	  cases	  every	  week,	  for	  four	  consecutive	  weeks.	  The	  
selected	   cases	   were	   of	   children	   currently	   in	   the	   substitute	   care	   stage	   (SUB)	   in	   which	   the	   ISY	  
caseworker	   was	   assigned	   as	   secondary	   on	   the	   stage.	   For	   most	   caseworkers,	   the	   three	   cases	   were	  
randomly	   selected	   from	   all	   of	   the	   cases	   assigned	   to	   the	   caseworker	   during	   the	   prior	   six	   months	  
(between	   December	   2016	   and	   May	   2017)	   and	   still	   assigned	   as	   of	   June	   1,	   2017.	   In	   other	   words,	  
children	  in	  the	  ISY	  time	  study	  sample	  had	  been	  assigned	  to	  the	  ISY	  caseworker	  for	  no	  more	  than	  six	  
months	  at	  the	  time	  of	  the	  survey.	  The	  sampling	  goal	  was	  to	  have	  at	  least	  10	  cases	  per	  caseworker	  
available	  in	  case	  any	  of	  the	  three	  randomly	  selected	  cases	  were	  unassigned	  before	  the	  start	  of	  the	  
time	   study	   (June	   1st).	   83	   of	   the	   98	   caseworkers	   had	   at	   least	   10	   cases	   available	   that	   had	   been	  
assigned	   between	   December	   2016	   and	   May	   2017.	   In	   order	   to	   identify	   an	   adequate	   number	   of	   cases	  
for	   the	   remaining	   15	   caseworkers,	   CFRP	   selected	   some	   cases	   that	   were	   assigned	   as	   early	   as	   August	  
2016.	  This	  selection	  criteria	  resulted	  in	  a	  possible	  pool	  of	  1,467	  cases	  (approximately	  15	  cases	  per	  
caseworker).	   Available	   cases	   ranged	   from	   as	   few	   as	   5	   to	   as	   many	   as	   48	   per	   caseworker.	   The	   ISY	  
caseworkers	   also	   reported	   on	   the	   first	   new	   case	   assigned	   to	   them	   during	   the	   month	   of	   June.	   If	  
multiple	  children	  in	  a	  sibling	  group	  were	  assigned	  at	  the	  same	  time,	  the	  ISY	  worker	  was	  asked	  to	  
respond	  regarding	  the	  oldest	  child	  in	  the	  sibling	  group.	  Nineteen	  of	  the	  92	  available	  newly	  assigned	  
cases	  were	  part	  of	  a	  sibling	  group	  (20.7%).	  	  
	  
Each	  week,	  ISY	  caseworkers	  were	  asked	  to	  report	  a	  full	  retrospective	  on	  the	  actual	  time	  they	  spent	  
that	   week	   on	   the	   casework	   activities	   for	   each	   selected	   case,	   along	   with	   time	   they	   spent	   on	   general	  
(non-­‐case-­‐specific)	   activities.	   All	   available	   ISY	   caseworkers	   participated	   in	   the	   time	   study.	   In	   total,	   98	  
ISY	  caseworkers	  reported	  case-­‐specific	  activities	  for	  381	  cases.	  One	  individual	  did	  not	  complete	  one	  
of	  the	  weekly	  time	  reports.	  Several	  individuals	  were	  on	  leave	  for	  an	  entire	  week	  and	  had	  no	  time	  to	  
report	  other	  than	  leave	  time.	  These	  individuals	  were	  not	  required	  to	  submit	  the	  time	  report	  for	  the	  
week	  that	  they	  were	  on	  leave. 	  The	  overall	  response	  rate	  for	  those	  who	  were	  not	  reported	  as	  being	  on	                                                                          ∗




leave	  for	  a	  reported	  week	  was	  99.7	  percent.	  

Approximately	  half	  of	  the	  children	  on	  an	  ISY	  caseworker’s	  caseload	  are	  PMC	  children	  as	  compared	  to	  
children	   in	   TMC.	   The	   study	   determined	   that	   ISY	   caseworkers	   typically	   spend	   approximately	   93	  
hours	  each	  month	  on	  general	  activities	  that	  are	  not	  associated	  with	  any	  particular	  case	  (e.g.,	  travel	  or	  
training)	   and	   approximately	   2.75	   hours	   on	   each	   case	   on	   their	   caseload.	   The	   amount	   of	   time	   ISY	  
caseworkers	  spend	  on	  a	  case	  does	  not	  vary	  based	  on	  whether	  the	  child	  is	  in	  PMC	  or	  TMC,	  but	  may	  
vary	  based	  on	  the	  child’s	  placement	  and	  age.	  	  

Table	   3	   presents	   the	   median	   time	   spent	   on	   each	   case-­‐specific	   activity	   for	   PMC	   cases	   that	   were	  
assigned	  to	  ISY	  caseworkers	  in	  June	  2017.	  Table	  3	  also	  describes	  the	  percentage	  of	  PMC	  cases	  in	  the	  
time	  study	  for	  which	  at	  least	  some	  time	  was	  spent	  on	  the	  activity.	  CFRP	  examined	  whether	  the	  time	  

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
∗
 	  Three	  individuals	  were	  on	  leave	  for	  the	  entirety	  of	  week	  1	  of	  the	  study,	  two	  were	  on	  leave	  for	  the	  entirety	  of	  week	  2,	  two	  
were	  on	  leave	  for	  week	  the	  entirety	  of	  week	  3,	  and	  none	  were	  on	  leave	  for	  the	  entirety	  of	  week	  4.	  Leave	  was	  taken	  in	  
these	  instances	  pursuant	  to	  the	  federal	  Family	  and	  Medical	  Leave	  Act.	  


	                                                                                                                                                                                                                                                  104	  
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spent	  on	  TMC	  and	  PMC	  cases	  varied	  and	  found	  that	  the	  typical	  overall	  time	  spent	  on	  each	  case	  did	  
not	  vary	  significantly	  (2.75	  hours	  for	  both	  TMC	  and	  PMC	  cases).	  

Table	  3:	  Time	  on	  PMC	  Case-­‐Specific	  Activities	  
                                                                                  Percent	  of	  Selected	  PMC	  
                                                                                    Cases	  with	  at	  Least	                  Median	  of	  Non-­‐Zero	  
                                                                                  Some	  Time	  Reported	  for	                  Time	  on	  Activity	  
                               Activity	                                                    Activity	                                 (Minutes)	  
                         Documentation	                                                      91.2%	                                  40.0	  Minutes	  
                   Face-­‐to-­‐Face	  with	  Child	                                        90.6%	                                  30.0	  Minutes	  
                 Face-­‐to-­‐Face	  with	  Caregiver	                                      85.5%	                                  30.0	  Minutes	  
                      Follow-­‐up	  on	  Case	                                             70.4%	                                  30.0	  Minutes	  
                 Reviewing	  Case	  Documents	                                             51.6%	                                  30.0	  Minutes	  
                              Meetings	                                                      34.0%	                                  30.0	  Minutes	  
                               Outings	                                                       3.8%	                                  30.0	  Minutes	  
                                Court	                                                        3.1%	                                 110.0	  Minutes	  
                                Other	                                                        2.5%	                                  45.0	  Minutes	  
Source:	  ISY	  Time	  Study,	  N=159	  PMC	  cases.	  
Notes:	  Median	  times	  reported	  for	  each	  activity	  exclude	  ISY	  cases	  for	  which	  no	  time	  was	  listed.	  Only	  PMC	  cases	  are	  
included	  Table	  3.	  
	  

At	   their	   current	   caseloads,	   to	   spend	   the	   typical	   (median)	   amount	   of	   time	   that	   ISY	   workers	   reported	  
spending	  on	  their	  secondary	  assignments,	  caseworkers	  would	  need	  to	  be	  working	  between	  20	  and	  
190	  hours	  of	  overtime	  each	  month.	  Again,	  this	  finding	  is	  based	  on	  self-­‐reported	  information	  from	  
ISY	  caseworkers	  and	  was	  not	  otherwise	  independently	  validated.	  

For	  approximately	  40	  percent	  of	  the	  sampled	  PMC	  cases,	  ISY	  caseworkers	  indicated	  they	  wished	  they	  
had	   more	   time	   to	   spend	   with	   children	   and	   caregivers	   in	   face-­‐to-­‐face	   visits	   with	   the	   children.	   ISY	  
caseworkers	  indicated	  that	  they	  would	  like	  additional	  time	  to	  follow-­‐up	  on	  children’s	  needs	  for	  almost	  
one-­‐third	   of	   the	   sampled	   PMC	   cases.	   For	   the	   cases	   for	   which	   ISY	   caseworkers	   desired	   more	   time	   for	  
face-­‐to-­‐face	  meeting	  activities,	  the	  median	  additional	  time	  desired	  was	  approximately	  30	  minutes	  more	  
per	  child.	  	  

III.	  MONTHLY	  FACE-­‐TO-­‐FACE	  VISIT	  RATE	  
To	  measure	  the	  extent	  to	  which	  the	  ISY	  caseworkers	  conducted	  a	  monthly	  face-­‐to-­‐face	  visit	  with	  each	  
child	  on	  their	  caseload,	  CFRP	  calculated	  a	  monthly	  visit	  rate	  for	  each	  ISY	  caseworker.	  CFRP	  divided	  
the	  number	  of	  face-­‐to-­‐face	  visits	  documented	  in	  IMPACT	  for	  each	  caseworker	  by	  the	  total	  number	  of	  
monthly	  face-­‐to-­‐face	  visits	  required	  of	  that	  caseworker	  (i.e.,	  the	  total	  number	  of	  children	  who	  were	  
on	  the	  ISY	  caseworker’s	  caseload	  for	  the	  entire	  month	  of	  June	  2017).	  	  

In	  June	  2017,	  98	  ISY	  caseworkers	  were	  required	  to	  complete,	  at	  the	  median,	  21.5	  visits	  each	  with	  PMC	  
children.	   The	   median	   number	   of	   visits	   completed	   was	   actually	   16	   per	   worker.	   This	   reflects	   a	  
completion	   rate	   of	   74.4	   percent	   of	   the	   monthly	   face-­‐to-­‐face	   visits	   for	   ISY	   workers’	   cases.	   ISY	  
caseworkers	   missed	   visits	   altogether	   with	   slightly	   more	   than	   one-­‐quarter	   of	   the	   PMC	   children	   they	  
were	   responsible	   to	   visit.	   The	   median	   visit	   rate	   was	   slightly	   higher	   at	   77.8	   percent,	   which	   was	   created	  
by	  calculating	  the	  average	  of	  each	  individual	  ISY	  caseworker’s	  visit	  rate	  and	  taking	  the	  median	  of	  that	  


	                                                                                                                                                                     105	  
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value,	   not	   by	   using	   the	   average	   number	   of	   required	   visits	   divided	   by	   the	   average	   number	   of	   visits	  
conducted.	   The	   analysis	   was	   limited	   to	   children	   in	   PMC.	   The	   caseworker	   with	   the	   lowest	   visit	   rate	  
completed	  23.1	  percent	  of	  her	  required	  visits	  and	  the	  caseworker	  with	  the	  highest	  visit	  rate	  completed	  
100	  percent	  of	  her	  required	  visits.	  	  

IV.	  INITIAL	  FACE-­‐TO-­‐FACE	  VISIT	  RATE	  
An	  ISY	  caseworker	  must	  also	  conduct	  an	  initial	  face-­‐to-­‐face	  visit	  with	  each	  new	  child	  assigned	  to	  her	  
caseload	  within	  15	  days	  of	  being	  assigned	  as	  secondary	  caseworker	  on	  the	  case. 	  To	  assess	  the	  extent	                                                                                              ∗




to	  which	  ISY	  caseworkers	  met	  this	  casework	  practice	  standard,	  CFRP	  divided	  the	  number	  of	  face-­‐to-­‐
face	  visits	  on	  new	  cases	  by	  the	  number	  of	  expected	  initial	  face-­‐to-­‐face	  visits	  in	  June	  2017.	  Forty-­‐six	  ISY	  
caseworkers	   had	   a	   new	   PMC	   case	   assigned	   to	   them	   for	   at	   least	   15	   calendar	   days	   in	   June	   2017	  
(providing	   the	   worker	   sufficient	   time	   to	   meet	   this	   standard).	   Of	   those	   caseworkers,	   the	   typical	  
caseworker	   completed	   50	   percent	   of	   initial	   face-­‐to-­‐face	   visits	   with	   new	   children.	   Overall,	   ISY	  
caseworkers	  completed	  between	  zero	  and	  100	  percent	  of	  their	  initial	  face-­‐to-­‐face	  visits.	  Of	  the	  46	  ISY	  
caseworkers	   who	   had	   at	   least	   15	   days	   with	   a	   new	   PMC	   case	   in	   June	   2017,	   41	   percent	   met	   with	   100	  
percent	   of	   the	   children	   on	   their	   new	   cases	   within	   15	   days.	   However,	   35	   percent	   of	   ISY	   caseworkers	  
with	  a	  new	  case	  did	  not	  complete	  a	  single	  initial	  face-­‐to-­‐face	  in	  June.	  

At	   their	   given	   caseload	   level,	   approximately	   three-­‐fourths	   of	   ISY	   caseworkers	   are	   meeting	   monthly	  
with	   each	   child	   on	   their	   caseload,	   and	   half	   made	   the	   prescribed	   initial	   contact	   in	   June	   with	   new	  
children	  assigned	  to	  their	  care.	  Completion	  rates	  for	  monthly	  and	  initial	  face-­‐to-­‐face	  visits	  are	  based	  
on	  DFPS	  administrative	  data,	  which	  do	  not	  provide	  any	  information	  about	  the	  quality	  of	  the	  visits,	  or	  
whether	  the	  visits	  are	  conducted	  privately.	  DFPS	  advised	  the	  Special	  Masters	  that	  there	  is	  no	  specific	  
location	   in	   the	   IMPACT	   record	   where	   caseworkers	   must	   confirm	   that	   a	   child	   was	   interviewed	   in	  
private	  or	  separately.	  

V.	  KNOWLEDGE	  OF	  CHILDREN’S	  CASES	  
CFRP	   gathered	   data	   on	   two	   randomly	   selected	   children	   assigned	   to	   22	   ISY	   caseworkers	   through	   a	  
series	  of	  interviews	  conducted	  in	  the	  CPS	  offices	  in	  Lubbock,	  Austin,	  Corpus	  Christi,	  and	  San	  Antonio.	  
The	  cases	  were	  identified	  to	  the	  ISY	  workers	  in	  advance	  of	  the	  meetings	  to	  allow	  the	  ISY	  caseworkers	  
time	  to	  review	  their	  files	  completely.	  ISY	  caseworkers	  were	  asked	  to	  bring	  any	  paper	  documentation	  
or	   files	   pertaining	   to	   the	   children	   to	   the	   interview	   with	   them.	   In	   each	   location,	   the	   interviews	   took	  
place	   over	   the	   course	   of	   one	   day,	   except	   in	   Austin	   where	   interviews	   took	   place	   over	   two	   days.	  
Attorneys	   were	   not	   present	   for	   ISY	   interviews	   in	   Lubbock	   or	   Austin	   and	   were	   present	   in	   Corpus	  
Christi	  and	  San	  Antonio.	  The	  questions	  were	  shared	  with	  DFPS	  attorneys	  in	  advance	  at	  their	  request.	  
CFRP	   does	   not	   know	   if	   they	   shared	   the	   questions	   with	   the	   workers	   since	   the	   interviews	   were	  
approached	  not	  as	  deposition,	  but	  as	  an	  interview	  for	  research.	  
	  
For	   59	   percent	   of	   children,	   ISY	   caseworkers	   could	   provide	   details	   about	   the	   child’s	   education,	  
including	   grade	   level,	   school,	   subjects	   that	   the	   child	   enjoys,	   and	   the	   child’s	   specialized	   educational	  
needs,	  if	  applicable.	  	  



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
∗
    	  Child	  Protective	  Services	  Handbook.	  Section	  6414,	  ISY	  Supervision.	  Updated	  February	  2017.	  
https://www.dfps.state.tx.us/handbooks/CPS/Files/CPS_pg_6400.asp#CPS_6414.	  

	  

	                                                                                                                                                                                                                                                      106	  
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For	   another	   34	   percent	   of	   children,	   ISY	   caseworkers	   provided	   incomplete	   or	   undetailed	   information	  
about	  the	  child’s	  education.	  

For	   six	   percent	   of	   children,	   the	   ISY	   caseworkers	   could	   not	   describe	   anything	   about	   the	   child’s	  
education.	  	  

CFRP	   asked	   ISY	   caseworkers	   whether	   children	   had	   contact	   with	   their	   siblings	   or	   parents	   and	   found	  
that	   for	   81	   percent	   of	   children,	   the	   ISY	   caseworker	   could	   describe	   the	   child’s	   contact	   with	   family	   in	  
detail.	   For	   another	   17	   percent	   of	   children,	   the	   ISY	   caseworker	   provided	   some	   incomplete	  
information	  about	  the	  child’s	  contact	  with	  siblings	  or	  parents	  and	  for	  2	  percent	  of	  children,	  the	  ISY	  
caseworker	  could	  not	  provide	  any	  information	  on	  this	  topic.	  

CFRP	   asked	   ISY	   caseworkers	   about	   their	   knowledge	   of	   children’s	   most	   recent	   medical	   visits	   and	  
medication.	   ISY	   caseworkers	   provided	   detailed	   information	   about	   the	   last	   medical	   visit,	   such	   as	   the	  
date	  of	  the	  visit,	  type	  of	  provider	  and	  name	  of	  provider,	  for	  28	  percent	  of	  children.	  

ISY	  caseworkers	  provided	  limited	  information,	  such	  as	  whether	  the	  child	  is	  up-­‐to-­‐date	  on	  medical	  
and	   dental	   visits,	   for	   54	   percent	   of	   children.	   ISY	   caseworkers	   were	   not	   able	   to	   provide	   any	  
information	  whatsoever	  about	  the	  most	  recent	  medical	  visit	  for	  18	  percent	  of	  the	  children.	  	  

With	  regard	  to	  medication,	  ISY	  caseworkers	  could	  describe	  the	  medication	  details,	  such	  as	  type	  of	  
medication	   and	   dosage,	   for	   only	   24	   percent	   of	   children	   and	   could	   describe	   only	   general	   medical	  
needs	   or	   basic	   medication	   types	   (i.e.	   describing	   a	   medication	   as	   an	   antidepressant	   but	   not	   knowing	  
more)	   for	   35	   percent	   of	   children.	   ISY	   caseworkers	   reported	   that	   38	   percent	   of	   the	   children	   who	  
they	   were	   asked	   about	   do	   not	   take	   any	   medications	   and	   for	   3	   percent	   of	   children,	   the	   ISY	  
caseworkers	  were	  not	  able	  to	  provide	  any	  information	  on	  the	  child’s	  medications.	  

CFRP	  surveyed	  all	  ISY	  caseworkers	  to	  learn	  what	  documents	  they	  rely	  upon	  to	  come	  up	  to	  speed	  on	  
a	   new	   case,	   as	   shown	   in	   Figure	   1	   below.	   The	   documents	   that	   nearly	   half	   of	   ISY	   caseworkers	  
reported	   were	   essential	   include	   psychological	   assessments	   and	   the	   removal	   affidavit.	   The	   survey	  
results	   show	   that	   ISY	   caseworkers	   are	   less	   likely	   to	   consider	   educational	   records,	   court	   reports,	  
visitation	  plans,	  and	  home	  studies	  when	  they	  are	  coming	  up	  to	  speed	  on	  a	  new	  case.	  	  




	                                                                                                                                                                107	  
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Figure	  1:	  Usefulness	  of	  Documents	  for	  Coming	  Up	  to	  Speed	  on	  a	  Case	  


                                                                                               Percent  of  ISY  Caseworkers  Who  Find  Document  "Essen<al"  for  Coming  Up  to  
                                                                                                                              Speed  on  a  New  Case

       100%	  

            80%	  

            60%	  
                                                                                   44.3%	                                                                                                                                                          46.9%	  
            40%	                                                                                                                                                                                                                                                                                                34.7%	  
                                                                                                                                                                                       26.8%	                                                                               29.6%	  
                                                                                                                                                                                                                                                                                               25.5%	  
                                                                                                                                                                                                                                                                18.1%	  
            20%	  

                     0%	  
                                                                             Removal	                                                                          Court	  reports	   Psychological	         Other	                                                        Visitayon	     Educayonal	   Relayve	  or	  
                                                                             aﬃdavit	                                                                                               assessments	   assessments	                                                            plans	       informayon	   kinship	  home	  
                                                                                                                                                                                                       of	  the	  child	                                                                                    study	  
                                                                                                                                                                                                                                                                                                                                       	  
Source:	  ISY	  Survey,	  N=	  98	  ISY	  caseworkers.	  

VI.	  THE	  ISY	  WORKER’S	  COMMUNICATION	  WITH	  PRIMARY	  CASEWORKERS	  
In	   addition	   to	   conducting	   a	   phone	   conference	   prior	   to	   the	   ISY	   caseworker’s	   initial	   visit	   with	   the	  
child,	   ISY	   caseworkers	   are	   expected	   to	   communicate	   at	   least	   monthly	   with	   the	   primary	   CVS	  
caseworker	  to	  provide	  information	  to	  assist	  with	  completing	  service	  plans	  and	  court	  reports. 	  The	                                                                                                                                                                                   ∗




primary	   CVS	   caseworker	   is	   also	   required	   to	   maintain	   at	   least	   monthly	   contact	   with	   the	   child	   and	  
caregiver,	  maintain	  at	  least	  monthly	  contact	  with	  the	  ISY	  caseworker	  to	  ensure	  the	  child’s	  needs	  are	  
being	  met,	  and	  submit	  the	  court	  report	  to	  the	  ISY	  caseworker	  five	  days	  before	  a	  court	  hearing	  and	  
any	   court	   orders	   within	   five	   days	   of	   the	   hearing	   to	   ensure	   the	   child	   and	   caregiver	   are	   being	  
provided	   with	   consistent	   information. 	   No	   records	   of	   this	   communication	   are	   available	   in	   the	                                                                                                          ∞




aggregate	  IMPACT	  database.	  

To	  provide	  a	  better	  understanding	  of	  the	  quality	  of	  communication	  and	  collaboration	  between	  ISY	  
and	   CVS	   caseworkers,	   CFRP’s	   surveys	   asked	   ISY	   caseworkers	   a	   series	   of	   questions	   about	   their	  
interactions	  with	  one	  another.	  ISY	  caseworkers	  responded	  to	  questions	  about	  communication	  and	  
collaboration	   with	   the	   CVS	   primary	   caseworkers	   with	   whom	   they	   work,	   and	   CVS	   caseworkers	  
responded	  about	  the	  ISY	  caseworkers	  with	  whom	  they	  work.	  	  

Figure	  2	  shows	  the	  percentage	  of	  ISY	  respondents	  who	  disagree	  with	  certain	  statements	  about	  how	  
their	   primary	   caseworkers	   collaborate	   on	   a	   case.	   As	   shown	   in	   Figure	   2,	   over	   82	   percent	   of	   ISY	  
caseworkers	  report	  that	  their	  CVS	  caseworker	  does	  not	  set	  a	  regular	  schedule	  for	  communication.	  
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
	  Child	  Protective	  Services	  Handbook.	  Section	  6414.3,	  Responsibilities	  of	  I	  See	  You	  Caseworker.	  Updated	  February	  2017.	  
∗


https://www.dfps.state.tx.us/handbooks/CPS/Files/CPS_pg_6400.asp#CPS_6414.3.	  
∞
 	  Child	  Protective	  Services	  Handbook.	  Section	  6414.4,	  Responsibilities	  of	  the	  Primary	  Caseworker	  when	  an	  I	  See	  You	  
Caseworker	  is	  Assigned	  to	  a	  Child.	  Updated	  February	  2017.	  


	                                                                                                                                                                                                                                                                                                                               108	  
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ISY	  caseworkers	  also	  report	  that	  CVS	  caseworkers	  do	  not	  communicate	  regularly	  with	  the	  child	  or	  
the	   child’s	   caregiver.	   But	   only	   24	   percent	   of	   ISY	   caseworkers	   disagreed	   with	   the	   statement	   their	  
primary	  caseworkers	  are	  knowledgeable	  about	  the	  child	  and	  the	  child’s	  case.	  

Figure	  2:	  ISY	  Perception	  of	  Collaboration	  with	  CVS	  (%	  who	  disagree)	  

                                             In	  general,	  the	  CVS	  caseworkers	  with	  whom	  I	  work...	  

                                       Set	  a	  regular	  schedule	  for	  communicayng	  with	  me.	                                       82.6%	  

                       Communicate	  regularly	  with	  the	  child,	  when	  age	  appropriate.	  	                                     70.4%	  

                                         Communicate	  regularly	  with	  the	  child’s	  caregiver.	                                     63.3%	  

                        Respond	  to	  my	  emails	  and/or	  phone	  calls	  in	  a	  ymely	  manner.	                     42.8%	  

                  Provide	  me	  with	  the	  informayon	  that	  I	  need	  about	  the	  child/case.	                  30.6%	  

                                 Are	  knowledgeable	  about	  the	  child	  and	  his	  or	  her	  case.	              23.7%	  

                                                                                                                         0%	           20%	         40%	      60%	     80%	       100%	  
                                                                         Percent	  Who	  Disagree	  or	  Strongly	  Disagree	  
                                                                                                                                                                                                  	  
Source:	  ISY	  Survey,	  N=98	  ISY	  caseworkers.	  
	  

VII.	  MEDICAL	  CONSENTERS	  	  
DFPS	   must	   designate	   at	   least	   one	   primary	   and	   one	   backup	   medical	   consenter	   for	   each	   child	   in	  
conservatorship,	  who,	  depending	  on	  the	  child’s	  placement,	  may	  include	  the	  child’s	  caregiver	  and/or	  
caseworker.	  	  Among	  their	  responsibilities,	  medical	  consenters	  must	  be	  knowledgeable	  of	  the	  child’s	  
medical	   conditions,	   history,	   and	   needs,	   participate	   in	   the	   child’s	   medical	   appointments,	   provide	  
informed	   medical	   consent	   for	   psychotropic	   medications,	   and	   ensure	   the	   children	   who	   are	  
prescribed	  psychotropic	  medications	  attend	  follow-­‐up	  appointments	  with	  the	  prescribing	  provider	  
at	   least	   every	   90	   days.	   Caseworkers,	   including	   both	   CVS	   and	   ISY	   caseworkers,	   are	   typically	   only	  
designated	  as	  medical	  consenters	  for	  children	  on	  their	  caseload	  who	  are	  placed	  in	  RTCs	  and	  other	  
general	  residential	  operations	  with	  shift	  staff.	  

ISY	  caseworkers	  interviewed	  by	  the	  research	  team	  identified	  9	  PMC	  children	  for	  whom	  they	  were	  
at	  least	  partially	  responsible	  for	  arranging	  and	  consenting	  to	  the	  child’s	  medical	  care.	  For	  7	  of	  those	  
9	  children,	  the	  ISY	  caseworkers	  reported	  that	  additional	  people	  were	  also	  involved	  in	  coordinating	  
the	  child’s	  medical	  care,	  including	  the	  primary	  caseworker,	  the	  child’s	  caregiver,	  and/or	  the	  medical	  
coordinators	  at	  an	  RTC.	  
	  	  
For	   4	   of	   those	   9	   children,	   ISY	   caseworkers	   provided	   detailed	   information	   about	   the	   last	   medical	  
visit,	   such	   as	   the	   date	   of	   the	   visit,	   type	   of	   provider	   and	   name	   of	   provider.	   The	   ISY	   caseworkers	  
provided	  limited	  information,	  such	  as	  whether	  the	  child	  is	  up-­‐to-­‐date	  on	  medical	  and	  dental	  visits,	  
for	  another	  4	  of	  the	  9	  children.	  ISY	  caseworkers	  were	  not	  able	  to	  provide	  any	  information	  about	  the	  
most	  recent	  medical	  visit	  for	  1	  of	  the	  9	  children.	  
	  	  
ISY	  caseworkers	  could	  also	  describe	  details	  about	  children’s	  medication,	  such	  as	  type	  of	  medication	  
and	   dosage,	   for	   5	   of	   the	   9	   children	   and	   could	   describe	   only	   general	   medical	   needs	   or	   basic	  
medication	   types	   for	   2	   of	   the	   9	   children.	   ISY	   caseworkers	   reported	   that	   the	   remaining	   2	   children	  


	                                                                                                                                                                                   109	  
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who	  they	  were	  asked	  about	  do	  not	  take	  any	  medications.	  
	  

                                                        Summary	  and	  Conclusion	  
The	   typical	   ISY	   caseworker	   has	   a	   caseload	   of	   nearly	   44	   children	   each	   day	   of	   the	   month.	   This	  
caseload	   level	   varies	   considerably	   by	   region,	   however,	   with	   a	   low	   of	   32	   children	   on	   a	   typical	  
caseload	  in	  Region	  1	  and	  a	  high	  of	  66	  children	  on	  a	  typical	  caseload	  in	  Region	  4.	  Approximately	  half	  
of	  the	  children	  on	  an	  ISY	  caseworker’s	  caseload	  are	  children	  in	  PMC,	  as	  compared	  to	  TMC.	  	  

Based	   on	   information	   reported	   in	   the	   ISY	   Time	   Study,	   ISY	   caseworkers	   typically	   spend	  
approximately	   93	   hours	   each	   month	   on	   general	   activities	   that	   are	   not	   associated	   with	   any	  
particular	   case	   (e.g.,	   travel	   or	   training),	   and	   approximately	   2.75	   hours	   on	   each	   PMC	   case	   on	   their	  
caseload.	  If	  ISY	  caseworkers	  typically	  spent	  2.75	  hours	  on	  each	  of	  their	  44	  cases,	  and	  93	  hours	  on	  
general	  activities,	  they	  must	  work	  considerable	  over	  time	  each	  month.	  	  

In	   June	   2017,	   98	   ISY	   caseworkers	   were	   required	   to	   complete,	   at	   the	   median,	   21.5	   visits	   with	   PMC	  
children	   in	   June.	   The	   median	   number	   of	   visits	   completed	   was	   actually	   16.	   This	   reflects	   a	   completion	  
rate	  of	  74.4	  percent	  of	  the	  monthly	  face-­‐to-­‐face	  visits	  for	  ISY	  workers’	  cases.	  ISY	  caseworkers	  missed	  
visits	   altogether	   with	   slightly	   more	   than	   one-­‐quarter	   of	   the	   PMC	   children	   they	   were	   responsible	   to	  
visit.	  The	  caseworker	  with	  the	  lowest	  visit	  rate	  completed	  23.1	  percent	  of	  her	  required	  visits	  and	  the	  
caseworker	  with	  the	  highest	  visit	  rate	  completed	  100	  percent	  of	  her	  required	  visits.	  	  

The	   typical	   ISY	   caseworker	   completed	   50	   percent	   of	   initial	   face-­‐to-­‐face	   visits	   with	   new	   children	   in	  
June.	   Overall,	   ISY	   caseworkers	   completed	   between	   zero	   and	   100	   percent	   of	   their	   initial	   face-­‐to-­‐face	  
visits.	   Of	   the	   46	   ISY	   caseworkers	   who	   had	   at	   least	   15	   days	   with	   a	   new	   PMC	   case	   in	   June	   2017,	   41	  
percent	   met	   with	   100	   percent	   of	   the	   children	   on	   their	   new	   cases	   within	   15	   days.	   However,	   35	   percent	  
of	  ISY	  caseworkers	  with	  a	  new	  case	  did	  not	  complete	  a	  single	  initial	  face-­‐to-­‐face	  with	  those	  children	  in	  
June.	  

Interviewed	  ISY	  caseworkers	  could	  provide	  details	  about	  children’s	  education,	  including	  grade	  level,	  
school,	  subjects	  that	  the	  child	  enjoys,	  and	  the	  child’s	  specialized	  educational	  needs,	  if	  applicable,	  59	  
percent	  of	  the	  time.	  	  

For	   another	   34	   percent	   of	   children,	   ISY	   caseworkers	   provided	   incomplete	   or	   undetailed	   information	  
about	   the	   child’s	   education,	   and	   for	   6	   percent	   of	   children	   the	   ISY	   caseworkers	   could	   not	   describe	  
anything	  about	  the	  child’s	  education.	  	  

CFRP	   asked	   ISY	   caseworkers	   whether	   children	   had	   contact	   with	   their	   siblings	   or	   parents	   and	   found	  
that	   for	   81	   percent	   of	   children,	   the	   ISY	   caseworker	   could	   describe	   the	   child’s	   contact	   with	   family	   in	  
detail.	   For	   another	   17	   percent	   of	   children,	   the	   ISY	   caseworker	   provided	   incomplete	   information	  
about	  the	  child’s	  contact	  with	  siblings	  or	  parents	  and	  for	  2	  percent	  of	  children,	  the	  ISY	  caseworker	  
could	  not	  provide	  any	  information	  on	  this	  topic.	  

CFRP	   asked	   ISY	   caseworkers	   about	   their	   knowledge	   of	   children’s	   most	   recent	   medical	   visits	   and	  
medication.	   ISY	   caseworkers	   provided	   detailed	   information	   about	   the	   last	   medical	   visit,	   such	   as	   the	  
date	  of	  the	  visit,	  type	  of	  provider	  and	  name	  of	  provider,	  for	  28	  percent	  of	  children.	  




	                                                                                                                                                                    110	  
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ISY	  caseworkers	  provided	  limited	  information,	  such	  as	  whether	  the	  child	  is	  up-­‐to-­‐date	  on	  medical	  
and	   dental	   visits,	   for	   54	   percent	   of	   children.	   ISY	   caseworkers	   were	   not	   able	   to	   provide	   any	  
information	   about	   the	   most	   recent	   medical	   visit	   for	   18	   percent	   of	   the	   children	   they	   were	   asked	  
about.	  	  

With	  regard	  to	  medication,	  ISY	  caseworkers	  could	  describe	  the	  medication	  details,	  such	  as	  type	  of	  
medication	  and	  dosage,	  for	  24	  percent	  of	  children	  and	  could	  describe	  only	  general	  medical	  needs	  or	  
basic	  medication	  types	  (i.e.	  describing	  a	  medication	  as	  an	  antidepressant	  but	  not	  knowing	  more)	  for	  
35	   percent	   of	   children.	   ISY	   caseworkers	   reported	   that	   38	   percent	   of	   the	   children	   who	   they	   were	  
asked	  about	  do	  not	  take	  any	  medications	  and	  for	  3	  percent	  of	  children,	  the	  ISY	  caseworkers	  were	  
not	  able	  to	  provide	  any	  information	  on	  the	  child’s	  medications.	  

Over	  82	  percent	  of	  ISY	  caseworkers	  report	  that	  their	  CVS	  caseworkers	  do	  not	  set	  a	  regular	  schedule	  
for	   communication.	   ISY	   caseworkers	   also	   report	   that	   CVS	   caseworkers	   do	   not	   communicate	  
regularly	   with	   the	   child	   or	   the	   child’s	   caregiver.	   	   Twenty-­‐three	   percent	   of	   ISY	   caseworkers	  
disagreed	  with	  the	  statement	  their	  primary	  caseworkers	  are	  knowledgeable	  about	  the	  child	  and	  the	  
child’s	  case.	  

	  

	  

	  

	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  
	  


                                                                              	  
                                                                              	  
                                                                              	  

	                                                                                                                                                     111	  
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                                                      APPENDIX	  C	  
                       (Filed	  Simultaneously	  to	  the	  Implementation	  Plan	  	  

                               and	  Separately	  Due	  to	  Size	  of	  the	  Report)	  

                                                                     	  
                                                                     	  

Appendix	  C:	  Texas	  Child	  Protective	  Services	   	  
	  

RCCL	  Workload	  Study	  
	  

Submitted	  by:	  

	  

Cynthia	  Osborne,	  Ph.D.	  

Director,	  Child	  and	  Family	  Research	  Partnership	  

	                                          	  




	                                                                                                  112	  
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                                                            APPENDIX	  D	  
                                      Response	  from	  A.	  Carmical,	  March	  24,	  2017,	  
                                          	  to	  the	  Request	  from	  the	  Special	  Masters	  	  
                                               for	  Information	  February	  10,	  2017	  

6.	  Please	  identify	  any	  specific	  location	  in	  the	  IMPACT	  record	  where	  caseworkers	  must	  
confirm	  that	  a	  child	  was	  interviewed	  in	  private	  or	  separately.	  	  

	   	     ·	  	  There	  is	  no	  specific	  location	  in	  the	  IMPACT	  record	  where	  caseworkers	  must	  
            confirm	  that	  a	  child	  was	  interviewed	  in	  private	  or	  separately.	  	  	  

	   	     ·	  	  See	  CPS	  Handbook8	  sections:	  	  	  

o	  6133.1	  Documentation	  and	  Communication	  o	  6133.2	  Documenting	  Contacts	  in	  Substitute	  
Care	  o	  6133.21	  Documenting	  Contacts	  Using	  the	  Contact	  Details	  Page	  o	  6133.22	  
Documenting	  Monthly	  Contacts	  and	  Visits	  o	  6133.23	  Required	  Narrative	  Content	  o	  6133.24	  
Contacts	  and	  Visits	  with	  the	  Child,	  Parent,	  Kinship,	  Relatives,	  and	  Caregiver	  ·	  In	  addition,	  
CFSR	  case	  reviewers	  read	  cases	  under	  the	  following	  guidelines	  to	  determine	  if	  quality	  face-­‐
to-­‐face	  contacts	  occurred:	  o	  CFSR	  case	  reviewers	  look	  for	  information	  on	  face-­‐to-­‐face	  
contacts	  between	  the	  caseworker	  and	  the	  child	  in	  IMPACT,	  in	  the	  monthly	  narrative	  and/or	  
the	  specific	  CVS	  monthly	  required	  contact.	  This	  review	  includes	  determining	  if	  part	  of	  each	  
face-­‐to-­‐face	  contact	  with	  the	  child	  includes	  private	  time.	  During	  quarterly	  case	  briefings	  
with	  staff	  and	  unit	  trainings,	  CFSR	  case	  reviewers	  provide	  information	  concerning	  whether	  
the	  requirement	  for	  private	  visits	  was	  met.	  This	  information	  is	  also	  provided	  in	  the	  
monthly	  Basic	  Skills	  Development	  for	  Supervisors	  training.	  	  

o	  See	  document	  titled	  “CVS	  required	  FTE.pdf,”	  included	  as	  an	  attachment	  in	  an	  email	  dated	  
March	  24,	  2017,	  for	  a	  screenshot	  of	  the	  contact	  narrative.	  	  

·	  Finally,	  DFPS	  leadership	  reviews	  quarterly	  data	  concerning	  face-­‐to-­‐face	  contacts,	  
including	  both	  quantitative	  data	  (percentage	  of	  face-­‐to-­‐face	  contacts	  occurring	  at	  least	  
monthly)	  and	  qualitative	  data	  (percentage	  of	  face-­‐to-­‐face	  contacts	  occurring	  in	  private).	  
The	  agency	  consistently	  exceeds	  the	  federal	  target	  of	  90%.	  	  

16.	  Please	  identify	  for	  us	  the	  time	  needed	  (if	  any)	  by	  DFPS	  to	  improve	  its	  IMPACT	  system	  so	  
that:	  	  

a.	  All	  of	  a	  child’s	  medical	  records	  are	  included	  and	  available	  in	  an	  identified	  health	  section	  
of	  a	  child’s	  case	  file	  in	  IMPACT;	  	  

o	  Not	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  system.	  Many	  of	  a	  child’s	  



	                                                                                                                                          113	  
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medical	  records	  are	  already	  included,	  and	  available	  to	  caseworkers,	  in	  the	  Health	  Passport.	  
Caseworkers	  have	  access	  to	  other	  medical	  records	  in	  the	  child’s	  case	  file.	  The	  Court	  has	  not	  
ordered	  DFPS	  to	  modify	  the	  agency’s	  IMPACT	  system.	  DFPS	  cannot	  divert	  resources	  
needed	  for	  services	  to	  children	  in	  care	  to	  duplicating	  existing	  functionality	  or	  modifying	  the	  
current,	  constitutionally	  sound	  system.	  	  

o	  The	  child’s	  electronic	  case	  record	  in	  IMPACT	  contains	  a	  medical	  tab	  in	  which	  caseworkers	  
document	  the	  child’s	  medical	  appointments.	  The	  medical/	  mental	  assessment	  tab	  includes	  
the	  doctor’s	  name,	  the	  reason	  for	  the	  medical	  visit,	  the	  date	  the	  medical	  appointment	  
occurred	  and	  the	  findings	  of	  the	  appointment.	  Further	  information	  relating	  to	  this	  page	  in	  
IMPACT	  will	  be	  demonstrated	  during	  the	  upcoming	  IMPACT	  demonstration	  the	  Special	  
Masters	  requested.	  	  

b.	  A	  child’s	  current	  photo	  (“current”	  as	  described	  in	  the	  Special	  Masters’	  Recommendations	  
of	  November	  2016)	  is	  prominently	  included	  in	  the	  child’s	  file	  within	  the	  IMPACT	  system;	  	  

o	  Complete	  -­‐	  See	  CPS	  Handbook	  Section	  6433.5	  Maintaining	  Current	  Photograph	  of	  a	  Child.	  	  

o	  The	  child’s	  electronic	  case	  record	  in	  IMPACT	  includes	  a	  location	  for	  a	  child’s	  photograph	  
to	  be	  uploaded	  into	  the	  external	  documents.	  Further	  information	  relating	  to	  this	  page	  in	  
IMPACT	  will	  be	  demonstrated	  during	  the	  upcoming	  IMPACT	  demonstration	  the	  Special	  
Masters	  requested.	  	  

c.	  All	  of	  a	  child’s	  dental	  records	  are	  included	  and	  available	  in	  an	  identified	  health	  section	  of	  
a	  child’s	  case	  file	  in	  IMPACT;	  	  

o	  Not	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  system.	  Many	  of	  a	  child’s	  
dental	  records	  are	  already	  included,	  and	  available	  to	  caseworkers,	  in	  the	  Health	  Passport.	  
Caseworkers	  have	  access	  to	  other	  dental	  records	  in	  the	  child’s	  case	  file.	  The	  Court	  has	  not	  
ordered	  DFPS	  to	  modify	  the	  agency’s	  IMPACT	  system.	  DFPS	  cannot	  divert	  resources	  
needed	  for	  services	  to	  children	  in	  care	  to	  duplicating	  existing	  functionality	  or	  modifying	  the	  
current,	  constitutionally	  sound	  system.	  	  

o	  The	  child’s	  electronic	  case	  record	  in	  IMPACT	  contains	  a	  medical	  tab	  in	  which	  caseworkers	  
document	  the	  child’s	  medical	  appointments.	  The	  medical/	  mental	  assessment	  tab	  includes	  
the	  doctor’s	  name,	  the	  reason	  for	  the	  medical	  visit,	  the	  date	  the	  medical	  appointment	  
occurred	  and	  the	  findings	  of	  the	  appointment.	  Further	  information	  relating	  to	  this	  page	  in	  
IMPACT	  will	  be	  demonstrated	  during	  the	  upcoming	  IMPACT	  demonstration	  the	  Special	  
Masters	  requested.	  	  

d.	  All	  of	  a	  child’s	  mental	  health	  records	  are	  included	  and	  available	  in	  an	  identified	  health	  
section	  of	  a	  child’s	  case	  file	  in	  IMPACT;	  	  




	                                                                                                                                             114	  
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o	  Not	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  system.	  Many	  of	  a	  child’s	  
mental	  health	  records	  are	  already	  included,	  and	  available	  to	  caseworkers,	  in	  the	  Health	  
Passport.	  Caseworkers	  have	  access	  to	  other	  mental	  health	  records	  in	  the	  child’s	  case	  file.	  
The	  Court	  has	  not	  ordered	  DFPS	  to	  modify	  the	  agency’s	  IMPACT	  system.	  DFPS	  cannot	  
divert	  resources	  needed	  for	  services	  to	  children	  in	  care	  to	  duplicating	  existing	  functionality	  
or	  modifying	  the	  current,	  constitutionally	  sound	  system.	  	  

o	  The	  child’s	  electronic	  case	  record	  in	  IMPACT	  contains	  a	  medical	  tab	  in	  which	  caseworkers	  
document	  the	  child’s	  medical	  appointments.	  The	  medical/	  mental	  assessment	  tab	  includes	  
the	  doctor’s	  name,	  the	  reason	  for	  the	  medical	  visit,	  the	  date	  the	  medical	  appointment	  
occurred	  and	  the	  findings	  of	  the	  appointment.	  Further	  information	  relating	  to	  this	  page	  in	  
IMPACT	  will	  be	  demonstrated	  during	  the	  upcoming	  IMPACT	  demonstration	  the	  Special	  
Masters	  requested.	  	  

e.	  All	  of	  a	  child’s	  educational	  records	  are	  included	  and	  available	  in	  an	  identified	  education	  
section	  of	  a	  child’s	  case	  file	  in	  IMPACT;	  	  

o	  Not	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  system.	  A	  child’s	  
educational	  records	  are	  accessible	  to	  caseworkers	  via	  the	  child’s	  case	  file,	  in	  particular	  the	  
child’s	  Education	  Passport.	  Once	  a	  case	  closes,	  all	  hard	  copies	  in	  the	  case	  file	  are	  sent	  for	  
digital	  storage	  and	  uploaded	  into	  One	  Case.	  The	  Court	  has	  not	  ordered	  DFPS	  to	  modify	  the	  
agency’s	  IMPACT	  system.	  DFPS	  cannot	  divert	  resources	  needed	  for	  services	  to	  children	  in	  
care	  to	  duplicating	  existing	  functionality	  or	  modifying	  the	  current,	  constitutionally	  sound	  
system.	  	  

o	  See	  CPS	  Handbook	  section	  6133.51	  Education	  Information.	  The	  child’s	  school	  (as	  well	  as	  
information	  when	  a	  child	  is	  enrolled	  into	  a	  school,	  is	  discharged	  from	  a	  school,	  or	  begins	  
and	  ends	  each	  school	  year)	  is	  documented	  in	  the	  person	  detail	  tab.	  The	  child’s	  educational	  
records	  are	  maintained	  in	  the	  child’s	  educational	  portfolio.	  Further	  information	  relating	  to	  
this	  page	  in	  IMPACT	  will	  be	  demonstrated	  during	  the	  upcoming	  IMPACT	  demonstration	  the	  
Special	  Masters	  requested.	  	  

f.	  All	  of	  the	  court	  records	  pertaining	  to	  a	  child’s	  case	  are	  included	  and	  available	  in	  an	  
identified	  legal	  section	  of	  a	  child’s	  case	  file	  in	  IMPACT;	  	  

o	  Not	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  system.	  A	  child’s	  court	  
records	  are	  accessible	  to	  caseworkers	  via	  the	  child’s	  case	  file.	  See	  response	  to	  Question	  
16(e).	  	  

o	  IMPACT	  contains	  a	  legal	  page	  which	  documents	  any	  legal	  actions	  and	  the	  child’s	  legal	  
status.	  A	  box	  indicates	  whether	  a	  corresponding	  document	  is	  in	  the	  child’s	  hard	  case	  file.	  
CASA	  may	  also	  upload	  legal	  files	  into	  Case	  Connection,	  which	  is	  then	  able	  to	  be	  uploaded	  
into	  One	  Case.	  Further	  information	  relating	  to	  this	  page	  in	  IMPACT	  will	  be	  demonstrated	  


	                                                                                                                                              115	  
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during	  the	  upcoming	  IMPACT	  demonstration	  the	  Special	  Masters	  requested.	  	  

g.	  All	  caseworker	  notes	  (from	  all	  caseworkers,	  including	  primary,	  ICU	  and	  secondary	  
workers)	  are	  included	  and	  available	  in	  an	  identified	  case	  notes	  section	  of	  a	  child’s	  case	  file	  
in	  IMPACT;	  	  

o	  Caseworker	  notes	  are	  already	  included,	  and	  available	  to	  caseworkers,	  in	  IMPACT.	  DFPS	  is	  
not	  making	  any	  changes	  to	  IMPACT	  in	  this	  regard.	  See	  response	  to	  Question	  16(e).	  	  

o	  All	  contacts	  with	  the	  child	  are	  documented	  in	  the	  child’s	  case	  record	  under	  the	  contact	  
narrative.	  The	  Special	  Masters	  have	  been	  provided	  screenshots	  of	  the	  contact	  narrative.	  See	  
response	  to	  Question	  5.	  Further	  information	  relating	  to	  this	  page	  in	  IMPACT	  will	  be	  
demonstrated	  during	  the	  upcoming	  IMPACT	  demonstration	  the	  Special	  Masters	  requested.	  	  

h.	  All	  placement	  records,	  including	  “safety-­‐related	  reports,	  licensure	  verification,	  and	  
information	  on	  investigations”	  are	  included	  and	  available	  in	  IMPACT;	  and,	  	  

o	  Not	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  system.	  Placement	  
records	  are	  available	  to	  caseworkers	  through	  existing	  functionality.	  See	  response	  to	  
Question	  16(e).	  	  

o	  The	  child’s	  placement	  is	  included	  in	  the	  child’s	  electronic	  case	  file.	  Any	  allegation	  of	  
abuse/neglect	  involving	  that	  child	  while	  in	  a	  licensed	  residential	  child	  care	  setting	  is	  linked	  
to	  the	  child	  in	  IMPACT	  and	  can	  be	  accessed	  through	  the	  child’s	  history.	  Any	  investigation	  
involving	  a	  child	  in	  a	  Kinship	  home	  is	  in	  IMPACT.	  Further	  information	  relating	  to	  this	  page	  
in	  IMPACT	  will	  be	  demonstrated	  during	  the	  upcoming	  IMPACT	  demonstration	  the	  Special	  
Masters	  requested.	  	  

i.	  All	  of	  a	  child’s	  placement	  moves	  with	  a	  reason	  identified	  for	  each	  move	  are	  included	  in	  
IMPACT	  with	  the	  capacity	  to	  report	  the	  same	  information	  for	  all	  PMC	  children.	  	  

o	  Not	  applicable.	  DFPS	  is	  not	  making	  such	  changes	  to	  the	  IMPACT	  system.	  Placement	  
changes	  are	  documented	  using	  existing	  functionality.	  See	  response	  to	  Question	  16(e).	  	  

o	  All	  placements	  and	  placement	  moves	  are	  documented	  in	  IMPACT.	  If	  a	  placement	  move	  
occurs,	  the	  reason	  for	  the	  placement	  move	  must	  be	  documented.	  Further	  information	  
relating	  to	  this	  page	  in	  IMPACT	  will	  be	  demonstrated	  during	  the	  upcoming	  IMPACT	  
demonstration	  the	  Special	  Masters	  requested.	  	  

17.	  Please	  provide	  a	  draft	  plan	  to	  achieve	  the	  Court’s	  goals,	  as	  described	  in	  Section	  V.B.	  of	  
the	  Court’s	  Order	  of	  January	  2017,	  addressing	  each	  of	  the	  elements	  described	  above	  in	  
Request	  16	  a-­‐i,	  and	  ensuring	  that	  information	  and	  records	  in	  children’s	  files	  in	  the	  IMPACT	  
system	  are	  accessible	  to	  caseworkers,	  CASA	  volunteers,	  attorneys	  ad	  litem	  and	  foster	  care	  
parents	  who	  are	  working	  on	  PMC	  children’s	  cases,	  as	  well	  as	  the	  Special	  Masters.	  	  


	                                                                                                                                           116	  
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	   	     ·	  	  Not	  applicable.	  Texas	  is	  not	  developing	  such	  a	  plan.	  The	  Court	  has	  not	  ordered	  
            DFPS	  to	  modify	  the	  agency’s	  IMPACT	  system.	  DFPS	  cannot	  divert	  resources	  needed	  
            for	  services	  to	  children	  in	  care	  to	  duplicating	  existing	  functionality	  or	  modifying	  the	  
            current,	  constitutionally	  sound	  system.	  	  	  

	   	     ·	  	  CASA	  Access	  to	  Children’s	  IMPACT	  case	  files:	  	  	  

o	  In	  partnership	  with	  Texas	  CASA	  and	  local	  CASA	  programs,	  DFPS	  developed	  and	  
implemented	  Case	  Connection	  in	  September	  2014,	  a	  web-­‐based	  application	  that	  provides	  
CASA	  staff	  and	  volunteers	  quick	  access	  to	  a	  child's	  electronic	  case	  information	  and	  
improves	  collaboration	  between	  CPS	  and	  CASA.	  	  

o	  Case	  Connection	  data	  contains	  information	  located	  in	  the	  IMPACT	  Substitute	  Care	  stage,	  
including:	  	  

	   	     §	  	  Summary	  page	  -­‐	  includes	  child-­‐specific	  information,	  caseworker	  and	  supervisor	  
            names	  and	  contact	  information;	  	  	  

	   	     §	  	  Placement	  page	  -­‐	  includes	  more	  detail	  on	  child's	  placement,	  as	  well	  as	  the	  ability	  
            to	  pull	  up	  the	  placement	  history	  log	  and	  common	  application;	  	  	  

	   	     §	  	  Medical/Education	  page	  -­‐	  includes	  the	  medical	  consenter,	  name	  of	  school	  and	  
            status,	  as	  well	  as	  the	  ability	  to	  pull	  up	  the	  medical/mental	  assessment	  log,	  education	  
            log,	  and	  medical	  developmental	  log;	  	  	  

	   	     §	  	  Permanency	  page	  –	  includes	  child's	  current	  permanency	  goal,	  all	  child	  and	  family	  
            plans	  of	  service,	  visitation	  plans,	  and	  permanency	  planning	  meetings;	  and	  	  	  

	   	     §	  	  Demographic	  page	  -­‐	  lists	  significant	  people	  in	  the	  child's	  life	  with	  contact	  
            information	  and	  child-­‐specific	  characteristics,	  and	  that	  provides	  the	  ability	  to	  view	  
            the	  legal	  log	  and	  the	  list	  of	  external	  documents.	  	  	  

o	  In	  December	  2016,	  DFPS	  implemented	  a	  number	  of	  Case	  Connection	  portal	  
enhancements,	  including	  a	  new	  look	  and	  easier	  page	  navigation/usage	  and	  enhanced	  
ability	  of	  CASA	  to	  upload	  documents	  (e.g.,	  photographs,	  court	  documents),	  to	  be	  viewed	  by	  
both	  CASA	  and	  the	  CPS	  caseworker.	  	  

·	  See	  the	  following	  CPS	  Handbook17	  sections,	  which	  relate	  to	  providing	  records	  and	  other	  
documentation	  to	  caregivers,	  attorney	  ad	  litems	  and	  guardian	  ad	  litems:	  	  

o	  4135	  Provide	  the	  Service	  Plan	  and	  Discuss	  Services	  o	  4136	  Provide	  Additional	  
Documentation	  o	  5231.6	  Providing	  Records	  to	  the	  Attorney	  Ad	  Litem	  and	  Guardian	  Ad	  
Litem	  o	  5232.21	  Court	  Orders	  for	  CASAs	  Seeking	  Access	  to	  a	  Child	  or	  a	  Child’s	  Records	  	  

	  




	                                                                                                                                               117	  
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                                                       APPENDIX	  E	  
                                  Response	  from	  A.	  Carmical,	  March	  8,	  2017,	  to	  the	  

                      Request	  to	  the	  Request	  from	  the	  Special	  Masters	  for	  Information	  

	  

Please	  provide	  a	  draft	  policy	  and/or	  regulation,	  which	  will	  require	  that	  Child	  Placement	  
Agency	  (“CPA”)	  residential	  providers	  (CPAs,	  GROs,	  RTCs)	  maintain	  a	  landline	  phone	  that	  
connects	  directly	  to	  the	  DFPS	  toll-­‐free,	  24-­‐	  hour	  screening	  hotline.	  	  

              	      	        ·	  	  Not	  applicable.	  DFPS	  neither	  has	  nor	  will	  be	  developing	  such	  a	  
                      policy	  or	  regulation.	  The	  Court	  has	  not	  ordered	  DFPS	  to	  require	  CPAs,	  GROs	  
                      and	  RTCs	  to	  maintain	  a	  landline	  phone.	  DFPS	  does	  not	  believe	  such	  action	  
                      will	  contribute	  to	  child	  safety	  and	  believes	  requiring	  CPAs,	  GROs	  and	  RTCs	  to	  
                      maintain	  a	  landline	  phone	  could	  negatively	  impact	  placement	  arrays	  by	  
                      burdening	  existing	  foster	  families	  and	  potentially	  discouraging	  some	  
                      potential	  foster	  families,	  who	  would	  be	  required	  to	  pay	  for	  a	  landline,	  from	  
                      fostering	  children.	  	  	  

              	      	      ·	  	  Any	  additional	  responsive	  information	  anticipated	  from	  CPS	  in	  2-­‐4	  
                      weeks.	  	  	  

56.	  Please	  tell	  us	  the	  soonest	  date	  DFPS	  can	  begin	  to	  track	  single	  child	  homes	  pursuant	  to	  
the	  Court’s	  order.	  Single	  child	  homes	  are	  homes	  with	  no	  other	  birth,	  adoptive,	  relative,	  or	  
non-­‐	  relative	  kinship	  or	  foster	  children	  present.	  	  

           ·	  The	  Court	  has	  not	  ordered	  DFPS	  to	  track	  single	  child	  homes.	  DFPS	  has	  no	  plans	  to	  
           track	  single	  child	  homes.	  	  

57.	  What	  processes	  does	  DFPS	  administer	  to	  match	  specific	  placements	  to	  PMC	  children	  
who,	  through	  documented	  assessment,	  are	  determined	  to	  need	  a	  single	  child	  home?	  	  

           ·	  DFPS	  has	  no	  such	  processes.	  See	  response	  to	  Question	  56.	  	  

79.	  Based	  on	  DFPS’	  Foster	  Care	  Needs	  Assessment	  of	  January	  2017,	  please	  provide	  a	  draft	  
plan	  or	  plan	  outline	  for	  a	  12-­‐month	  period	  to	  develop	  the	  placement	  array	  needed	  to	  
address	  the	  specific	  geographic,	  demographic	  and	  service	  level	  placement	  deficits	  
identified	  in	  the	  Assessment.	  	  

·	  DFPS	  is	  continually	  working	  to	  address	  placement	  capacity	  within	  the	  agency	  and	  drawing	  
upon	  the	  support	  and	  guidance	  of	  the	  Texas	  Legislature.	  DFPS	  is	  declining	  to	  develop	  such	  
a	  12-­‐month	  plan.	  	  

	  


	                                                                                                                                            118	  
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84.	  Please	  outline	  what	  DFPS	  considers	  the	  best	  option	  or	  options	  for	  appointing	  an	  
attorney	  ad	  	  litem	  for	  each	  PMC	  child.	  	  	  

·	  Not	  applicable.	  DFPS	  declines	  to	  speculate	  on	  a	  process	  that	  is	  and	  should	  be	  governed	  by	  
counties	  and	  individual	  judges.	  	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  



	                                                                                                                                        119	  
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                                                          APPENDIX	  F	  
                          DFPS	  Responses	  to	  Special	  Master	  Questions	  Posed	  9-­‐18-­‐2017	  	  

                                               (A.	  Carmichal,	  September	  21,	  2017)

Dear	  Mary	  Helen,	  	  

As	  noted	  in	  our	  earlier	  email,	  the	  state	  of	  Texas	  is	  continuing	  to	  recover	  and	  rebuild	  from	  
Hurricane	  Harvey,	  and	  the	  Governor	  just	  yesterday	  extended	  the	  state’s	  Disaster	  
Declaration	  in	  60	  of	  our	  254	  counties.	  CPS	  and	  CCL	  in	  particular	  have	  been	  focused	  on	  
ensuring	  that	  clients	  and	  staff	  are	  safe	  and	  able	  to	  continue	  receiving	  any	  necessary	  
services	  or	  interventions.	  This	  is	  of	  course	  in	  addition	  to	  implementing	  myriad	  legislation	  
that	  took	  effect	  September	  1	  of	  this	  year	  and	  conducting	  the	  agency’s	  normal	  child	  
protection	  and	  welfare	  activities.	  While	  we	  welcome	  the	  chance	  to	  make	  any	  appropriate	  
updates	  to	  our	  responses	  to	  the	  voluminous	  February	  2017	  request,	  this	  will	  not	  be	  
possible	  in	  the	  approximately	  3	  business	  days	  between	  receipt	  of	  your	  request	  and	  this	  
response	  you	  are	  receiving	  from	  us	  today.	  We	  will	  assume	  you	  will	  rely	  on	  the	  point-­‐in-­‐
time	  information	  we	  produced	  over	  the	  course	  of	  several	  months	  earlier	  in	  the	  year	  unless	  
you	  indicate	  otherwise.	  	  

1.	  In	  the	  attached	  spreadsheet	  (3rd	  tab	  -­‐	  PMC	  Listing	  Kids	  SXAB	  Indicator),	  it	  appears	  
that	  DFPS	  is	  reporting	  that	  during	  CY16,	  150	  PMC	  children	  were	  involved	  in	  an	  
intake	  as	  a	  victim	  or	  perpetrator	  where	  child	  on	  child	  sex	  abuse	  was	  investigated.	  
Please	  confirm,	  that	  with	  similar	  data,	  DFPS	  is	  able	  to	  identify,	  track	  and	  report	  data	  
on	  child	  on	  child	  sex	  abuse	  investigations	  involving	  PMC	  children.	  	  

We	  need	  additional	  clarification	  regarding	  your	  question.	  Is	  the	  question	  whether	  the	  
agency	  is	  able	  to	  generate	  a	  report	  with	  similar	  data	  on	  a	  regular	  or	  ongoing	  basis,	  or	  is	  the	  
question	  about	  which	  data	  were	  included	  in	  the	  report	  we	  sent?	  If	  it	  is	  the	  latter,	  the	  
footnotes	  of	  the	  cited	  report	  indicate	  that	  the	  tab	  shows	  PMC	  children	  involved	  in	  an	  
investigation,	  as	  alleged	  victim	  or	  perpetrator,	  AND	  had	  a	  person	  characteristic	  of	  Sexual	  
Behavior	  Problem,	  Sexual	  Aggression	  or	  a	  Child	  on	  Child	  Sexual	  Abuse	  indicator	  (per	  
Licensing).	  The	  Child	  on	  Child	  Sexual	  Abuse	  indicator	  is	  used	  for	  the	  Licensing	  program,	  
which	  in	  the	  footnotes,	  is	  counted	  by	  stage	  only,	  not	  by	  person.	  So,	  while	  that	  person	  in	  
PMC	  is/was	  a	  victim	  or	  perpetrator	  on	  that	  LIC	  stage,	  may	  not	  be	  the	  one	  tied	  to	  the	  
indicator.	  So	  it	  is	  possible	  that	  there	  were	  150	  PMC	  children	  in	  the	  cases,	  but	  it	  could	  be	  
more,	  and	  may	  or	  may	  not	  be	  the	  child	  in	  the	  listing.	  CPS	  does	  not	  specifically	  utilize	  the	  
child-­‐on-­‐child	  abuse	  indicator	  and	  this	  would	  not	  be	  reportable	  in	  an	  automated	  fashion.	  	  

DFPS	  could	  create	  a	  report	  of	  any	  PMC	  children	  who	  had	  an	  allegation	  of	  SXAB,	  but	  that	  
would	  require	  the	  creation	  of	  a	  new	  data	  report	  (DRIT),	  and	  it	  is	  unclear	  at	  this	  point	  


	                                                                                                                                                 120	  
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whether	  the	  DRIT	  would	  be	  responsive	  to	  your	  request.	  	  

Finally,	  please	  be	  advised	  that	  if	  DFPS	  is	  requested	  to	  proceed,	  the	  creation,	  running,	  and	  
testing	  of	  this	  report	  can	  take	  several	  weeks	  or	  longer.	  DFPS	  has	  of	  course	  placed	  a	  
premium	  on	  facilitating,	  fulfilling,	  and,	  as	  necessary,	  adjusting	  and	  re-­‐running	  the	  many	  and	  
complex	  DRITs	  occasioned	  by	  requests	  of	  the	  Special	  Masters	  and	  Dr.	  Osborne’s	  team	  in	  
support	  of	  the	  workload	  studies.	  However,	  this	  prioritization	  has	  caused	  a	  waterfall	  effect	  
of	  delays	  to	  other	  reports	  needed	  for	  the	  proper	  functioning	  of	  the	  agency.	  The	  earliest	  this	  
report	  can	  be	  delivered	  is	  mid	  to	  late-­‐October.	  	  

2.	  Please	  confirm	  if	  DFPS	  has	  the	  capability	  of	  reporting	  aggregate	  data	  on	  how	  many	  
PMC	  children	  are	  placed	  in	  foster	  homes	  that	  contain	  non-­‐foster	  or	  adoptive	  children	  
or	  the	  number	  children	  placed	  in	  homes	  with	  other	  foster	  children	  who	  are	  not	  
related	  to	  them.	  We	  understand	  (please	  confirm)	  that	  DFPS	  can,	  through	  its	  Provider	  
Website/Placement	  Portal,	  identify	  for	  each	  placement	  the	  number	  of	  children	  living	  
in	  a	  home	  (both	  foster	  and	  non-­‐foster	  children).	  Can	  DPFS	  pull	  aggregate	  data	  about	  
the	  status	  of	  children	  living	  in	  foster	  homes	  at	  any	  point	  in	  time?	  	  

DFPS	  does	  not	  have	  the	  capability	  to	  report	  aggregate	  data	  on	  how	  many	  PMC	  children	  are	  
placed	  in	  foster	  homes	  that	  contain	  non-­‐foster	  or	  adoptive	  children,	  and	  the	  Portal	  is	  not	  
moving	  forward	  at	  this	  time.	  DFPS	  does	  possess	  the	  capability	  to	  report	  the	  number	  of	  
foster	  children	  placed	  in	  homes	  with	  other	  DFPS	  foster	  children	  at	  a	  certain	  time	  and	  date.	  
As	  to	  the	  relationship	  between	  foster	  children,	  DFPS	  requires	  further	  guidance	  as	  to	  your	  
definition	  of	  “related.”	  Would	  this	  include	  step-­‐siblings?	  Prior	  connections?	  Cousins?	  Blood	  
relations	  only?	  	  

As	  for	  the	  last	  part	  of	  your	  question,	  in	  order	  to	  answer	  it,	  DFPS	  seeks	  clarification	  on	  what	  
meant	  by	  “the	  status	  of	  children.”	  	  

3.	  Please	  provide	  information	  about	  the	  status	  of	  the	  RFP	  for	  foster	  care	  redesign	  
and	  the	  current	  plan	  and	  timeline	  for	  foster	  care	  redesign	  implementation.	  Please	  
include	  information	  about	  how	  much	  of	  the	  implementation	  plan	  has	  been	  funded	  by	  
the	  Texas	  legislature.	  	  

The	  legislature	  approved	  roll-­‐out	  of	  a	  staged	  Community	  Based	  Care	  model	  in	  a	  total	  of	  5	  
catchment	  areas	  (includes	  current	  3b)	  over	  the	  2018-­‐2019	  biennium.	  	  

On	  9/19/2017,	  DFPS	  announced	  the	  next	  two	  catchment	  areas	  for	  Community	  Based	  Care	  
will	  be	  all	  of	  Region	  2	  and	  Bexar	  County	  in	  Region	  8.	  We	  expect	  to	  release	  the	  Request	  for	  
Proposals	  for	  Region	  2	  this	  month	  (September),	  followed	  by	  the	  Request	  for	  Proposals	  for	  
Bexar	  County	  in	  November.	  	  

Community	  Based	  Care	  (CBC)	  is	  replacing	  and	  expanding	  on	  Foster	  Care	  Redesign.	  Senate	  


	                                                                                                                                              121	  
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Bill	  11	  of	  the	  85th	  Legislature	  requires	  DFPS	  to	  purchase	  case	  management	  and	  substitute	  
care	  services	  from	  a	  Single	  Source	  Continuum	  Contractor	  (SSCC)	  in	  a	  model	  known	  as	  
Community	  Based	  Care.	  Substitute	  care	  includes	  both	  foster	  care	  and	  kinship	  placements.	  	  

This	  effort	  will	  transition	  the	  Texas	  foster	  care	  system	  from	  a	  "one	  size	  fits	  all"	  statewide	  
approach	  to	  a	  local,	  community-­‐based	  approach	  to	  meeting	  the	  individual	  needs	  of	  
children,	  youth,	  and	  families.	  Purchasing	  substitute	  care	  and	  case	  management	  services	  
from	  the	  provider	  community	  allows	  DFPS	  to	  focus	  on	  child	  safety	  by	  investigating	  reports	  
of	  abuse	  and	  neglect,	  providing	  family-­‐based	  safety	  services,	  and	  ensuring	  quality	  oversight	  
of	  foster	  care.	  	  

In	  Region	  2	  and	  Bexar	  County,	  we	  will	  make	  this	  transition	  in	  two	  in	  stages.	  	  

Stage	  I	  	  

In	  Stage	  1,	  DFPS	  will	  transfer	  paid	  foster	  care	  placement	  services	  to	  the	  SSCC.	  DFPS	  will	  
refer	  children	  who	  are	  new	  to	  care	  to	  the	  SSCC	  as	  well	  as	  transition	  children	  already	  in	  paid	  
foster	  care	  to	  the	  SSCC.	  Like	  Foster	  Care	  Redesign,	  CPS	  and	  the	  SSCC	  will	  continue	  to	  share	  
decision-­‐	  making.	  CPS	  will	  provide	  case	  management	  services	  to	  children	  and	  families	  
while	  partnering	  	  

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with	  the	  SSCC	  to	  provide	  paid	  foster	  care	  placement	  services	  to	  children	  from	  the	  
catchment	  area.	  We	  anticipated	  Stage	  I	  will	  last	  between	  12	  and	  18	  months.	  	  

Stage	  II	  	  

In	  Stage	  2,	  the	  SSCC	  will	  begin	  providing	  all	  substitute	  care	  placement	  and	  case	  
management	  services.	  In	  addition	  to	  the	  responsibilities	  outlined	  in	  Stage	  I,	  the	  SSCC	  will	  
receive	  referrals	  for	  all	  children	  who	  are	  new	  to	  care	  and	  their	  families.	  DFPS	  will	  phase-­‐in	  
the	  transfer	  of	  other	  children	  from	  the	  legacy	  system	  to	  CBC.	  We	  anticipate	  it	  will	  take	  1-­‐2	  
years	  to	  fully	  shift	  case	  management	  for	  all	  children	  and	  their	  families	  in	  these	  catchment	  
areas	  to	  the	  SSCC.	  	  

Region	  3b	  is	  estimated	  to	  transition	  into	  Stage	  II	  in	  April	  2018.	  	  

4.	  Does	  DFPS	  have	  a	  way	  to	  identify	  how	  many	  PMC	  children	  are	  placed	  in	  care	  with	  
access	  to	  a	  phone	  to	  report	  abuse/neglect?	  	  

DFPS	  does	  not	  have	  a	  means	  of	  tracking	  which	  PMC	  children	  are	  placed	  in	  care	  with	  access	  
to	  a	  phone	  to	  report	  abuse	  and	  neglect.	  However,	  for	  every	  PMC	  child	  placed	  in	  a	  
Residential	  Childcare	  licensed	  operation,	  there	  is	  a	  requirement	  to	  have	  policies	  regarding	  
telephone	  contact	  with	  the	  child’s	  family	  as	  well	  as	  the	  right	  to	  call	  to	  make	  a	  report	  of	  


	                                                                                                                                            122	  
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abuse	  or	  neglect.	  In	  addition,	  as	  discussed	  earlier	  in	  the	  year,	  DFPS	  has	  extensive	  rules,	  
policy,	  training,	  and	  contract	  requirements	  that	  direct	  foster	  care	  providers	  to	  allow	  all	  
children	  in	  care	  telephone	  access	  to	  report	  abuse	  or	  neglect,	  to	  speak	  to	  their	  caseworker,	  
or	  to	  reach	  an	  Omsbudsman.	  	  

5.	  In	  what	  file	  (of	  a	  child’s	  file)	  would	  one	  most	  likely	  find	  the	  paper	  copy	  of	  a	  child’s	  
doctor	  visits,	  including	  medical,	  dental,	  psychiatric,	  etc.?	  	  

For	  those	  records	  that	  are	  held	  or	  maintained	  by	  CPS,	  the	  paper	  copy	  would	  most	  likely	  be	  
contained	  in	  the	  designated	  tab	  of	  the	  file.	  The	  paper	  copy	  of	  the	  case	  file	  is	  divided	  into	  
separate	  tabbed	  sections.	  There	  is	  a	  section	  entitled,	  “Child’s	  Medical/Dental/Mental	  
Health	  Section”	  (see	  DFPS	  Response	  5.pdf	  on	  SharePoint.)	  This	  section	  organizes	  external	  
items	  that	  are	  related	  to	  the	  medical,	  dental,	  or	  mental	  health	  of	  a	  child.	  A	  separate	  tabbed	  
divider	  should	  be	  used	  for	  each	  child	  in	  a	  sibling	  group.	  Below	  is	  a	  list	  of	  example	  items	  that	  
may	  be	  included	  in	  the	  tabbed	  divider,	  depending	  on	  the	  nature	  and	  course	  of	  the	  case:	  	  

	   	     ·	  	  Medical	  and	  Developmental	  History	  	  	  

	   	     ·	  	  Physical	  Examination	  Reports	  (annual	  and	  other)	  	  	  

	   	     ·	  	  Dental	  Examination	  Reports	  (annual	  and	  other)	  	  	  

	   	     ·	  	  Mental	  Health	  Evaluations	  	  	  

	   	     ·	  	  Therapeutic	  Notes	  	  	  

	   	     ·	  	  Any	  other	  forms	  that	  are	  completed	  and	  not	  in	  IMPACT	  	  	  

6.	  For	  all	  children	  who	  entered	  the	  PMC	  class	  during	  CY2015,	  please	  provide	  data	  on	  
the	  total	  number	  of	  caseworkers	  who	  were	  assigned	  to	  each	  child.	  Please	  identify	  
separately	  for	  each	  child	  the	  number	  of	  primary	  and	  secondary,	  ISY,	  caseworkers	  
who	  were	  assigned.	  	  

To	  help	  better	  inform	  this	  request	  and	  provide	  an	  estimate	  of	  the	  time	  required,	  could	  we	  
have	  additional	  information	  on	  the	  purpose	  to	  which	  it	  relates?	  In	  addition,	  are	  individual	  
names	  required,	  or	  could	  we	  utilize	  some	  other	  identifier	  or	  aggregate	  numbers	  or	  
percentages?	  	  

7.	  Please	  provide	  a	  data	  summary	  of	  the	  number	  of	  PMC	  children	  who,	  during	  
CY2016,	  were	  visited	  by	  only	  one	  caseworker,	  by	  only	  two	  different	  caseworkers,	  by	  
only	  three	  different	  caseworkers	  and	  by	  four	  or	  more	  different	  caseworkers.	  	  

Same	  as	  response	  in	  #6.	  	  

8.	  Please	  provide	  all	  reports	  (including	  testimony)	  DFPS	  submitted	  to	  the	  Texas	  


	                                                                                                                                                123	  
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legislature	  in	  the	  last	  12	  months.	  In	  order	  of	  priority,	  we	  request	  that	  you	  first	  send	  
to	  us	  all	  reports	  related	  to	  caseworker	  turnover	  if	  you	  need	  time	  beyond	  this	  
Thursday	  to	  compile	  all	  documents	  responsive	  to	  this	  request.	  	  

All	  reports	  submitted	  to	  the	  Texas	  legislature	  in	  the	  past	  12	  months	  were	  either	  sent	  via	  
SharePoint	  as	  DFPS	  Response	  8.zip,	  or	  can	  be	  found	  at:	  http://www.dfps.state.tx.us/About	  
DFPS/Reports	  and	  Presentations/default.asp	  	  

(Note	  that	  many	  of	  the	  reports	  likely	  to	  be	  of	  interest/relevance	  are	  under	  the	  tab	  for	  
Agencywide	  reports	  or	  Rider	  Reports).	  	  

9.	  Please	  identify	  how	  many	  PMC	  children	  currently	  do	  not	  have	  an	  attorney.	  	  

DFPS	  does	  not	  track	  this	  information.	  	  

10.	  DFPS	  provided	  data	  on	  the	  total	  number	  of	  fatalities	  of	  children	  in	  
conservatorship	  during	  CY15	  and	  CY16,	  which	  is	  summarized	  in	  the	  attached	  
spreadsheet.	  For	  a	  number	  of	  these	  fatalities,	  there	  is	  notation	  that	  there	  is	  a	  
“Pending	  Investigation.”	  Can	  you	  confirm	  that	  this	  data	  (which	  lists	  all	  children	  in	  the	  
data	  submitted	  by	  DFPS	  (also	  attached))	  represents	  the	  complete	  list	  of	  children	  in	  
conservatorship	  who	  suffered	  a	  fatality	  during	  CY15	  and	  CY16?	  Also,	  please	  confirm	  
the	  total	  number	  (if	  any)	  of	  child	  fatality	  investigations	  that	  were	  not	  completed	  and	  
are	  still	  pending	  for	  each	  of	  these	  calendar	  years.	  	  

DFPS	  confirms	  that	  the	  data	  provided	  represents	  the	  complete	  list	  of	  children	  in	  
conservatorship	  who	  suffered	  a	  fatality	  during	  CY15	  and	  CY16.	  	  

Additionally,	  there	  are	  no	  pending	  investigations	  for	  either	  CY15	  or	  CY16.	  An	  updated	  copy	  
of	  the	  CY15	  and	  CY16	  fatality	  summary	  was	  uploaded	  to	  SharePoint	  as	  DFPS	  Response	  
10.pdf.	  	  

11.	  Of	  all	  calls	  to	  the	  statewide	  hotline	  during	  CY16	  that	  involved	  PMC	  children,	  how	  
many	  of	  the	  calls	  were	  initiated	  or	  made	  by	  PMC	  children.	  Of	  the	  total	  number	  of	  calls	  
initiated	  or	  made	  by	  PMC	  children,	  how	  many	  were	  forwarded	  for	  intake	  review,	  
how	  many	  were	  assigned	  as	  Information	  &	  Referral	  and	  how	  many	  were	  assigned	  as	  
case	  related	  special	  request	  (CRSR)?	  	  

DFPS	  anticipates	  that	  it	  can	  report	  this	  information.	  However,	  because	  Information	  &	  
Referrals	  (I&Rs)	  are	  not	  coded	  in	  relation	  to	  a	  specific	  person,	  DFPS	  would	  not	  be	  able	  to	  
report	  calls	  by	  PMC	  children	  that	  were	  processed	  as	  I&Rs.	  	  

Finally,	  the	  same	  advisory	  found	  in	  Response	  #1	  regarding	  the	  timeline	  of	  delivery	  and	  
impact	  to	  our	  MRS	  staff	  and	  agency	  functions	  applies	  to	  this	  request.	  MRS	  estimates	  that	  
they	  earliest	  they	  could	  deliver	  this	  report	  by	  early	  to	  mid-­‐October,	  subject	  to	  potential	  


	                                                                                                                                          124	  
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delays	  due	  to	  unexpected	  errors	  or	  testing.	  	  

12.	  Please	  confirm	  if	  DFPS	  is	  able	  to	  pull	  a	  sample	  of	  PMC	  children	  who	  have	  a	  history	  
of	  sexual	  abuse	  (as	  victims	  or	  aggressors).	  	  

DFPS	  could	  pull	  individual	  instances	  involving	  sexual	  abuse	  but	  not	  a	  sample	  per	  se.	  In	  
order	  to	  provide	  an	  estimate	  of	  time	  required	  to	  produce	  responsive	  information,	  DFPS	  
requests	  further	  clarification.	  Do	  you	  have	  a	  specific	  time	  period	  in	  mind?	  For	  CCL,	  given	  
that	  children	  in	  care	  have	  not	  been	  validated	  as	  perpetrators	  and	  given	  that	  the	  indicator	  
related	  to	  child-­‐on-­‐child	  abuse	  was	  not	  available	  until	  recently,	  such	  a	  sample	  may	  be	  
limited	  to	  recent	  occurrences.	  For	  CPS	  there	  are	  data	  related	  to	  sexual	  abuse	  prior	  to	  
coming	  into	  conservatorship	  and	  PMC	  but	  post-­‐PMC,	  some	  of	  the	  reporting	  capabilities	  are	  
limited	  in	  terms	  of	  child	  on	  child	  abuse.	  We	  could	  potentially	  look	  at	  utilizing	  the	  child	  
sexual	  aggression	  indicators	  but	  this	  may	  not	  capture	  all	  of	  the	  information	  you	  are	  
seeking.	  Can	  you	  clarify?	  	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  

	  


	                                                                                                                                     125	  
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                                  APPENDIX	  G	  
	  




                                                                                   	  

	  




	                                                                             126	  
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	                                                                             127	  
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                                                        APPENDIX	  H	  
                                 Response	  from	  A.	  Carmical,	  May	  12,	  2017,	  to	  the	  

               Request	  from	  the	  Special	  Masters	  for	  Information	  February	  10,	  2017	  

	  

18.	  Please	  provide	  a	  draft	  policy	  and/or	  regulation,	  which	  will	  require	  that	  Child	  Placement	  
Agency	  (“CPA”)	  residential	  providers	  (CPAs,	  GROs,	  RTCs)	  maintain	  a	  landline	  phone	  that	  
connects	  directly	  to	  the	  DFPS	  toll-­‐free,	  24-­‐	  hour	  screening	  hotline.	  	  

·	  The	  Court’s	  order	  dated	  March	  17,	  2017	  stated	  “...DFPS	  agreed	  to	  examine	  possibility	  [sic]	  
of	  requiring	  a	  landline	  phone	  accessible	  to	  the	  children	  in	  each	  foster	  care	  home.”	  In	  
accordance	  with	  this	  order,	  DFPS	  is	  considering	  the	  feasibility	  and	  utility	  of	  requiring	  a	  
landline	  phone	  in	  each	  foster	  care	  home.	  Additional	  information	  will	  be	  forthcoming;	  
however,	  in	  the	  meantime,	  the	  following	  are	  current	  policies	  and	  practices	  concerning	  
children	  reporting	  maltreatment	  to	  the	  toll-­‐free	  24-­‐hour	  screening	  hotline.	  	  

	   	     ·	  	  Residential	  Child	  Care	  Contract	  Section	  11(F)	  Children’s	  Rights	  requires	  the	  
            	  statewide	  intake	  (SWI)	  phone	  number	  to	  be	  displayed	  prominently	  in	  all	  foster	  care	  
            residential	  facilities	  and	  for	  foster	  children	  to	  be	  allowed	  telephone	  access	  to	  reach	  
            SWI	  free	  from	  observation.	  	  	  

	   	     ·	  	  See	  CPS	  Rights	  of	  Children	  and	  Youth	  in	  Foster	  Care,	  which	  states	  “As	  a	  child	  or	  
            youth	  in	  foster	  care	  I	  have	  the	  right	  to:...[m]ake	  calls,	  reports,	  or	  complaints	  without	  
            being	  punished,	  threatened	  with	  punishment,	  or	  retaliated	  against;	  and	  I	  have	  the	  
            right	  to	  make	  any	  of	  these	  calls	  privately	  and	  anonymously	  if	  I	  choose	  and	  the	  call	  
            center	  permits	  it.	  Depending	  on	  the	  nature	  of	  the	  complaint,	  I	  have	  the	  right	  to	  call:	  
            The	  DFPS	  Texas	  Abuse/Neglect	  Hotline	  at	  1-­‐800-­‐252-­‐5400;	  The	  HHSC	  Ombudsman	  
            for	  Children	  and	  Youth	  Currently	  in	  Foster	  Care	  at	  1-­‐844-­‐286-­‐0769;	  The	  DFPS	  Office	  
            of	  Consumer	  Affairs	  at	  1-­‐800-­‐720-­‐7777;	  Disability	  Rights	  of	  Texas	  at	  1-­‐800-­‐252-­‐	  
            9108.”18	  See	  also	  Tex.	  Fam.	  Code	  Ann.	  §263.008	  Foster	  Children’s	  Bill	  Of	  Rights.	  	  	  

	   	     ·	  	  CPS	  Handbook	  §6420	  Rights	  of	  Children	  and	  Youth	  in	  Foster	  Care	  requires	  CPS	  
            staff	  to	  provide	  the	  CPS	  Rights	  of	  Children	  and	  Youth	  in	  Foster	  Care	  document	  to	  all	  
            children	  and	  youth	  in	  CPS	  foster	  care	  and	  to	  review	  the	  document	  with	  the	  child	  and	  
            caregiver	  no	  later	  than	  72	  hours	  after	  the	  child	  comes	  into	  foster	  care	  or	  
            experiences	  a	  placement	  change.	  	  	  

	   	     ·	  	  Children	  and	  youth	  also	  receive	  this	  document	  each	  time	  their	  plan	  of	  service	  is	  
            updated.	  See	  CPS	  Handbook	  section	  6241.22	  Child	  Plan	  Review.	  	  	  

	   	     ·	  	  See	  also	  CPS	  Handbook	  section	  6421	  Texas	  Foster	  Care	  Handbook,	  which	  requires	  
            CPS	  staff	  to	  provide	  a	  copy	  of	  Access	  Granted,	  the	  Texas	  foster	  care	  handbook,	  to	  
            children	  or	  youth	  ages	  10	  and	  older	  when	  they	  enter	  foster	  care	  or	  turn	  age	  10	  while	  


	                                                                                                                                              128	  
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            in	  foster	  care.	  This	  handbook	  includes	  the	  CPS	  Rights	  of	  Children	  and	  Youth	  in	  
            Foster	  Care.19	  	  	  

	   	     ·	  	  Agency	  rule	  concerning	  the	  Office	  of	  Consumer	  Affairs	  states	  that	  children	  and	  
            youth	  under	  age	  18	  in	  DFPS	  conservatorship	  may	  file	  a	  complaint	  with	  the	  HHSC	  
            Ombudsman	  for	  Children	  and	  youth	  in	  Foster	  Care	  (by	  email,	  phone,	  fax,	  mail)	  and	  
            clarifies	  that	  children/youth	  may	  also	  contact	  the	  Ombudsman	  for	  help	  reporting	  
            abuse/neglect	  allegations.	  See	  40	  Tex.	  Admin.	  Code	  §	  702.815.	  	  	  

	   	     ·	  	  A	  child’s	  right	  to	  speak	  privately	  and	  report	  maltreatment	  is	  in	  agency	  rules	  
            (minimum	  standards	  for	  general	  residential	  operations	  (GROs)	  and	  child	  placing	  
            agencies	  (CPAs))	  state:	  “The	  following	  categories	  include	  the	  child’s	  rights	  that	  you	  
            must	  adhere	  to:...[c]omplaints,	  including	  the	  right	  to	  make	  calls,	  reports,	  or	  
            complaints	  without	  interference,	  coercion,	  punishment,	  retaliation,	  or	  threats	  of	  
            punishment	  or	  retaliation.	  The	  child	  may	  make	  these	  calls,	  reports,	  or	  complaints	  
            anonymously.	  Depending	  upon	  the	  nature	  of	  the	  complaint,	  the	  child	  has	  the	  right	  to	  
            call,	  report,	  or	  complain	  to:	  (A)	  The	  DFPS	  Texas	  Abuse/Neglect	  Hotline	  at	  1-­‐800-­‐
            252-­‐5400;	  (B)	  The	  HHSC	  Ombudsman	  for	  Children	  and	  Youth	  Currently	  in	  Foster	  
            Care	  at	  1-­‐844-­‐286-­‐	  0769;	  (C)	  The	  DFPS	  Office	  of	  Consumer	  Affairs	  at	  1-­‐800-­‐720-­‐
            7777;	  or	  (D)	  Disability	  Rights	  of	  Texas	  at	  1-­‐800-­‐252-­‐9108.”	  See	  40	  Tex.	  Admin.	  Code	  
            §§	  748.1101(b)(7)	  and	  749.1103(b)(7).	  	  	  

47.	  Assuming	  the	  number	  of	  children	  in	  the	  PMC	  class	  on	  January	  31,	  2017,	  and	  assuming	  
all	  CVS	  vacant	  positions	  were	  filled	  on	  January	  31,	  2017,	  how	  many	  additional	  CVS	  
positions	  would	  DFPS	  need	  to	  hire	  in	  order	  to	  achieve	  workloads	  for	  each	  CVS	  worker	  of	  no	  
more	  than	  14	  children	  (total,	  including	  both	  TMC	  and	  PMC	  children)?	  Please	  provide	  both	  a	  
statewide	  total	  and	  breakdowns	  by	  county.	  	  

                    ·	  DFPS	  has	  reviewed,	  and	  it	  is	  not	  feasible	  to	  provide	  this	  information.	  In	  
            addition,	  DFPS	  reiterates	  that	  there	  is	  no	  evidentiary	  basis	  for	  the	  caseload	  limit	  
            utilized	  in	  this	  question.	  	  

73.	  Please	  share	  a	  draft	  or	  final	  policy	  and/or	  regulation	  that	  prohibits	  the	  placement	  of	  
unrelated	  PMC	  children	  with	  different	  service	  levels	  in	  the	  same	  room	  unless	  a	  thorough	  
and	  documented	  assessment	  is	  conducted	  by	  DFPS	  staff	  certifying	  that	  such	  placement	  is	  
safe	  and	  appropriate	  for	  each	  PMC	  child.	  	  

                          ·	  	  Agency	  rules	  (minimum	  standards	  for	  GROs)	  allow	  children	  receiving	  
            different	  types	  of	  service	  to	  reside	  in	  the	  same	  room	  if	  the	  provider	  evaluates	  the	  
            living	  quarters	  for	  each	  child	  and	  ensures	  there	  is	  no	  conflict	  of	  care	  with	  the	  
            children’s	  best	  interests;	  the	  arrangement	  will	  not	  adversely	  impact	  other	  children	  
            in	  the	  room;	  the	  number	  of	  children	  in	  the	  room	  is	  appropriate	  at	  all	  times;	  
            caregivers	  can	  appropriately	  supervise	  all	  children	  and	  the	  provider	  can	  meet	  the	  
            needs	  of	  all	  children	  in	  the	  room.	  See	  40	  Tex.	  Admin.	  Code	  §	  748.1201.	  	  	  



	                                                                                                                                           129	  
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            	        	    ·	  	  Agency	  rules	  (minimum	  standards	  for	  CPAs)	  require	  CPAs	  to	  ensure	  
            the	  placement	  meets	  the	  child’s	  physical,	  medical,	  recreational,	  educational,	  and	  
            emotional	  needs.	  See	  40	  Tex.	  Admin.	  Code	  §	  749.1101.	  	  	  

            	       	        ·	  	  For	  information	  concerning	  factors	  a	  caseworker	  must	  consider	  
            when	  placing	  a	  child,	  see:	  	  	  

o	  CPS	  Handbook	  sections:	  	  

	   	     §	  	  4114	  Required	  Factors	  to	  Consider	  When	  Evaluating	  a	  Child’s	  	  Possible	  Placement	  
            	  	  

	   	     §	  	  4155	  Safety	  and	  Related	  Concerns	  for	  Placements	  	  	  

o	  40	  Texas	  Administrative	  Code	  Sections:	  	  

	   	     §	  	  700.1309	  –	  What	  factors	  does	  DFPS	  consider	  when	  selecting	  the	  	  most	  
            appropriate	  living	  arrangement	  for	  a	  child?	  	  	  

	   	     §	  	  748.1201	  –	  May	  children	  receiving	  different	  types	  of	  service	  live	  in	  	  the	  same	  
            living	  quarters?	  	  	  

	   	     §	  	  700.1307	  –	  In	  what	  kinds	  of	  settings	  may	  a	  child	  in	  DFPS	  	  conservatorship	  be	  
            placed?	  	  	  

o	  DFPS	  Placement	  Process	  Resource	  Guide54	  -­‐	  instructs	  caseworkers	  to	  consider	  child's	  
age;	  language;	  religion;	  sexual	  identity;	  behavioral	  characteristics;	  special	  needs,	  including	  
medical	  needs,	  therapeutic	  needs,	  physical,	  developmental,	  and	  recreational	  needs;	  ability	  
to	  function	  in	  a	  family	  setting;	  need	  for	  supervision	  or	  structure;	  sexually	  aggressive	  
behavior;	  potential	  for	  victimizing	  other	  children;	  vulnerability	  to	  victimization	  by	  other	  
children;	  history	  of	  previous	  placements;	  attachments	  in	  the	  current	  placement;	  and	  safety	  
from	  an	  alleged	  perpetrator.	  	  

54	  Resource	  guide	  available	  online	  at:	  	  


http://www.dfps.state.tx.us/handbooks/CPS/Resource_Guides/Placement_Process_Resou
rce_Guide.pdf	  	  

(last	  accessed	  April	  6,	  2017).	  
                                                                                                                               	  	  

74.	  Please	  share	  a	  draft	  or	  final	  policy	  and/or	  regulation	  that	  all	  PMC	  children	  under	  two	  
years	  of	  age	  shall	  be	  placed	  in	  a	  family-­‐like	  setting.	  Acceptable	  family-­‐like	  settings	  may	  
include,	  for	  example,	  non-­‐relative	  foster	  care,	  tribal	  foster	  care,	  kinship	  foster	  care,	  and	  
therapeutic	  foster	  care.	  Exceptions	  to	  the	  requirements	  may	  include	  sibling	  groups	  of	  four	  



	                                                                                                                                                130	  
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or	  more	  children	  who	  cannot	  otherwise	  be	  placed	  together,	  treatment	  and/or	  medical	  care,	  
or	  young	  children	  who	  are	  placed	  with	  their	  minor	  parent.	  	  

·	  See	  response	  to	  Question	  73.	  	  

75.	  Please	  share	  a	  draft	  or	  final	  policy	  and/or	  regulation	  that	  prohibits	  the	  placement	  of	  
unrelated	  children	  who	  are	  more	  than	  three	  years	  apart	  in	  the	  same	  room.	  	  

·	  The	  Court	  has	  not	  ordered	  DFPS	  to	  prohibit	  the	  placement	  of	  unrelated	  children	  who	  are	  
more	  than	  three	  years	  apart	  in	  the	  same	  room.	  DFPS	  has	  no	  plans	  to	  adopt	  policy	  or	  
regulation	  that	  prohibits	  the	  placement	  per	  se	  of	  unrelated	  children	  who	  are	  more	  than	  
three	  years	  apart	  in	  the	  same	  room.	  	  

76.	  How	  has	  DFPS	  assessed	  the	  capacity	  of	  providers	  across	  Texas	  to	  serve	  as	  Single	  Source	  
Continuum	  Contractors	  (“SSCC”)	  for	  Foster	  Care	  Redesign,	  including	  the	  development	  of	  an	  
adequate	  placement	  array	  in	  each	  anticipated	  catchment	  area?	  	  

	   ·	  	  Chapin	  Hall	  (affiliated	  with	  the	  University	  of	  Chicago)	  performed	  an	  analysis	  of	  the	  
Foster	  Care	  Redesign	  model	  and	  determined	  that	  for	  an	  SSCC	  to	  be	  viable,	  a	  catchment	  area	  
would	  have	  to	  have	  at	  least	  500	  new	  entries	  of	  children	  into	  care	  on	  an	  annual	  basis.	  This	  
analysis,	  along	  with	  information	  gathered	  through	  a	  Request	  for	  Information,	  a	  stakeholder	  
survey	  and	  information	  from	  the	  Public	  Private	  Partnership	  helped	  inform	  the	  state’s	  
division	  into	  the	  current	  17	  catchment	  areas.	  	  	  

	   ·	  	  When	  determining	  roll-­‐out	  sequence,	  the	  department	  analyzes	  the	  following	  
information	  to	  help	  inform	  decisions:	  	  	  

o	  Geographic	  location	  and	  proximity	  to	  existing	  catchment	  area(s)	  o	  Child	  data-­‐	  case	  mix	  of	  
children	  by	  service	  level,	  placement	  proximity	  (how	  many	  are	  in	  the	  region/county	  vs.	  how	  
many	  are	  placed	  out)	  o	  Service	  Capacity-­‐	  continuum	  of	  care	  and	  services	  available	  in	  
catchment	  area,	  number	  of	  resource	  hubs	  o	  Client	  outcomes-­‐	  how	  does	  the	  catchment	  
compare	  to	  the	  rest	  of	  the	  state	  on	  certain	  performance	  outcomes?	  o	  Level	  of	  
community/stakeholder	  investment-­‐	  collaboration	  amongst	  stakeholders,	  number	  of	  child	  
welfare	  boards,	  child	  protection	  courts,	  etc.	  located	  in	  the	  catchment	  area	  o	  Stability	  of	  
DFPS	  workforce	  	  

	  

	  

	  

	  



	                                                                                                                                         131	  
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                                  APPENDIX	  I	  




                                                                            	  

	  

	  




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	                                                                                135	  
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	                                                                                 136	  
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                                  APPENDIX	  K	  
	  




                                                                            	  

	  

	  

	  

	  

	  

	  

	  

	  


	                                                                                 137	  
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                                        APPENDIX	  L	  

From: Kevin Ryan <kevinmichaelryan1967@gmail.com>
Date: December 2, 2017 at 10:13:04 AM EST
To: "Carmical,Audrey (DFPS)" <Audrey.Carmical@dfps.state.tx.us>
Cc: Mary Helen Cervantes <mhcervantes@public-catalyst.com>, "Albright, Thomas"
<Thomas.Albright@oag.texas.gov>, "Woodruff,Trevor A (DFPS)" <Trevor.Woodruff@dfps.state.tx.us>,
"Olah,Tara (DFPS)" <Tara.Olah@dfps.state.tx.us>, "Ge,Brian (DFPS)" <Brian.Ge@dfps.state.tx.us>,
"Fescenmeyer,Megan C (DFPS)" <Megan.Fescenmeyer@dfps.state.tx.us>
Subject: Re: Request for Information

Thank you Audrey

Sent from my iPhone

On Dec 1, 2017, at 5:50 PM, Carmical,Audrey (DFPS) <Audrey.Carmical@dfps.state.tx.us> wrote:

Dear Kevin,

Please see below for the agency’s revised response to Question #1.

1. In the attached spreadsheet (3rd tab - PMC Listing Kids SXAB Indicator), it appears that DFPS
is reporting that during CY16, 150 PMC children were involved in an intake as a victim or
perpetrator where child on child sex abuse was investigated. Please confirm, that with similar
data, DFPS is able to identify, track and report data on child on child sex abuse investigations
involving PMC children.

Yes, DFPS is able to identify, track, and report data on child on child sex abuse investigations involving
PMC children. Aggregate data concerning all PMC children identified as sexual aggressors can be pulled
using Structured Query Language (“SQL code”). However, data concerning PMC children who are victims
of child sexual aggression is not collected in a manner which can be pulled using code. Instead, DFPS
records information regarding victimization of child sexual aggression in the special handling section of a
child’s record, or in other documentation such as the Common Application or case narratives, as
appropriate. This data can be pulled and aggregated via a manual process that requires a case read.
DFPS and state child welfare stakeholders continue to believe labeling of victims is inappropriate,
stigmatizing, and ultimately unhelpful because, as you know, caseworkers and staff make decisions
based on each child’s individual needs and history, and not on aggregate data concerning the at large
population of PMC children.
Thanks,
Audrey




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